     Case: 1:18-cv-07172 Document #: 1 Filed: 10/25/18 Page 1 of 186 PageID #:1

               [f you need additional space for ANY section, please attach an additional sheet and rebrence that sedion.]




                                       T]NITED STATES DISTRICT COI]RT
                                       NORTHERN DISTRICT OF ILLINOIS



   Cornel Dawson, Teron Odum, Clifton Lemon
    Ulvsses Polk. Antwan Davis. Duavon Soears
   Gwendolyn Lemon, Delores Lemon, Janice Lemon
   Patricia Lemon. Sharon Lemon. Cornesha Dawson
   Camyrn Dawscjn, Sheronda Odum, Trequan Odum
    Nya Lewis,Ulisha Polk, Kalisha Polk,lvory Griffin
  Nyana Polk, Unylah Polk, Antwan Q Davis, Anira Spears
puavon Spears Jr, Armani Johnson-Spears, Shanela Aaron                 1:18-cv-07172
   (Enter above the full name
   of the plaintiff or plaintiffs in
                                                                       Judge Sara L. Ellis
   this action)                                                        Magistrate Judge young B. Kim
                                vs.                            Case No:
     Michael B McHale, Patrick Quinn, Kimberly Fola            (To be supplied by the Clerk                     of this Court)
     Thomas Dart, Timothy Evans, Anita Alvarez
     Lisa Madigan, Michael Madigan, John R Blakey
    G Robert Blakey, Michael Lipsey, Leroy K Martin
     Dennis J Porter, Thomas Darman, John Maher                                                              b/
    Erica Dillion, Yvette Loizon, Reibana Sachs
  Margaret Flisk, Corey Nelson, Bradley Scott Schneider                                             FILED
     Marcus C Evans, Paul Evans, Toni Preckwinkle
     Jason Ervin, Garry McCarthy, Kathryn Lisco                                                         OcI 2 5 20t8
    Mark Kirk. Mike Zalewski. J.R. Davis
    Bill Mitchell, Jerry Mitchell, Eddie Lee Jackson
    Patricia R Bellock, Jason Barickman, Luis Arroyo
                                                                                              .     THOMASG.BRUTON
                                                                                             ctERK U.S. DtsrRtcT couRT
   (Enter above the full name of ALL
   defendants in this action. Do not
   use "et al.")

   CHECK ONE ONLY:

                      COMPLAINT T]NDER THE CIVIL RIGHTS ACT, TITLE 42 SECTION 1983
                      U.S. Code (state, county, or municipal defendants)

                      CoMPLATNT UNIDER THE CONSTTTUTTON ("B[VENS" ACTTOI9, TrrLE
                      28 SECTION 1331 U.S. Code (federal defendants)

                      OTHER (cite statute, if known)

   BEFORE FILLING OUT THIS COMPLAINT, PLEASE REFERTO "INSTRACTIONS FOR
   FILING." FOLLOW THESE INSTRUCTIONS CAREFULLY.




               [f you need additional space for ANY sec{ion, please attach an additional sheet and rehrence that sedion.]
     Case: 1:18-cv-07172 Document #: 1 Filed: 10/25/18 Page 2 of 186 PageID #:2




I.      Plaintiff(s):

        A.      Name: Cornel Dawson
        B.      List all aliases: N/A

        C.      Prisoner identification number:

        D.      Place of present confinement:         Menard Correctional Center


        E.      Address: 711 East Kaskaskia St        Menard, lllinois 62259




        Defendant(s):




        A.      Defendant: PatrickQuinn

                Title: Former lllinois Governor
                Place of Employment:        .lames Fl Thomoson Center 100 West Randoloh Ste. '16-100


                Defendant: Michael B McHale

                Title:    Cook Countv Circuit Judoe


                Place of Employment:        2600 South California Chicaoo. lllinois. 60608


                Defendant: Kimberty M Foxy

                Title: Cook County State's Attorner
                Place of Employment:         69 West Washinoton Chicaoo. lllinois 60602




                                                                                                   Revised 9/2007
  Case: 1:18-cv-07172 Document #: 1 Filed: 10/25/18 Page 3 of 186 PageID #:3




Teron Odum
R24888
Tll E.lGskaskia St
Menard, lllinois 62259

Antwan Davis
R20613
711 E. Kaskaskia St
Menard, lllinols 62259

Clifton Lemon
Y29859
1683011-53
Crest Hill, lllinois 60403

Ulysses Polk
R21899
1683011-53
Crest Hill, lllinois 60403

Duavon Spears
M01089
16830 t1-53
Crest Hill, lllinois 60403

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Delores Lemon
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Janice Lemon
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Patricia Lemon
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 Case: 1:18-cv-07172 Document #: 1 Filed: 10/25/18 Page 4 of 186 PageID #:4




Sharon Lemon
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Cornesha Dawson
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Camyrn Dawson
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Sheronda Odum
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Shanela Aaron
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Trequan Odum
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Nya Lewis
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Antwan Q Davis Jr
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Ulisha Polk
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Kalisha Polk
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 Case: 1:18-cv-07172 Document #: 1 Filed: 10/25/18 Page 5 of 186 PageID #:5




lvory Griffin
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Unylah Polk
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Natosha Benbovv
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Anina Spears
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Chicago, lllinois 60624

Armani Johnson-Spears
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Chicago, lllinois 60624
   Case: 1:18-cv-07172 Document #: 1 Filed: 10/25/18 Page 6 of 186 PageID #:6

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Springfi eld, I llinois 627 06


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Chicago, lllinois 60680

Kathryn Lisco
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Chicago, lllinois 60608

Mark Kirk
230 S Dearborn St
Chicago, lllinois 60604

John R Blakey
219 S Dearborn St
Chicago, lllinois 60604

Anita Alvarez
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Chicago, lllinois 60602

Timothy Evans
50 W Washington St Rm-2600
Chicago, lllinois 60602
   Case: 1:18-cv-07172 Document #: 1 Filed: 10/25/18 Page 7 of 186 PageID #:7

Luis Arroyo
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Jason Barickman
309L State House
Springfield, lllinois 62706

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215-N Stratton Office Bldg
Springfield, lllinois 62706

Bradley Scott Schneider
1432 Longworth House Office Bldg
Washington, DC 20515

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Kelly M Burke
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272-5 Stratton Office Bldg
Springfield, lllinois 627 Oo

Paul Evans
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Salem, OR 97304

Eddie Lee Jackson
200-75 Stratton Office Bldg
Springfield, lllinois 62706

Bill Mitchell
632 Capitol Bldg
Springfield, llinois 627 06
              I




Jerry Mitchell
630 Capitol Bldg
Springfi eld, lllinois 62700


Michael Madigan
6500 S Pulaski
Chicago, lllinois 60629
   Case: 1:18-cv-07172 Document #: 1 Filed: 10/25/18 Page 8 of 186 PageID #:8

Thomas J Dart
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Lisa Madigan
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Robert Blakey
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Cleveland, Ohio 441 44-3265

Leroy K Martin
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Chicago, lllinois 60608

Dennis J Porter
2600 S California Rm 400
Chicago, lllinois 60608

Michael Lipsey
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Chicago, lllinois 60653

Thomas Darman
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Chicago, lllinois 60602

Erica Dillion
69 E Washington
Chicago, lllinois 60602

Yvette Loizon
69 E Washington
Chicago, lllinois 60602

John Maher
69 E Washington
Chicago, lllinois 60602

Reibana Sachs
69 E Washington
Chicago, lllinois 60602

Margaret Flisk
69 E Washington
Chicago, lllinois 60602
  Case: 1:18-cv-07172 Document #: 1 Filed: 10/25/18 Page 9 of 186 PageID #:9




IIL   List ALL lawsuits you (and your co-plaintiffs, if any) have liled in any state or federal
      court in the United States:

      A.     Name of case and docket number:


      B.     Approximate date of filing lawsuit:

      C.     List all plaintiffs (if you had co-plaintiffs), including any aliases:




      D.     List all defendants:                   N/A




      E.     Court inwhichthe lawsuit was filed (if federal court, name the district; if state court,
             name the county):                    N/A


      F.     Name ofjudge to whom case was assigned:



      G.     Basic claim   made:                    N/a




      H.     Disposition of this case (for example: Was the case dismissed? Was it appealed?
             Is it still pending?):




             Approximate date of disposition:
   Case: 1:18-cv-07172 Document #: 1 Filed: 10/25/18 Page 10 of 186 PageID #:10




IV.       Statement of Claim:




Now comes Plaintiffs Cornel Dawson, Teron Odum, Clifton Lemon, Ulysses Polk, Antwan Davis, Duavon Spears, Gwendolyn


 Lemon, Delores Lemon, Janice Lemon, Patricia Lemon, Sharon Lemon, Cornesha Dawson, Camyrn Dawson, Sheronda


Odum, Shanela Aaron, Trequan Odum, Nya Lewis, Ulisha Polk, Kalisha Polk, lvory Griffin, Nyana Polk, Unylah Polk, Antwan


 Davis.lr Natosha Benbow Armani Johnson-Soears. Anira Soears. Duavon Soears Jr. lndivduallv. herebv file this claim

against the above named defendants and in support thereof states as follows: During a criminal conviction case, the named


 defendants each played a viable role in violation of constitutional rights, judicial misconduct, failure to acknowledge and


 address racial bias, impartial iurors; which led to malicious prosecution bv Cook Countv Circuit court. As stated bv Chief


 Justice John Roberts, cited in Washington Post, "Judges are supposed to be impartial-as boring as umpires." However, in


Ulinois case NO. 13 CR 13349, Judqe Michael B McHale continuouslv inserted his personal biases and failed to uphold the


 integrity and independence of iudiciary (Ethics of judicial conduct). Based on transcripts dated November 30, 2017; Judge


 McHale was quoted on several occasions interiecting comments like " I think it's obvious to this court that what thev are


 saying is we can't follow the law. And they're off " (CSR No. 84-3386). Referring to two minority jurors who questioned


 unfair iurv instructions. Judqe McHale failed to allow either iuror to clarifv their concerns and removed them in protest. ln


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 to remain after nne nanfacead ta '\uantina ta cend a meRRaata " Ae doarmeniad hv I I S Srrnrema Corrrt c:sc Pena-


 Rodriguez v. Colorado in which the "no impeachment rule" must give way when it is alleged that a juror made explicit state-


                                                                                                                                   5


 who later became the foreperson and juror No. 44 were not stricken for making such comments under oath, undermining




                                                                                                                  Revised 9/2007
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                [lf you need additional space for ANY section, please attach an additional sheet and reference that sec'tion.]




t


 set precedent for cases heard in lower courts, thus he has violated the Judicial code of conduct and should be reprimanded


    similar to his improper handlino of the othell2 cases currentlv beinq overturned. One of the iurors that were responsible for


     alerting the iudge of all the racist and bias comments beino made bv iurors during deliberations, came forward to testifv at


    a hearing after trial, and was then "deemed incredible by the courts." Another point of inconsistency and contradiction by the


    Courts, because previous evidence shows that this same juror brought forth concerns that removed other bias jurors. Judge


    McHale allowed jurors to spew racial slurs and throw chairs at black jurors; but failed to bring forth criminal assault or hate


crime charges. On the date in question, June 11,2012 Former Governor Patrick Quinn signed the first lllinois statue bill H81907

     (lllinois Street Gang Racketeer lnfluenced Corrupt Organizations Law) which holds Pat Quinn responsible for the negative


    downpour such unconstitutional law created. Former Cook County State's Attorney Anita Alvarez failed to sign and request


     authorization to obtain recordings that were used in a criminal conviction of six of the named plaintiffs; although similar


     recordings were deemed inadmissible by the Second District Appellate Court. Six of the above named plaintiffs are victims


     of a wrongful conviction case in Cook County Circuit court and suffered lost of freedom, years apart from families, housed


     in dilapidated prisons with deplorable conditions, and targeted by Cook County as " Test Subjects" for the newly drafted


     lllinois RICO law. All named defendants are being named in this complaint for their direct or foreseen participation in the


    construct of lawful practices that negatively affect the Black Communities of lllinois. lt is a violation of due process to subject


    a defendant to trial in an atmosphere of mob action or racial motivation. Newspaper articles from 2013 until current day has


    depicted plaintiffs in a negative light, caused pain and suffering over a long length of time, and hindered the upward mobility


    of those parties and their respective families. The extensive cost of legal counsel for each individual listed, in addition to the


    irreplaceable moments that will never be given back; the exact same constitutional rights granted to us as citizens has been


     the catalyst to destroy the democracy for Blacks. The demanded relief of damages are for those victims and families in


     need of justice reform; to ensure the system in which this country was built upon, works for all mankind.




                                                                                                                            Revised 9/2007
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v.         Relief:



Based on the trauma and harsh sentence of cruel and usual punishment in which some plaintiffs were sentenced 888 years
without the potential of parole, along with the separation of families; plaintiffs are entitled to relief for a number of reasons.
Private   communication                                                                                                             t
The number of indivi
 ships that will outweigh time lost, memories unforeseen, broken families, generational destitution, lost wages, medical
expenses,and humil                                                                                                                  on
 of charar*er attornev fees and leoal costs oain and sufferino and iudicial reform


u.         The plaintiff demands that the case be tried by a              jury. tr         YES          MNo

                                                                         CERTIFICATION

                                        By signing this Complaint, I certiff that the facts stated in this
                                        Complaint are true to the best of my knowledge, information and
                                        belief. I understand that if this certification is not correct, I may be
                                        subject to sanctions by the Court.

                                        Signed this     2" (€ duy rr f O                      ,zolt

                                                   re of plaintiffor plaintiffs)

                                                   {",'c (
                                        (Print name)
                                                                    a Lr ffLe
                                        (I.D. Number)




                                                                                                                   Revised 9/2007
    Case: 1:18-cv-07172 Document #: 1 Filed: 10/25/18 Page 13 of 186 PageID #:13




Gwendolyn Lemon

P.O. Box 24L225

Chicago, lL 60524

     To whom it may concern:

 My name is Gwendolyn Lemon and I am the mother of Cornel Dawson and Ulysses Polk, sister of
Clifton Lemon, aunt of Antwan Davis, and Teron Odum; and close friend to Duavon Spears. After dealing
with the turmoil and heartbreak of the lllinois State RICO case, in which my family was wrongfully
convicted after five long years, my life has changed tremendously. This case has turned my life upside
down and haunted me with the same negative effects of the Jim Crow era. Seeing as though the
presiding judge on the case, Michael B. McHale, along with the Cook County State's Attorney Kim Foxx
and associates, Former Governor Patrick Quinn, and Former Attorney Anita Alvarez, have all made an
asserted effort to deny civil liberties and address racial bias. At a time when our country should be
making stride to undo the corruption and misconduct lllinois is known for, we have gone back to
destroying families of color and disproportionately marginalizing our inner city communities. Since Judge
McHale along with others mentioned, have created and enforced unconstitutional laws that target men
of color, I have felt a loss of hope for our city and state. Racial tension and confusion has segregated our
trusted leaders from the communities in which they were appointed to serve; and now we have a
dangerous justice system with authorities who abuse their power and reach. We have spoken on these
issues that have been brought to the forefront for over five years, and to no avail we have yet to see real
change. The torment my family, and I have faced after seeing our boys sprawled on the news and
caricatures of them as if they are not human was humiliating. Being followed and harassed based on the
glamorized accusations of others, and the audacity of a judge with ulterior motive. The position McHale
and other politicians have played as they target my family as 'Test subjects" for an unlawful statute that
violates American civil liberties, can be reckoned with the effects of Modern Day lynching. lt has been
difficult to afford the necessities and support for each of them, all the while maintain my own livelihood.
Not only is it inhumane, but extremely cruel for a judge to declare 888 years of solitude for an individual
who has never been convicted of any crime. The basis in which harsh sentencing was founded does not
even coincide with the alleged crime; thus proving an abuse of power. Our hearts are heavy and filled
with disbelief, but we shall continue to seek justice and let God prevail.



        A troubled mother, sister, aunt and friend
    Case: 1:18-cv-07172 Document #: 1 Filed: 10/25/18 Page 14 of 186 PageID #:14




Delores Lemon

P.O. Box 247225

Chicago, lL 60624

     To whom it may concern:

 My name is Delores Lemon and I am the mother of Teron Odum, sister of Clifton Lemon, aunt of
Antwan Davis, Cornel Dawson, Ulysses Polk; and close friend to Duavon Spears. After dealing with the
turmoil and heartbreak of the lllinois State RICO case, in which my family was wrongfully convicted after
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        A troubled mother, sister, aunt and friend
    Case: 1:18-cv-07172 Document #: 1 Filed: 10/25/18 Page 15 of 186 PageID #:15




Janice Lemon

P.O. Box 24L2Zs

Chicago, lL 60624

     To whom it may concern:

My name is Janice Lemon and l'am the sister of Clifton Lemon, aunt of Antwan Davis, Cornel Dawson,
Ulysses Polk Teron Odum; and close friend to Duavon Spears. After dealing with the turmoil and
heartbreak of the lllinois State RICO case, in which my family was wrongfully convicted after five long
years, my life has changed tremendously. This case has turned my life upside down and haunted me
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disbelief, but we shall continue to seek justice and let God prevail.



        A troubled sister, aunt and friend
   Case: 1:18-cv-07172 Document #: 1 Filed: 10/25/18 Page 16 of 186 PageID #:16




Patricia Lemon

P.O. Box 24t225

Chicago, lL 60624

     To whom it may concern:

 My name is Patricia Lemon and I am the mother of Antwan Davis, sister of Clifton Lemon, aunt of Cornel
Dawson, Teron Odum, and Ulysses Polk; and close friend to Duavon Spears. After dealing with the
turmoil and heartbreak of the lllinois State RICO case, in which my family was wrongfully convicted after
five long years, my life has changed tremendously. This case has turned my life upside down and
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disbelief, but we shall continue to seek justice and let God prevail.



        A troubled mother, sister, and aunt
    Case: 1:18-cv-07172 Document #: 1 Filed: 10/25/18 Page 17 of 186 PageID #:17




Sharon Lemon

P.O. Box 24L225

Chicago, lL60624

     To whom it may concern:

 My name is Sharon Lemon and l'am the sister of Clifton Lemon, aunt of Antwan Davis, Cornel Dawson,
Ulysses Polk Teron Odum; and close friend to Duavon Spears. After dealing with the turmoil and
heartbreak of the lllinois State RICO case, in which my family was wrongfully convicted after five long
years, my life has changed tremendously. This case has turned my life upside down and haunted me
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        A troubled sister, aunt and friend
    Case: 1:18-cv-07172 Document #: 1 Filed: 10/25/18 Page 18 of 186 PageID #:18




Nya Lewis

P.O. Box 24LZZ5

Chicago, lL 60624

     To whom it may concern:

 My name is Nya Lewis and l' am the daughter of Clifton Lemon, cousin of Cornel Dawson, Ulysses Polk,
Antwan Davis and Teron Odum. After dealing with the turmoil and heartbreak of the lllinois State RICO
case, in which my family was wrongfully convicted after five long years, my life has changed
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power and reach. We have spoken on these issues that have been brought to the forefront for over five
years, and to no avail we have yet to see real change. The torment my family, and I have faced after
seeing our boys sprawled on the news and caricatures of them as if they are not human was humiliating.
Being followed and harassed based on the glamorized accusations of others, and the audacity of a judge
with ulterior motive. The position McHale and other politicians have played as they target my family as
'Test subjects" for an unlawful statute that violates American civil liberties, can be reckoned with the
effects of Modern Day lynching. lt has been difficult to afford the necessities and support for each of
them, all the while maintain my own livelihood. Not only is it inhumane, but extremely cruel for a judge
to declare 888 years of solitude for an individual who has never been convicted of any crime. The basis
in which harsh sentencing was founded does not even coincide with the alleged crime; thus proving an
abuse of power. Our hearts are heavy and filled with disbelief, but we shall continue to seek justice and
let God prevail.



        A troubled daughter and cousin
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Sheronda Odum

P.O. Box 24L225

Chicago, lL 60624

     To whom it may concern:

 My name is Sheronda Odum and l' am the daughter of Teron Odum, niece of Clifton Lemon, cousin of
Cornel Dawson, Ulysses Polk, Antwan Davis. After dealing with the turmoil and heartbreak of the lllinois
State RICO case, in which my family was wrongfully convicted after five long years, my life has changed
tremendously. This case has turned my life upside down and haunted me with the same negative effects
of the Jim Crow era. Seeing as though the presiding judge on the case, Michael B. McHale, along with
the Cook County State's Attorney Kim Foxx and associates, Former Governor Patrick Quinn, and Former
Attorney Anita Alvarez, have all made an asserted effort to deny civil liberties and address racial bias. At
a time when our country should be making stride to undo the corruption and misconduct lllinois is
known for, we have gone back to destroying families of color and disproportionately marginalizing our
inner city communities. Since Judge McHale along with others mentioned, have created and enforced
unconstitutional laws that target men of color, I have felt a loss of hope for our city and state. Racial
tension and confusion has segregated our trusted leaders from the communities in which they were
appointed to serve; and now we have a dangerous justice system with authorities who abuse their
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let God prevail.



      A troubled daughter, niece and cousin
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Cornesha Dawson

P.O. Box 24L225

Chicago, lL 60524

     To whom it may concern:

 My name is Cornesha Dawson and l' am the daughter of Cornel Dawson, niece of Ulysses Polk, Clifton
Lemon, cousin of Antwan Davis and Teron Odum. After dealing with the turmoil and heartbreak of the
lllinois State RICO case, in which my family was wrongfully convicted after five long years, my life has
changed tremendously. This case has turned my life upside down and haunted me with the same
negative effects of the Jim Crow era. Seeing as though the presiding judge on the case, Michael B.
McHale, along with the Cook County State's Attorney Kim Foxx and associates, Former Governor Patrick
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to the forefront for over five years, and to no avail we have yet to see real change. The torment my
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inhumane, but extremely cruel for a judge to declare 888 years of solitude for an individual who has
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coincide with the alleged crime; thus proving an abuse of power. Our hearts are heavy and filled with
disbelief, but we shall continue to seek justice and let God prevail.



    A troubled daughter, niece and cousin
   Case: 1:18-cv-07172 Document #: 1 Filed: 10/25/18 Page 21 of 186 PageID #:21




Shanela Aaron

P.O. Box 24t225

Chicago,lL60624

     To whom it may concern:

 My name is Shanela Aaron and l' am the daughter of Teron Odum, niece of Clifton Lemon, cousin of '
Antwan Davis, Cornel Dawson, and Ulysses Polk. After dealing with the turmoil and heartbreak of the
lllinois State RICO case, in which my family was wrongfully convicted after five long years, my life has
changed tremendously. This case has turned my life upside down and haunted me with the same
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     A troubled daughter, niece and cousin
    Case: 1:18-cv-07172 Document #: 1 Filed: 10/25/18 Page 22 of 186 PageID #:22




Trequan Odum

P.O. Box 241225

Chicago,lL60624

     To whom it may concern:

My name is Trequan Odum and l' am the son of Teron Odum, nephew of Clifton Lemon, cousin of
Antwan Davis, Cornel Dawson, and Ulysses Polk. After dealing with the turmoil and heartbreak of the
lllinois State RICO case, in which my family was wrongfully convicted after five long years, my life has
changed tremendously. This case has turned my life upside down and haunted me with the same
negative effects of the Jim Crow era. Seeing as though the presiding judge on the case, Michael B.
McHale, along with the Cook County State's Attorney Kim Foxx and associates, Former Governor Patrick
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        A troubled son, nephew and cousin
   Case: 1:18-cv-07172 Document #: 1 Filed: 10/25/18 Page 23 of 186 PageID #:23




Antwan Davis Jr

P.O. Box 24L225

Chicago,lL6A624

     To whom it may concern:

 My name is Antwan Davis Jr and l' am the son'of Antwan Davis, nephew of Clifton Lemon, cousin of
Teron Odum, Cornel Dawson, and Ulysses Polk. After dealing with the turmoil and heartbreak of the
lllinois State RICO case, in which my family was wrongfully convicted after five long years, my life has
changed tremendously. This case has turned my life upside down and haunted me with the same
negative effects of the Jim Crow era. Seeing as though the presiding judge on the case, Michael B.
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        A troubled son, nephew and cousin
    Case: 1:18-cv-07172 Document #: 1 Filed: 10/25/18 Page 24 of 186 PageID #:24




Nyana Polk

 P.O. Box 24L225

 Chicago, lL 60624

     To whom it may concern:

 My name is Nyana Polk and l' am the daughter of Ulysses Pol( niece of Cornel Dawson, Clifton Lemon,
cousin of Teron Odum and Antwan Davis. After dealing with the turmoil and heartbreak of the lllinois
State RICO case, in which my family was wrongfully convicted after five long years, my life has changed
tremendously. This case has turned my life upside down and haunted me with the same negative effects
of the Jim Crow era. Seeing as though the presiding judge on the case, Michael B. McHale, along with
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with ulterior motive. The position McHale and other politicians have played as they target my family as
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let God prevail.




     A troubled daughter, niece and cousin
    Case: 1:18-cv-07172 Document #: 1 Filed: 10/25/18 Page 25 of 186 PageID #:25




Unylah Polk

P.O. Box 24L225

Chicago, lL 60624

     To whom it may concern:

 My name is Unylah Polk and l' am the daughter of Ulysses Polk, niece of Cornel Dawson, Clifton Lemon,
and cousin of Antwan Davis and Teron Odum. After dealing with the turmoil and heartbreak of the
lllinois State RICO case, in which my family was wrongfully convicted after five long years, my life has
changed tremendously. This case has turned my life upside down and haunted me with the same
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to the forefront for over five years, and to no avail we have yet to see real change. The torment my
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disbelief, but we shall continue to seek justice and let God prevail.



      A troubled daughter, niece and cousin
    Case: 1:18-cv-07172 Document #: 1 Filed: 10/25/18 Page 26 of 186 PageID #:26




lvory Griffin
P.O. Box 24t225
Chicago, lt 50524
    To whom it may concern:
My name is lvory Griffin and l' am the daughter of Ulysses Polk, niece of Cornel Dawson, Clifton
Lemon, and cousin of Antwan Davis and Teron Odum. After dealing with the turmoil and heartbreak
of the lllinois State RICO case, in which my family was wrongfully convicted after five long years, my
life has changed tremendously. This case has turned my life upside down and haunted me with the
same negative effects of the Jim Crow era. Seeing as though the presiding judge on the case, Michael
 B. McHale, along with the Cook County State's Attorney Kim Foxx and associates, Former Governor
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are heavy and filled with disbelief, but we shall continue to seek justice and let God prevail.

     A troubled daughter, niece and cousin
    Case: 1:18-cv-07172 Document #: 1 Filed: 10/25/18 Page 27 of 186 PageID #:27




Kalisha Polk

P.O. Box 24L225

Chicago, lL60624

     To whom it may concern:

 My name is Kalisha Polk and l' am the daughter of Ulysses Polk, niece of Cornel Dawson, Clifton Lemon,
and cousin of Antwan Davis and Teron Odum. After dealing with the turmoil and heartbreak of the
lllinois State RICO case, in which my family was wrongfully convicted after five long years, my life has
changed tremendously. This case has turned my life upside down and haunted me with the same
negative effects of the Jim Crow era. Seeing as though the presiding judge on the case, Michael B.
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authorities who abuse their power and reach. We have spoken on these issues that have been brought
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coincide with the alleged crime; thus proving an abuse of power. Our hearts are heavy and filled with
disbelief, but we shall continue to seek justice and let God prevail.



      A troubled daughter, niece and cousin
    Case: 1:18-cv-07172 Document #: 1 Filed: 10/25/18 Page 28 of 186 PageID #:28




Ulisha Polk

P.O. Box 24L225

Chicago, lL 60624

     To whom it may concern:

My name is Ulisha Polk and l' am the daughter of Ulysses Polk, niece of Cornel Dawson, Clifton Lemon,
and cousin of Antwan Davis. After dealing with the turmoil and heartbreak of the lllinois State RICO case,
in which my family was wrongfully convicted after five long years, my life has changed tremendously.
This case has turned my life upside down and haunted me with the same negative effects of the Jim
Crow era. Seeing as though the presiding judge on the case, Michael B. McHale, along with the Cook
County State's Attorney Kim Foxx and associates, Former Governor Patrick Quinn, and Former Attorney
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Being followed and harassed based on the glamorized accusations of others, and the audacity of a judge
with ulterior motive. The position McHale and other politicians have played as they target my family as
'Test subjects" for an unlawful statute that violates American civil liberties, can be reckoned with the
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abuse of power. Our hearts are heavy and filled with disbelief, but we shall continue to seek justice and
let God prevail.



      A troubled daughter, niece and cousin
   Case: 1:18-cv-07172 Document #: 1 Filed: 10/25/18 Page 29 of 186 PageID #:29




Duavon Spears Jr

P.O. Box 247225

Chicago, lL 60624

     To whom it may concern:

 My name is Duavon Spears Jr and l' am the son of Duavon Spears. After dealing with the turmoil and
heartbreak of the lllinois State RICO case, in which my family was wrongfully convicted after five long
years, my life has changed tremendously. This case has turned my life upside down and haunted me
with the same negative effects of the Jim Crow era. Seeing as though the presiding judge on the case,
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disbelief, but we shall continue to seek justice and let God prevail.



      A troubled son
    Case: 1:18-cv-07172 Document #: 1 Filed: 10/25/18 Page 30 of 186 PageID #:30




Anira Spears

P.O. Box 24L225

Chicago,lL60624

     To whom it may concern:

 My name is Anira Spears and l' am the daughter of Duavon Spears. After dealing with the turmoil and
heartbreak of the lllinois State RICO case, in which my family was wrongfully convicted after five long
years, my life has changed tremendously. This case has turned my life upside down and haunted me
with the same negative effects of the Jim Crow era. Seeing as though the presiding judge on the case,
Michael B. McHale, along with the Cook County State's Attorney Kim Foxx and associates, Former
Governor Patrick Quinn, and Former Attorney Anita Alvarez, have all made an asserted effort to deny
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disbelief, but we shall continue to seek justice and let God prevail.



      A troubled daughter
    Case: 1:18-cv-07172 Document #: 1 Filed: 10/25/18 Page 31 of 186 PageID #:31




Armani Johnson-Spears

P.O. Box Z4LZZS

Chicago,lL60624

     To whom it may concern:

 My name is Armani Johnson-Spears and l' am the son of Duavon Spears. After dealing with the turmoil
and heartbreak of the lllinois State RICO case, in which my family was wrongfully convicted after five
long years, my life has changed tremendously. This case has turned my life upside down and haunted
me with the same negative effects of the Jim Crow era. Seeing as though the presiding judge on the
case, Michael B. McHale, along with the Cook County State's Attorney Kim Foxx and associates, Former
Governor Patrick Quinn, and Former Attorney Anita Alvarez, have all made an asserted effort to deny
civil liberties and address racial bias. At a time when our country should be making stride to undo the
corruption and misconduct lllinois is known for, we have gone back to destroying families of color and
disproportionately marginalizing our inner city communities. Since Judge McHale along with others
mentioned, have created and enforced unconstitutional laws that target men of color, I have felt a loss
of hope for our city and state. Racial tension and confusion has segregated our trusted leaders from the
communities in which they were appointed to serve; and now we have a dangerous justice system with
authorities who abuse their power and reach. We have spoken on these issues that have been brought
to the forefront for over five years, and to no avail we have yet to see real change. The torment my
family, and I have faced after seeing our boys sprawled on the news and caricatures of them as if they
are not human was humiliating. Being followed and harassed based on the glamorized accusations of
others, and the audacity of a judge with ulterior motive. The position McHale and other politicians have
played as they target my family as 'Test subjects" for an unlawful statute that violates American civil
liberties, can be reckoned with the effects of Modern Day lynching. lt has been difficult to afford the
necessities and support for each of them, all the while maintain my own livelihood. Not only is it
inhumane, but extremely cruel for a judge to declare 888 years of solitude for an individual who has
never been convicted of any crime. The basis in which harsh sentencing was founded does not even
coincide with the alleged crime; thus proving an abuse of power. Our hearts are heavy and filled with
disbelief, but we shall continue to seek justice and let God prevail.



      A troubled son
 Case: 1:18-cv-07172 Document #: 1 Filed: 10/25/18 Page 32 of 186 PageID #:32




Antwan Davis
P.O. Box 241225
Chicago, lL 60624

Date: 04116120I,8

Justice Anthony Kennedy
Supreme Court of the United States
1 First Street, NE
Washington ,DC20543


Dear Justice Anthony Kennedy:

Re: (Rociol Bios concerns ignored by Judge Michael B McHolel


On April61 2018, ln the Cook County Leighton courthouse, Judge Michael B McHale denied
 defense attorneys motion to interview jurors who reported claims of racism and violence
 during deliberations. Judge Michael McHale vaguely ignored the complaints made to him in a
 number of letters given to him on December t,20L7 while jurors deliberated. The foreperson
and severa[ otherjurors gave insight to McHale and warned ofjurors who made statements
about "sending a message to the defendants," verbalty attacked jurors with racial slurs, and
just recently, after a guitty verdict was unlawfully rendered; they also made note of physical
assaultsfromjurorswhothrewchairsatjurorsofcolor. Atloftheaboveaccountsof racism
and discrimination in the court of [aw, should be and are grounds for a mistrial or new trial
according to U.S. Supreme Court ruting in the case of Miguel Pena-Rodriguez (20L7).

The U.S. Supreme court ruled when clear evidence emerges atter a jury verdict that there was
 racial bias during deliberations, the trialjudge Must make an exception and question or
 investigate the misconduct in orderto determine whetherthe defendant was denied a fair
tria[. Failure to do so, is a clear violation of the Fourteenth amendment that guarantees equal
 protection of the law, and Sixth amendment that guarantees the right to a fair and impartial
jury triaI as noted by Justice Anthony Kennedy. Jurors who made statements of "wanting to
send a message" and botdty jump atop tables to assault other jurors are not only forms of
 racism, but also hate crimes. One juror in particular was so afraid and overwhelmed by the
attacks, that she panicked and passed out during deliberations, at which time Judge McHale
removed her from the juror. The other jurors, who wrote the notes and shed light on the
injustices that were occurring in the jury chambers, were also removed. However, Judge
McHale did not remove jurors who acknowledged thatthey did make said statements, nordid
he remove jurors who assaulted other jurors or bring forth criminal charges. Which now
shows evidence, the Judge in order to push his agenda of rendering a guilty verdict has now
engaged in wiltful misconduct. Judge Michael B McHale on severaloccasions, went on record
proclaiming a guitty verdict and stating that higher courts wil[ not overturn his decision,
persistently faited to perform his duties, blatantly disrespect defense lawyers, a[lowed
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    unauthorized evidence, and removed qualified jurors who exposed the unlawful practices of
    discrimination (Rute 63: Canon 1 and 3; Article Vl Section 15). His behavior and activities of
    prejudicial disrepute are violations of judicialconduct. McHale's behavior, in addition to the
    racist misconduct by severaljurors, are Constitutional violations and grounds for
    impeachment of Judge Michael McHale and mistriaI for defendants. The above accusations
    can be proved via court records, transcripts, news coverage, and subpoena statements or
    testimonials from juror members associated with the case. The factuaI evidence of racial
    prejudice not only damages the jury system, but also reincarnate many of the human rights
    violated prior to the inclusion of Civil Rights Acts and Statutes. Laws that were created and
    codified into law to prevent institutionalized practices that negatively affect people of color
    and deny due process are now being mishandled and reinforced in Cook County's failing
    Judicialsystem.

    To resolve the problem, I would appreciate your Justice Department review case (13CR13349)
    United States (People)V. Cornel Dawson, Teron Odum, Ullyses Polk, Clifton Lemon, Antwan
    Davis, and Duavon Spears. Enclosed are copies of my records (include transcripts, media
    coverage, and affidavitsl otherdocumentation would have to be requested from Cook
    County State's attorney office, including confidential informant Alex Williams record of
    misconduct.

    I look foruvard to your repty and a resolution to my problem and will wait untilApril3012018
    before seeking help from Department of Justice Civit Rights Division, United States Supreme
    Court, and response from Judiciary Board Commission. Please contact me at the above
    address or by phone at (773-816-Zl22l.




    Sincerely,

    Antwan Davis




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   Lawyers of Now-Convicted Chicago Gang Leaders File
   Affidavit Accusing Jury of Racist Intentions
   By Tanasia Kenney - April 6, 2018


                                                          The lawyers for six Black Souls gang leaders convicted on
                                                          racketeering and drug conspiracy charges last year are now
                                                          seeking a judge's approval to speak a with a juror who
                                                          reportedly made explosive claims about racist behaviour
                                                          during the jury's chaotic closed-door deliberations.


                                                          According to the Chicago Tribune, lawyers filed an affidavit
  Judge Michael McHale was previously
  forced to dismiss five jurors after on of
                                                          fom the sister of defendantAntwan Davis, in which she
  them made racial remarks and another                    alleged that a Black juror told her that other jurors shouted
  passed out. (Image couftesy of Alamy
   Stock Photos)
                                                          insults, used the N-word and even threw chairs and jumped
                                                          on tables as they struggled to reach a verdict in December.




  "Yes, they were calling us every name but the child of God," the affidavit quoted the unnamed juror
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  5 after first reaching out to her on social                media.                                                                               x




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   Though historically it's been difficult to get a judge to alter a verdict based on later complaints by a
  juror, the lawyers, in their liling, cited a2017 U.S. Supreme Court decision allowing a judge
   weighing a new trial to review whether jurors acted with racist intentions in order to reach a verdict.
   The lawyers are now awaiting the green light from Judge Michael McHale to interview the juror.


   Deliberations in the nearly two-month trial came to a complete stop last year after jurors passed a
   note to the judge alleging racism and chauvinism in the jury room, the Chicago Tribune reported.
   McHale was forced to remove fire jurors from the panel after one allegedly made racist remarks,
   another lied on her jury questionnaire and a third passed out and had to be treated by paramedics.
  The remaining two were ousted for protesting the fairness of jury's legal instructions, according to
  the newspaper.


   McHale replaced the jurors with five alternates who would go on to convict the six gang leaders of
   racketeering and drug conspiracy. Each is facing life behind bars.




    Comments: Get Heard




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Officials: Murder, intimidation kept $rr
million-a-year gang going




Alleged gang members arrested in a recent crackdown include (clockwise starting at top left) Antwan Davis, Cornel Dawson,
Clifton Lemon, Teron Odum, Ulysses Polk, and Jeff Thompson. (Cook County State's Attorney's Office)


ByAnnie Sweeney and Jason Meisner

JUNE 13, 2013


       he top leaders of one of Chicago's most violent street gangs have been charged in a sweeping
       racketeering case that alleges they controlled their West Side drug empire through pattern of
intimidation, kidnappings, shootings and murder dating back to the mid-r99os, according to an
affidavit unsealed today in Cook County Criminal Court.

Before sunrise today, police armed with "no knock" search warrants fanned out across the Chicago
area surprising dozens of leaders of the Black Souls, including Cornel Dawson, known as the gang's
chief, and Teron Odum, described as Dawson's second-in-command. Also arrested were a number of
"top runners" and "supervisors" who authorities say control the gang's street operations.
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The 78-page affidavit alleges the Black Souls ran an $rr million-a-year drug operation and protected
the enterprise with violence that included at least seven murders from 1994 to zorz. In all, z3
members of the gang have been charged with racketeering conspiracy, while rB more face state drug
or weapons charges, authorities said.

Among the charges was the slaying last October of Claude Snulligan, whom authorities said was
fatally shot after he worked undercover and agreed to testify against the gang's leaders about a
robbery and attempted kidnapping months earlier.

The case, dubbed "Operation 40 Cal," marks the first prosecution under the state's new anti-
racketeering law designed to hold gang leaders accountable for violence their organizations wreak on
city streets.

"The new street gang RICO law has enabled us to launch an unprecedented attack on the leadership
of this violent and notorious gang," Cook County State's AttorneyAnita Alvarez said at a news
conference today at the Leighton Criminal Court Building. "It is a game-changer for law enforcement
in our war against Chicago street gangs."

Chicago police Supt. Garry McCarthy said similar measures were used to great effect during his
tenure in New York and allow police to "permeate the veil of secrecy'' in which gang leaders surround
themselves.

"We're going to use this a lot," McCarthy said.

Court appearances for the defendants are expected to begin Friday.

The arrests mark the first prosecution by the Cook County state's attorney's office under the gang
RICO law, which took effect in June zorz and was modeled after the r97o federal RICO statute
originally designed to go after mobsters. By classifring a gang as a criminal enterprise, the law allows
authorities to hold leaders responsible for the gang's actions even if they are insulated from a
particular crime such as a murder or drug deal.

The law carries stiffpenalties for those convicted of participating in a criminal enterprise -- from a
mandatory 7- to 3o-year prison term for racketeering conspiracy up to life in prison without parole
for those convicted of murder under the statute.

The Black Souls gang was founded on the city's West Side and is thought to have a half-dozen factions
with more than 75o members, according to law enforcement reports.
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In 2o1o, the gang was targeted by then-Chicago police Supt. Jody Weis under a new stratery to crack
down on an entire gang if one of its members lvas involved in a fatal shooting. The effort, which
began with the August zoto murder of high school senior Anthony Carter, netted more than 6o
arrests, according to a Tribune report that year.


Over the past decade, the federal RICO statute has been used against two Chicago-area gangs: the
Latin Kings in Chicago and the Insane Deuces inAurora.

In the Latin Kings case, prosecutors emphasized that the case provided them with a rare opportunity
to hold the highest ranking Latin King in the country accountable for the violence that supported the
gang's drug enterprise.


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ATF sting operation accused of using racial
bias in finding targets, with majority beirrg
minorities




University of Chicago law students are working on a legal effort to have a dozen Chicago "Stash House Sting" cases
dismissed that involve more than 40 defendants. ln support of that effort, a recently unsealed study concluded the U.S. Bureau
of Alcohol, Tobacco, Firearms and Explosives showed a clear pattern of racial bias. (Abel Uribe / Chicago Tribune)


By Jason Meisner andAnnie Sweeney
Chicago Tribune


MARCH 3, 2017, 7.22 AM




L       eslie Mayfield was handcuffed in the back of a police wagon when he realized the plan to rob a
        drug stash house was a setup.

For four years, Mayfield had been struggling to turn his life around after more than a decade in
prison. To escape the street life, he moved to Naperville with his fiancee's family and managed to find
a full-time job at a suburban electronics facility that paid rz bucks an hour. It was there that a co-

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Now, inside the police vehicle, the sounds of flash-bang grenades still ringing in his ears, Mayfield
started to piece it all together. There was no stash house, no cartel drugs or associates to rob. It was a
crime dreamed up by federal authorities and carried out with the help of Mayfield's co-worker to reel
him in when he was at his most vulnerable.

Eight years later, Mayfield, 48, and dozens of others are at the center of a brewing legal battle in
Chicago's federal court over whether the U.S. Bureau of Alcohol, Tobacco, Firearms and Explosives'
signature sting operation used racial bias in finding its many targets.

A team of lawyers led by the University of Chicago Law School is seeking to dismiss charges against
more than 4o defendants in Chicago. The undercover probes, a staple of the ATF since the mid-
199os, have ensnared hundreds of defendants across the country.


A recently unsealed study by a nationally renowned expert concluded that ATF showed a clear
pattern of racial bias in picking its targets for the drug stings. The disparity between minority and
white defendants was so large that there was "a zero percent likelihood" it happened by chance, the
study found.

The vast majority of those swept up in the stings in Chicago were minorities, and a close examination
of the criminal backgrounds of some of those targeted raises questions about whether they were truly
the most dangerous gun offenders whomAIF was aiming to remove from the street.

Some had trouble even coming up with guns to do the job
                                                                       - including one crew that after months of
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ATF playbook designed to make sure targets were legitimate, defense lawyers argued in recent court
filings.

Mayfield, for one, talked on undercover recordings about his experience robbing stash houses, but in
reality he had no arrests for robbing drug dealers. The fact that he was lured into the sting while
working a full-time job has also been heavily criticized by the appellate courts.

"Criminals do sometimes change and get their lives back on track, and we don't want the government
pushing them back into a life of crime," Judge Richard Posner of the lh Circuit U.S. Court of Appeals
in Chicago wrote in an opinion supporting Mayfield's argument that he had been entrapped by
authorities.

The controversy comes amid a national debate over the treatment of minorities by law enforcement
and a scathing report by the U.S. Department of Justice just weeks ago that found that Chicago police
routinely violate the civil rights of citizens, particularly African-Americans and Hispanics living on
the city's impoverished South and West sides.

It could put the Justice Department in the uncomfortable position of defending its own stash house
prosecutions against allegations of racist practices while at the same time pushing Chicago police for
reforms of similar accusations.

Earlier this month, federal prosecutors filed a lengthy motion vehemently disputing that minorities
were unfairly targeted in the stash house cases, sayrng the expert report filed by the defense was
"riddled with false assumptions that were designed to manufacture a racial disparity where none
exists."

The dispute sets up what could be an unprecedented hearing at the Dirksen U.S. Courthouse in the
coming months involving a panel of district judges hearing the multiple criminal cases at once.

"It's almost like a criminal class action," said Alison Siegler, director of the Federal Criminal Justice
Clinic at the University of Chicago Law School, which represents most of the defendants in the dozen
cases they are seeking to be dismissed. "Judges are seeing this as a coordinated litigation. It's a very
unusual situation."

Out of answers

When Mayfield landed a job in May zoog at LG Electronics, a sprawling, warehouse-like facility just
off rr5th Street in Bolingbrook, it seemed to be a stroke of luck. Still on parole for an attempted
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Several weeks into his employment, Mayfield was approached by a woman who was one of the only
other African-Americans who worked in his group, he said. She flirted with him, he said, on lunch
breaks, confiding in him that she wasn't happy in her marriage.

It wasn't long before she introduced him to her husband, Jeffrey Potts, a burly ex-con who worked in
another group at LG. Mayfield said he tried to keep his distance, uneasy that Potts'wife was so
flirtatious around him, especially since Potts was white. But Potts persisted, and soon they were
talking regularly, he said.

"Obviously, he had an objective," Ma1field, who is serving a27-year sentence, said in an interview at
the Metropolitan Correctional Center in the Loop. "When I thinkback about it now, he immediately
started tryrng to find out about me, about my background."

Potts, who had done prison time for drug distribution and robbery, was secretly working as a federal
informant, helping an ATF agent search for possible targets for sting operations, court records show.
He was paid for the effort, but not much. Potts later told a private investigator working for Mayfield's
defense team that he earned just $zoo from ATF for bringing the agency Mayfield's case, according to
court records.

A man who claimed to be Potts returned a recent call from a Tribune reporter but said he was too
busy to talk and never called back.

Mayfield said that as the weeks wore on, Potts began dropping references to drugs into their
conversations. He told Mayfield he had a new drug connection and was making a lot of money and
would often ask him if he was looking to get out of the day-to-day drudgery of working at LG,
Mayfield said.

"Every day at work he began to make comments such as, 'Cttz,I know you tired of working for this
chump change,"' Mayfield wrote in a letter filed in federal court. "'I know you need this money."'

Mayfield said he told Potts he didn't sell drugs, but Potts "kept on me on a daily basis, saying, You're
missing out."'

After awhile, Potts' talk turned to robberies. One day, the two were having a smoke by the parking lot
when Potts pointed to his new pickup truck   - a red Dodge Ram r5oo with fancy rims, Mayfield said.
He told Mayfield he'd made tens of thousands of dollars robbing drug dealers and could bring
Mayfield in on an upcoming score.

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"He said, 'Man, I hit this lick   - 4oK and two kilos of cocaine. That's how I got this truck,"' Mayfield
said. "I kept saying I wasn't interested. Believe me, there was nothing I wanted less than to go back to
jail."

In mid-June 2oog, Mayfield suffered a setback that left him desperate. The van he depended on to
get to work died on a Chicago-area expressway,leaving him with a huge bill for towing and repairs
that he couldn't afford. He missed several days of work before he was able to arrange a ride. When
Potts asked him where he had been, Mayfield told him about his car troubles. The next day, Potts
walked up to him in the bathroom at LG and slipped him $r8o in cash.

"I tried not to take it, but I did need it," Mayfield said. "I felt at the time like he was genuine."

Later, Mayfield said, Potts offered to forgive the debt if he went along with the robbery plan. Flat
broke and out of answers, Mayfield finally caved. He told Potts to set up the meeting with his contact,
records show.


Potts called his ATF handler, who approved Mayfield as a target, according to court records.

Race and law enforcement

According to the ATF, stash house stings are a key part of the agency's national effort to target people
who "show a propensity of doing harm to the public through violent behavior."

Launched in Miami during the cocaine-war days of the early r99os, the stings have been honed over
the years and are run by experienced agents who use a tightly controlled playbook.

They typically begin when an informant provides the ATF information about a potential target who
has expressed interest in taking part in a robbery. The informant then introduces the target to an
undercover agent who poses as a disgruntled courier for a drug cartel and offers an opportunity to
steal large quantities of drugs from a stash house guarded by men with guns.

In a series of conversations captured on undercover wire, the target is told if he is interested he must
assemble an armed team to commit the robbery. The target and his crew are arrested after they show
up on the day of the supposed crime.

"At the time of arrest, the home invasion defendants are poised, at any moment, to invade a stash
house, steal kilograms of cocaine guarded by armed cartel members, and in the process, kill or be
killed," prosecutors wrote in their recent court filing.
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In order to avoid arguments of entrapment in court, the stings are supposed to target only established
robbery groups. ATF criteria also require that at least two of the participants have violent
backgrounds and that all must be criminally active at the time the investigation is launched.

Not only were the operations a boon for the ATF but the resulting prosecutions also netted eye-
popping sentences
                    - sometimes up to life in prison - in part because defendants were criminally
liable for the amount of imaginary drugs they believed they were stealing. It didn't matter that the
robbery was fake or that no drugs actually existed.

"The reason this scenario exists is because it's realistic," Assistant U.S. Attorney Jeffrey Perconte
argued at Mayfield's sentencing in zorr while seeking up to 37 years in prison. "It certainly was real
to Mr. Mayfield."

Spokesmen for both the ATF and the U.S. attorney's office declined to comment for this story, citing
the ongoing litigation.

The lengthy sentences were just one pattern that raised red flags for the criminal defense bar. In case
after case, the ATF stings seemed to be targeting only minorities.

In early 2013, a handful of private attorneys and assistant federal defenders, all veterans at the
Dirksen U.S. Courthouse, were so troubled by a stash house case they were defending that they asked
the U.S. attorney's office for a complete list of all the defendants in similar cases sorted by race.
Prosecutors rebuffed this admittedly unorthodox request.


"ATF does not maintain statistics on the nature in question at either the local or national level,"
Assistant U.S. Attorney Philip Fluhr wrote in response, court records show.

The defense lawyers then asked thejudge overseeing the case to order prosecutors to turn over
detailed information on how the stash house stings are run and the race of the defendants who had
been charged so far. They included their own research showing more minorities were targeted.

Prosecutors strenuously objected. But a few months later, U.S. District Chief Judge Ruben Castillo
allowed the discovery to go forward.

"History has shown a continuing difficult intersection between the issue of race and the enforcement
of our nation's criminal laws," wrote Castillo, concluding that the defense team had "made a strong
showing of potential bias."

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Similar motions in other stash house cases soon followed, but the effort to prove racial bias was being
made case-by-case with no coordination. Then in zot4, the University of Chicago's Federal Criminal
Justice Clinic agreed to focus all its efforts on the rz stash house cases and their 43 defendants.

This allowed the defense attorneys to address the alleged racial bias in a coordinated effort, a critical
undertaking given the government's massive resources, the attorneys said.

"It's a giant power imbalance if one person decides to go against the government," said Adam
Davidson, one of seven U. of C. law students who helped the clinic's three law professors coordinate
the cases.


'The real Leslie Mayfield'

On July 29,2oog, Mayfield climbed into a black Cadillac Escalade parked in a Naperville lot to meet
with Potts and a purportedly disgruntled cartel drug courier. In a conversation captured on
undercover recording, the courier, an undercover ATF agent, laid out the robbery plot, warning that
up to 30 kilograms of cocaine would be protected by as many as four armed guards.

When the undercover agent asked if he had ever done a stash house robbery before, Mayfield replied,
"Yes, sir," according to a transcript of the recording in court records. Later in the conversation,
Mayfield talked about other home invasions he had committed, noting his preference to scout out
locations in advance and hit them under the cover ofdarkness.

Mayfield also told the agent the people he would recruit were experienced and would be excited about
the plan once they knew the quantity of drugs involved. It would be enough for everyone to make "a
nice li'l piece o' change," Mayfield said, according to the transcript.


TWo weeks later, Mayfield brought the crew he'd assembled to meet with the undercover agent and go
over the plan. The crew assured the agent that they were up for the danger ofthe operation and
talked about what to do with the armed guards, including killing everyone inside if necessary,
according to transcripts of the conversation. Mayfield stressed that their biggest advantage was "the
element of surprise."

The next night, Mayfield got the call that the robberywas on. He and his crew drove toAurora in a
brown van to meet with the undercover agent, who took them to a nearby storage facility where they
would supposedly hide the drugs after the heist, court records show. In a conversation outside the
storage facility that was caught on undercover video, the agent gave the crew one more chance to
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"Yeah, bro!" exclaimed Montreece Kindle, Mayfield's cousin, who stuck out an arm to shake the
agent's hand.


As the crew got ready, the video showed Mayfield throw a loaded .357 Magnum handgun into a rear
cargo area ofthe vehicle. Seconds later, the boom offlash-bang grenades and shouting could be heard
as a special operations team of agents stormed out of the storage facility to make the arrest.


Reeords show Mayfield's crew had brought an arsenal to the scene. In addition to the .357, agents
found a loaded sawed-offshotgun, a .44-caliber revolver, a semi-automatic pistol, ski masks,
bulletproof vests and latex gloves.

Mayfield and all three of his accomplices were convicted at trial. At Mayfield's sentencing hearing in
2011, prosecutors highlighted his previous convictions for burglary and unlau{ul restraint and
incorrectly told the judge that he had been the shooter in the 1994 attempted murder that had landed
him in prison for rr years.

After his release in zoo5, Mayfield had picked up a new charge in Lake County after state police
stopped a car he was riding in and found him with a loaded gun, prosecutors said.

"That's the real Leslie Mayfield," Perconte told U.S. District Judge Harry Leinenweber, who imposed
a 27-year prison sentence. "From the time he was 18 ... he has added nothing to society but danger."

Exe ggerated capabilities

Born and raised inZion, Mayfield had an unstable childhood. He never knew his father, and his
mother struggled to make ends meet. In court statements, Mayfield recalled being homeless for long
stretches. He spoke of memories of his mother making them bologna sandwiches in the front seat of
their car and washing him up in gas station bathrooms because they had nowhere else to go.

Mayfield graduated from eighth grade but never attended high school.Intgg4,when he was 26,
Mayfield and several others were arrested after the carjacking and shooting of a motorist in
Waukegan.

Lake County prosecutors conceded that Mayfield wasn't the gunman, but under the state's
"accountability" law, a jury convicted him at trial of attempted murder, armed robbery, armed
violence and aggravated battery with a firearm. He was sentenced to 4o years in prison.

An appeals court later reversed the attempted murder conviction, ruling in tggT that the jury was
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a"All$EIrTf,"sd8pBffllhHl3 u".uore he had ''no goo<i reason to shoot" the victim.



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After his case was sent back to Lake County Circuit Court, Mayfield pleaded guilty to attempted
murder in exchange for a seven-year sentence to run consecutive to a ls-year term for the armed
violence count, records show. With good behavior, he wound up serving 11 years.

In his interview with the Tribune, Mayfield said he decided to use his time in prison to turn his life
around. He earned his high school equivalency certificate and later an associate degree in general
college studies. He got a cosmetology license and became a certified tutor. Although he said he never
affiliated with a gang on the street, he joined the Gangster Disciples to avoid conflicts in prison. "I did
everything I could to remain positive," he said.

After he was released on parole in zoo5, Mayfield went back home to Waukegan, but staying away
from the violence of the streets proved difficult. A couple years after his release, Mayfield was in a
home when a shooting occurred and a famrly member was wounded in the head, he said.


To protect himself, he started carrying a gun, but that, he acknowledged, turned out to be a huge
mistake. That August, state police stopped the car Mayfield was riding in, and he took off running
before they could pat him down. After a foot chase, he was ordered to the ground at gunpoint. Police
found a loaded.4o-caliber pistol in his waistband.

Despite that setback, Mayfield said he was determined to stay on course. He moved with his girlfriend
to Naperville, where they lived in a tiny, two-bedroom house with her four teenage children and one
grandchild.

Struggling at LG Electronics on $rz an hour, Mayfield described in court records how the famrly
relied on one car and had no money for cellphones or other luxuries. Every Tuesday, Mayfield would
stand in line at a local food pantry to make sure the kids had enough to eat.

In his interview with the Tribune, Mayfield said he was coached by Potts to boast to the purported
drug courier about past stickups and robberies. At his sentencing six years ago, he denied ever selling
or stealing drugs and said he had never shot anyone in his life. Mayfield owned up to his role in the
stash house robbery but insisted in a long and emotional plea to the court that the government had
exaggerated his capabilities.

"They say I had a drug crew? We couldn't even afford a cellphone," Mayfield told the judge, according
to a transcript. "We didn't even have a car when the agent came across me. I tried everything I could
to be a better person."

'Absurdlv overbroad'
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As the movement to fight the stash house cases gathered steam among defense attorneys, the
judiciary also weighed in with some key decisions.

In November 2ot4,the full 7th Circuit U.S. Court of Appeals granted Mayfield a new trial in a rare
decision that concluded Potts had "targeted Mayfield at a moment of acute financial need and against
a backdrop of prolonged difficulty finding permanent, family-supporting work."


In a zorz dissenting opinion as the case was winding through the court, appellate Judge Richard
Posner had put an even finer point on it, referring to the stings as a "disreputable tactic" that used
government informants to target people at a vulnerable time in their lives.

Meanwhile, another ruling in July 2o1S by the appellate court in Chicago resulted in the government
turning over more data on the stash house stings sought by the defense. The ruling allowed the
defendants to move ahead with what is believed to be the most thorough analysis of the stings
anywhere in the country.


To examine the data, the University of Chicago team hired Jeffrey Fagan, a nationallyknown
specialist in police practices who also examined the NewYork Police Department's stop-and-frisk
program.

Fagan examined 94 defendants in z4 separate stings conducted between zoo6 and zor3 and found
that74 of the defendants were black. Fagan also ran three statistical analyses to figure out the
likelihood that the proportion of stash house defendants would, by chance, be African-American.

To do that, Fagan created a control group by using ATF criteria for their defendants
                                                                                        - having one or
more convictions for specific violent offenses identified by the ATF or for narcotics or firearms
offenses. The offenses also had to occur in the same geographic area and around the same time the
stash house plan arose.


When Fagan compared the two groups, he concluded that minorities were "substantially more likely"
than similarly situated whites to be targeted byATF in the stash house stings, according court filings.

"Each test showed the same pattern: Being black significantly increased a person's chance of being
targeted by the ATF," lawyers for the defendants wrote in their filing.

But an expert hired by the U.S. attorney's office concluded that Fagan had used an "absurdly
overbroad" group to compare to stash house defendants, including people with only minor criminal
convictions such as simple drug possession and misdemeanor assault, according to the recent court

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equals ro percent of all males ages L4-49 in the Chicago area, their filing said.



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Using such a broad swath of the public in a statistical analysis ignores the realities of how the stash
house stings work, prosecutors said.


"ATF agents do not compile a list of citizens with criminal records throughout the district, select
people from the list at random, and then cold-call those people and offer them a chance to rob a stash
house," prosecutors wrote. "There is no reason the home invasion defendants should resemble
Professor Fagan's fantasy home invasion lottery."


Echoing an argument sometimes made by Chicago police, federal prosecutors also said Fagan's report
failed to account for the fact that many of the stash house investigations took place in neighborhoods
that are more than 9o percent black, naturally leading to targets who are black as well.

The debate is now potentially headed for a court hearing involving all defendants. The outcome could
set precedent forjudges in other states.


"Courts tend to give law enforcement a lot of leeway," said University of California-Irvine law
professor Katharine Tinto, a criminal law expert who has written extensively about the stash house
stings. "... The fact that an expert is saying a federal law enforcement agency is discriminating on the
basis of race is something everybody should be watching."


'Sentenced with him'

Sharonnette Sholaja first met Mayfield in zoo6 when he was doing odd jobs for his cousin after his
release from prison. Despite Mayfield's background, she fell for him in part because of his efforts to
put his past behind him.

"He was really tryrng to get himself together," Sholaja said in a recent interview. "I was getting up at 4
or S a.m. driving him for all kinds ofjob interviews because he was determined. He didn't let
anything stop him."

Within two years they had moved to Naperville, crammed into a small apartment with her kids and a
grandchild, so Sholoja could be close to her work in Woodridge. Mayfield found the job at LG, but
money was still tight, she said. For their first holiday in Naperville, they couldn't afford a Christmas
tree. With their money going to rent and food, they relied on a food pantry to get by, she said.

When the family car broke down - the event that ultimately drew Mayfield into the stash house sting

- they had to borrow $goo from her mom to cover the tow, Sholaja said.
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Despite the financial hardships, Malfield never spoke of violence, carried guns or kept one in the
house, Sholaja said. The news that he had agreed to rob a drug stash house shocked and angered her.
She lost the apartment after he was locked up, and eventually the stress ripped them apart.


Sholoja, 44, said they still consider each other friends and remain in touch. But she's moved to
Arizona to start over.

"I told him I felt like I was sentenced with him," she said. 'You know, we would be married had this
not happened."


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  Gov. Quinn signs Street Gang RICO Act
  By SOPHIA TAREEN I Associated Press Jun 11 ,2012

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  CHICAGO         An Illinois law giving local authorities the    to   after   power        go
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  street gangs as criminal organizations took effect Monday, a move prosecutors
  and police said bolsters efforts at reducing crime in the nation's third largest
  city.

  Gov. Pat Quinn signed the Illinois Street Gang RICO Act into law Monday.
  The legislation is modeled after the federal Racketeer Influenced and Corrupt
  Organizations Act, which provides stiff penalties for illegal acts performed as
  part of a criminal enterprise like the Mafia.

  The Illinois law lists dozens of crimes, including murder for hire, kidnapping
  and sex trafficking, and allows prosecutors to connect single crimes to the
  larger group. It also stiffens penalties.




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  The goal is to dismantle gangs.


  "'We want to go after these mobsters and gangsters who are killing people and
  hurting the public safety of our state," Quinn said.

  Cook County State's Attorney Anita Alvarcz pushed the measure, with support
  from Chicago Police Superintendent Garry McCarthy.

  McCarthy said 75 to 80 percent of the shootings and homicides in Chicago are
  gang-related and estimated that the city has 100,000 gang members.


  His comments followed another uptick in city violence; during the weekend
  eight people were killed and at least 40 wounded in shootings citywide. This
  year, Chicago reported 203 homicides through late May, a 5l percent increase
  from the same time period last year when it was 134 homicides.

  Neither Alvarez nor McCarthy could say how long it would take for the first
  case to be prosecuted under the new law. Alvarez said her office had created a
  new unit to handle the cases and will train police on how to spot them.

  "Instead of looking at the individual acts of one or two gangmembers, we are
  going to be looking at the entire enterprise ... somehow really make a dent into
  the gang problems and get to the guys who are calling the shots," she said.
  "They are the ones that are usually nowhere to be found. We may convict the
  soldier but we never get the general."



  More than two dozen states have their own version of anti-racketeering laws.



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  The Illinois law takes effect immediately and expires in five years. Lawmakers
  say that's when they'll study how it's been working, according to state Rep.
  Mike Zalewski, a Riverside Democrat who sponsored the bill.

  However, opponents argue the law gives Illinois' 102 county state attorneys too
  much power and leaves potential for abuse.


  "The fear is that politically elected people can use it politically," said state Sen.
  Kwame Raoul, a Chicago Democrat, who voted present on the bill. He also said
  low-level gang members could get swept up in investigations and charged with
  harsher crimes.




 Federal prosecutors in Chicago have used RICO in high-profile cases involving
 mobsters.


 Illinois has flirted with getting its own RICO law before. But a wide-ranging
 attempt three years ago, which also focused on political comrption, did not get
 far with lawmakers.

 The new law applies only to gangs, explicitly excluding racketeering
  investigations of state government and unions.
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  The Chicago Crime Commission, a nonprofit organizationthat studies city
  crime, applauded the law and said it was long overdue. Arthur Bilek, the
  commission's executive vice president, said there had been little evidence in
  other states of abuse of power on the part of prosecutors.

  "The dangers are insignificant compared to the good that bill can bring by
  finally beginning to put away these vicious violent drug gangs that are really
  the new mafia of the United States," he said.

  The bill is HB 1907 .




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After 5 jurors are replaced, deliberations to start over at Black Souls gang trial - Chicago ... Page I of 4




After 5 jurors are replaced, deliberations to
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       n a bizarre twist in the midst of deliberations, nearly half the members of a Cook County jury
      were removed Thursday from deciding the fate of reputed West Side gang leaders on trial after
sitting through nearly two months of testimony.

The five removals came in waves                   - one juror allegedly made racist remarks in the jury room. Another
was found to have lied on her jury questionnaire. A third lost consciousness and had to be taken away
by paramedics. And the final two were bounced after protesting that the jury's legal instructions were
unfair.

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 After 5 jurors are replaced, deliberations to start over at Black Souls gang trial - Chicago ... Page 2 of 4


 After a long day of twists and turns, the five alternates had all arrived at the Leighton Criminal Court
 Building and Judge Michael McHale swore in the reconstituted rz-member jury shortly after 6 p.m.
 Deliberations are scheduled to start anew Friday morning.

 Only one alternate remains if further difficulties arise.

 The six reputed leaders of the Black Souls street gatrg are on trial in a case being closely watched
 because it marks Cook County's first test of a tough state anti-racketeering law.


 The jury had begun deliberating late Tuesday afternoon.


 The forewoman and a seeond juror sent a note to McHale about noon Thursday hinting at furmoil in
 the jury room.


The note   - read aloud in court by the judge - complained of "unfairness" and warned of a hung jury
if certain issues were not addressed.

The note also alleged that one juror had admitted that her father and brother were members of the
Black Souls gang.

That juror - known only as Juror z8 because the identity of the jurors was kept secret for apparent
safety reasons - was called to the jury box in the eourtroom to address the controversy. She testified
under oath that she made a reference to Black Souls family members in the jury room only while
raising a hypothetical point during deliberations.

"I was like, 'For example, if my father is a Black Soul, it doesn't make me a Black Soul,"'she said.

But when questioned further, she acknowledged her brother belonged to the Vice Lords street gang.

After excusing her from the courtroom, McHaIe reviewed the woman's jury questionnaire from the
bench and discovered she had answered no to a question asking if any member of her immediate
familywas in a gang.

"She's off," McHale said.


Just before 1 p.m., the judge let the jury know that one of its members had been dismissed and
instructed them to halt the deliberations.

The same note from the forewoman and the second juror also accused Juror r43 of "racial bullying"
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  After 5 jurors are replaced, deliberations to start over at Black Souls gang trial - Chicago ... Page 3 of 4


  McHale called the forewoman to the jury box for clarificadon. fire woman, referred to in the
 courtroom only as Juror tzo, said she couldn't recall her fellow juror's exact words. But his offensive
 remarks had been occurring "over the course of yesterday and this morning," she said. "It has not
 gotten better."


 The forewoman told McHale that the juror's comments had been directed at both the defendants and
 his fellowjurors.


 The judge dismissed the juror without questioning him in court. McHale hinted that he had
 presented problems before.


 "He has been a terribly high-maintenance juror," the judge said. "It's clear he doesn't want to be
 here."

 But McHaIe declined to bounce two other jurors who were accused of saying during deliberations that
 they were "only here to send a message." One said he could still be fair, while the other denied
 making the statement.

 About 3 p.m., as attorneys awaited the arrival of the two alternates, anotherjuror passed out and was
taken away by paramedics.

'She lost consciousness, her eyes rolled back in her head, she appears to be having a hard time
breathing," McHale said before announcing he would dismiss her as well.

Moments later, McHale received a second note from the same two jurors who had earlier complained.

"We personally feel the instructions are structured in a style to come to one verdict, and we can't
complete our civic drty," said the note from the forewoman and Juror 4o.

"They cannot follow the law," McHale said after reading the note aloud in the courtroom. '"Ihey're
off.;'

Both prosecutors and defense attorneys, shocked at the turn ofevents, loudly protested the last two
jurors'dismissal without first questioning them. McHale denied the request.

Richard Dvorak, one of the defense lawyers, then moved for a mistrial
                                                                           - one of many such requests
over the course ofthe afternoon.

"Depied," MpHAlg said. "W.e'll see you when the alternate jurors get here."
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 After 5 jnrors are replaced, deliberations to start over at Black Souls gang trial - Chicago ... Page 4 of 4


 The five alternates had been excused from service after the trial wrapped up on Tuesday. Summoned
 by the judge thursday afternoon to quickly return to the courthouse, they arrived individually over
 the next several hours. Under questioniug by McHale, they all swore they had followed his
 instructions and had not watched media coverage or discussed the trial with anyone.

 But after the new jury had been sworn in, Michelle Truesdale, another defense lawyer, told the judge
 that he had dismissed fourAfrican-American jurors since the start of the trial. That leaves onlytwo
 blaclc on the panel.

 McHale acknowledged her point but said his decisions "didnt have anything to do with race."

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  Six Black Souls gang leaders convicted in Cook County's first test of state RICO law - Ch... Page 1 of 4




 Six Black Souls gang leaders convicted in
 Cook County's first test of state RICO law




A jury convicied six reputed leaders of a 'vVest Side street gang on Dec.2.2017. in Cook County's first test of a tough state
anti-raci<eieering law lChris S,rieda IChicago Tribune)


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         fter a dramatic trial that included a bizarre upheaval among jurors mid-deliberations, a
         reconstituted jury on Saturday convicted half a dozen leaders of a West Side street gang in
Cook County's first test of a tough state anti-racketeering law.

Moments before the verdict was disclosed in Judge Michael McHale's courtroom, the six Black Souls
bosses   - all but one of them related - held hands as they stood behind their attorneys. None showed
emotion as McHale announced that each had been found guilty of racketeering conspiracy and drug
conspiracy.

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    Case: 1:18-cv-07172 Document #: 1 Filed: 10/25/18 Page 60 of 186 PageID #:60
 Six Black Souls gang leaders convicted in Cook County's first test of state RICO law - Ch... Page2 of 4



 The seven-man, five-woman jury which deliberated about t3 hours, also found the gang's leader,
 Cornel Dawson, and gang "vice president" Teron Odum responsible for four murders between zooe
 and zor3.


 AIso convicted were gang enforcer Duavon Spears and Antwan Davis, Clifton [.emon and Ulysses
 Pol( all identified as top-Ievel managers. All six faee a maximum sentence of life in prison.

 All the defendants but Spears are related, according to prosecutors.

 State's Attorney Kim Foxx hailed the unusual Saturday verdict
                                                                  - the jury was sequestered at night at
 a hotel
           - at a news conference Saturday evening at the kighton Criminal Court Building, where the
 trial took place.

 "For over a decade, the Black Souls terrorized their West Side neighborhood through violent crimes
to protect their illegal trade," she told reporters. This case demonstrates what we can do when we
work together."

 IdEfu\'l'ED: A{ter 5 jtrrors arc rcplaccd, delibcrartions to start over at Blacli Souls ganS;
trial

The trial marked the county's first test of the Street Gang RICO Act, passed by the state legislature in
zotz and,modeled after the federal Racketeer Influenced and Corrupt Organization statute. It is
designed to give police and prosecutors a powerful tool to uproot violent street gangs.

Testiffing during nearly two months of the trial were more than roo witnesses, including police, gang
members and a lifelong drug dealer who secretly recorded hundreds of hours of conversations with
the defendants. Prosecutors said the Black Souls operated its drug empire near Monroe Street and
Pulaski Road in the West Garfield Park neighborhood in a fashion similar to a legitimate business,
with marketing schemes and employees working in shifts.

"It's right out of a movie," Assistant State's Attorney John Maher told the jury Tuesday in closing
arguments.

Jurors heard evidence of gruesome murders. In one slaying crucial to the prosecution, the Black
Souls were accused of killing a man in retaliation for telling police that Odum had beat and robbed
him. In another, the leaders allegedly ordered the killing of a lower-level drug dealer aceused of
stealing from them, then buried him upside-down in a West Side gangway. His body was not found
for months.
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 The case centered in large part on a series of recordings made by drug dealer Alex Williams, who
 cooperated extensivelywith police in their investigation of the Black Souls.


 Many of the recordings, played for jurors, captured the defendants diseussing day-to-day drug-
 dealing matters and bragging about their violent exploits, prosecutors alleged.

 But defense attorneys raised concerns about the recordings'often poor quality and what they
 considered unreliable interpretations by prosecution witnesses on the meaning of what was said.

 About zo people were charged under the state RICO statute in zor3 after a predawn raid. All but the
 six defendants on trial this fall ended up pleading guilty.


 Armed with the state anti-racketeering law, prosecutors urged jurors to consider the Black Souls as a
 criminal enterprise and hold the six defendants accountable for the actions of the gang as a whole.

 Defense attorneys, in turn, cautionedjurors to consider their clients on an individual basis and called
 the evidence of a sophisticated criminal conspiraryweak.

The case took a bizarre turn Thursday, about t r/z days into deliberations, when two jurors sent
McHale a note complaining of "unfairness" and warned of a hung jury if certain issues were not
addressed.

One juror allegedly made racist remarks in the jury room. Another was found to have lied on her jury
questionnaire. A third lost eonsciousness and had to be taken away by paramedics. And two were
bounced after protesting that the jury's legal instructions were unfair.


McHale halted deliberations, summoned five alternates to return to the courthouse and swore in the
newjury. The reconstituted jury started deliberations anew Friday morning.

After the verdict came in Saturday, McHale ordered attorneys not to reach out to any of the jurors
without permission.

Defense attorneys are sure to bring up Thursday's peculiar events on appeal.


Attorney Lawrence Wolf kvin, who represents Odum, said he believes "substantial error" occurred
during the trial, including some of the judge's actions during the jury upheaval. Both prosecutors and
defense attorneys had protested Thursday when the jurors who had problems with the legal
instructions were dismissed without being questioned.

"Iddffi'fu%#r$*ml'#otions,QTH&Io$ftW$ rn the appear, and hopetu[yreron odum wilt be
vindicated," he said Saturday afternoon.



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 Attorneys for the other defendants declined to comment.

 Relatives of the defendants expressed anger about the verdict and the handling of Thursday's jury
 turmoil.

 "We will not let this go quietly," Antwan Davis'sister, Shira, told the Tribune. "They're tryrng to tear
 us apart, and they won't."


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 Lawyers for convicted Black Souls gang leaders allege jury bias - Chicago Tribune Page I of3




 Larnryers for convicted Black Souls gang
 leaders allege jury bias




A iury convicied six reputed leaders of a West Side street gang on Dec 2. 2A17. in Cook County s first test of a iough state
anti-racketeeritg la',v. (Chris Srveda I Chicago Tribune)


Bl Megan Crcpeau
Chicago Tribune


APRIL 5. 20 13. 7:C5 PIt/


          ttorneys for six reputed Black Souls gang leaders convicted of racketeering want to interview a
        juror who they believe has made explosive allegations about racist conduct amid chaos during
the jury's closed-door deliberations.


The lawyers filed an affidavit from a sister of defendant Antwan Davis in which she alleged that the
African-American juror told her that other jurors had screamed insults, used the N-word, and thrown
chairs and jumped on tables during the deliberations.

'Yes, they were calling us every name but the child of God," the affidavit quoted the undisclosed juror
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 Lawyers for convicted Black Souls gang leaders allege jury bias - Chicago Tribune Page2 of3



 It has been difficult over the years to change a verdict based on the later complaints of a juror, but in
 Ttrursday's filing, the attorneys cited a U.S. Supreme Court decision in zorT that a judge weighing a
 new trial can consider ifjurors acted with racist motivations to reaeh a verdict.


 The lawyers are seeking approval to talk to the juror from Judge Michael McHale, who had barred
 contact with the jury after six leaders of the West Side street gang were convicted last December
 following a nearly two-month trial in Cook County's first test of a tough state anti-racketeering law.

 The deliberations came to an abrupt halt after two jurors handed up a note to the judge complaining
 of racism and chauvinism in the jury room.


 On the same afternoon, McHale removed five jurors from the panel        - one for allegedly making racist
 remarks in the jury room, another for lying on herjury questionnaire, a third who lost consciousness
 and had to be taken away by paramedics, and the final two for protesting the fairness of the jury's
 legal instructions.

 Five altemates took their places and convicted the six defendants on charges of racketeering
conspiracy and drug conspiracy. They face sentences of up to life in prison.

According to Davis'affidavit, she talked to the juror by phone on March 5 after first reaching out to
her on Facebook.


Davis said the juror told her a male juror screamed at another female juror and called her ugly. The
juror said she then spoke up, telling the man he was ugly and that he need to 'back offbefore she
knocked his ass out," tAe afEdavit said.

The other female juror then had an anxiety attack, the juror allegedly said.


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Black Souls gang trial goes to jury in Cook County''s first test of statc racltcteering law'>>

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 Judge blocks contact with juror over allegedly racist tone of deliberations during gang tria... Page I of 3




 Judge blocks contact with juror over
 allegedly racist tone of deliberations during
 gang trial




Cornel Dav,rson. the alleged ringleader of the Black Souls street gang left. arrcl Teron Odurn. his reputed second-in-command
wete among six people convicted in December under a state racketeering law. (Cook Couniy state's attorney's oftice)


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Chicago Tribr.rne


APRIL 6. 2018. 5:00 Plvl


         ensions ran high in a Cook County courtroom Friday after ajudge rejected attorneys'bid to
         interview a juror who reportedly has made claims of racism and violence during deliberations
in a high-stakes gang racketeering trial.

Judge Michael McHale then prohibited the defendants'families from reaching out to the juror as
well.

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 Judge blocks contact with juror over allegedly racist tone of deliberations during gang tria... Page2 of 3



 American juror told her other jurors had screamed insults, used the N-word, and thrown chairs and
 jumped on tables during the deliberations.

 The lawyers sought McHale's permission to interview the woman juror, identified in court only as
 Juror 4o, to try to determine if racism played a part in the juqy's verdict, aII in a bid to seek a new
 trial.

 In denying the request, MeHale noted that a reconstituted jury convicted the six defendants after
Juror 4o and four others had been booted offthe panel in the midst of deliberations in the Leighton
Criminal Court Building.

Juror 4o, along with the forewoman, kicked offa chaotic afternoon when they sent McHale a note
during deliberations that alleged racism and sexism in the jury room. The juror whom they accused of
racial bias was kieked offthe panel, McHale said Friday.

Juror 4o and the forewoman were removed from the jury that afternoon as well after they sent a note
to McHale complaining that legal instructions for the jury were unfair and that they could not
'complete (their) eivic duty."

McHale said that stand violated the vows made by Juror 4o at the trial's outset that she would follow
the law.


"Any further information that would come from Juror 4o would be deemed inoedible by this court,"
the judge said.


McHale barred not just attorneys - including the defendants'family members
                                                                               - from contacting
anyone on the jury. A crowd of supporters attending the hearing on behalf of the defendants
murmured in protest.

When McHale adjourned court a short time later, a woman leaving the courtroom turned around and
pointed at thejudge.

"It may be over here, but it ain't over," she shouted out. "You're gonna get yours. You're gonna get
yours."

McHale ordered sheriffdeputies to bring the woman back into the courtroom. A deputy identified her
as the mother of defendant Teron Odum, the Black Souls'alleged second-in-command.


**gginb#H,ff#sqfy4ddres*;Ei'l,"r,rn, telling her that it's a felony to threaten a judge.



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 Judge blocks contact with juror over allegedly racist tone of deliberations during gang tria.,. Page 3 of 3



 'You're a mom. I getthat. But I have a job to do," he said- "I have nothing personal againstyou and
 nothing personal against your son."

 McHale said he wouldnt punish the woman if she agreed not to do it again. She quietly agreed and
 left the courtroom surrounded by supporters.

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Six Black Souls gang leaders convicted in Cook County's fir'st test of .state RICO lavv

ilfter 5 jurors are replaced, deliberations to start over at Black Souls gallg trial             >>




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      Supreme Court rules racebias among
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      The Supreme Court took a strong new stand against racial bias in jury rooms,
      ruling for the first time that reports of racist comments by jurors may require
      setting aside a verdict and holding a new trial.

      Justice Anthony M. Kennedy, announcing the court's decision Monday,
      wrote that the "imperative to purge racial prejudice from the administration
      ofjustice" requires setting aside the traditional rule that bars judges from
      second-guessing what went on in the jury room.




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      The 5-3 decision announced a limited exception to that rule against second-
      guessing juries. The new rule covers cases in which "one or more jurors made
      statements exhibiting overt racial bias that cast serious doubt on the fairness
      and impartiality of the jury's deliberations and resulting verdict."


      Kennedy did not say exactly what should happen in such cases, other than
      that the trial judge should look into the matter, question the former jurors
      and then decide whether a new trial is called for.




      The dissenters, led by Justice Samuel A. Alito, called the decision "well
      intentioned" but unwise.


      "Today, with the admirable intention of providing justice for one criminal
      defendant, the court not only pries open the door; it rules that respecting the
      privary of the jury room, as our legal system has done for centuries, violates
      the Constitution," Alito said. "This is a startling development."

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      After the trial, two jurors told an attorney that a third juror was formerly in
      law enforcement had said that "Mexican men had a bravado that caused
      them to believe" they could get away with sexually assaulting women.
                                                                                        /\
      "I think he did it because he's Mexican, and Mexican men take whatever they
      want," the juror said, according to the other jurors' reports.

      The judge reviewed their sworn statements, but said Colorado law prohibited
      reopening a trial based on what was said in the jury room. The Colorado
      Supreme Court agreed and upheld the so-called "no impeachment ruIe."

      The Supreme Court overhrrned that decision in Pena-Rodriguez u.
      Colorado.

      "In this case, the alleged statements by a juror were egregious and
      unmistakable in their reliance on racial bias," Kennedy wrote. The one juror
      "deployed a dangerous racial stereotype to conclude the (defendant) was
      guilty and his alibi witnesses should not be believed, but he also encouraged
      other jurors to join him in convicting on that basis."

      The court sent the case back to the Colorado courts to decide how to proceed.


      Justices Ruth Bader Cifn\u16fep/UruEXts{eyer, Sonia Sotomayor and
      Hena'iugl,iagieed *itht{qnefr+y*{fiSg},eAito in dissent were Chief
      Justice John Roberts and Justice Clarence Thomas.


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          and the Administration of Justice
          Rule 65: Canon 5. A Judoe Should Requlate His or Her ExtraiudicialActivities to Minimize the
         Risk of Conflict Wth the Judqe's Judicial Duties
         Rule 66: Canon 6. Noniudicial Compensation and Annual Statement of Economic lnterests
         Rule 67: Canon 7. A Judoe or Judicial Candidate Shall Refrain from lnaopropriate Political
         Activitv
         Rule 68: Declaration of Economic lnterests
         RULE 69-70 - Reserued.
         RULE 71 - Molation of Rules.


     Preamble
     Our legal system is based on the principle that an independent, fair and competent judiciary will
     interpret and apply the laws that govern us. The role of the judiciary is central to American
      concepts of justice and the rule of law. lntrinsic to all provisions of this code are precepts that
     judges, individually and collectively, must respect and honor the judicial office as a public trust
     and strive to enhance and maintain confidence in our legal system. The judge is an arbiter of
     facts and law for the resolution of disputes and a highly visible symbol of government under the
     rule of law.

     The Code of Judicial Conduct is intended to establish standards for ethical conduct of judges. lt
     consists of broad statements called canons, specific rules set forth in lettered subsections under
     each canon, and Committee Commentary. The text of the canons and the rules is authoritative.
     The Committee Commentary, by explanation, and example, provides guidance with respect to
     the purpose and meaning of the canons and rules. The Commentary is not intended as a
     statement of additional rules.

     The canons and rules are rules of reason. They should be applied consistent with constitutional
     requirements, statutes, other court rules and decisional law and in the context of all relevant
     circumstances. The Code is to be construed so as not to impinge on the essential
     independence of judges in making judicial decisions.




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      The Code is designed to provide guidance to judges and candidates for judicialoffice and to
      provide a structure for regulating conduc-t through disciplinary agencies. lt is not designed or
      intended as a basis for civil liability or criminal prosecution. Furthermore, the purpose of the
      Code would be subverted if the Code were invoked by lawyers for mere tactical advantage in a
      proceeding.

      The canons are not standards of discipline in themselves, but express the policy consideration
      underlying the rules contained within the canons. The text of the rules is intended to govem
      conduct of judges and to be binding upon them. lt is not intended, however, that every
      transgression will result in disciplinary action. Whether disciplinary action is appropriate, and the
      degree of discipline to be imposed, should be determined through a reasonable and reasoned
      application of the text of the rules and should depend on such factors as the seriousness of the
      transgression, whether there is a pattern of improper activity and the effect of the improper
      activity on others or on the judicial system.

      The Code of Judicial Conduct is not intended as an exhaustive guide for the conduct of judges.
      They should also be governed in their judicial and personal conduct by general ethical
     standards. The Code is intended, however, to state basic standards which should govern the
     conduct of alljudges and to provide guidance to assist judges in establishing and maintaining
     high standards of judicial and personal conduct.
     Adopled eff. Aug.6, 1993.



     Terminology
     "Candidate." A candidate is a person seeking public election for or public retention in judicial
     office. A person becomes a candidate for judicial office as soon as he or she makes a public
     announcement of candidacy, declares or files as a candidate with lhe election authority, or
     authorizes solicitation or acceptance of contributions or support.

     "Court personnel" does not include the lawyers in a proceeding before a judge.

     "De minimis" denotes an insignificant interest that could not raise reasonable question as to a
     judge's impartiality.

     "Economic interest" denotes ownership of a more than de minimis legal or equitable interest, or
     a relationship as officer, director, advisor or other active participant in the affairs of a party,
     except that:

     (i) ownership of an interest in a mutual or common investment fund that holds securities is not
     an economic interest in such securities unless the judge participates in the management of the
     fund or a proceeding pending or impending before the judge could substantially affect the value
     of the interest;




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      (ii) service by a judge as an officer, director, advisor or other active participant in an educational,
      religious, charitable, fraternal or civic organization, or service by a judge's spouse, parent or
      child as an officer, director, advisor or other active participant in any organization does not
      create an economic interest in securities held by that organization;

      (iii) a deposit in a financial institution, the proprietary interest of a policyholder in a mutual
      insurance company, of a depositor in a mutual savings association or of a member in a credit
      union, or a similar proprietary interest, is not an economic interest in the organization unless a
      proceeding pending or impending before the judge could substantially affect the value of the
      interest;

      (iv) ownership of government securities is not an economic interest in the issuer unless a
      proceeding pending or impending before the judge could substantially affect the value of the
      securities.

      "Fiduciary" includes such relationships as executor, administrator, trustee, and guardian.

      "He." Whenever this pronoun is used it includes the feminine as well as the masculine form.

     "Judge" includes circuit and associate judges and judges of the appellate and supreme court.

     "Knowingly," "knowledge," "known" or "knows" denotes actual knowledge of the fact in question.
     A person's knowledge may be inferred from circumstances.

     "Law" denotes court rules as well as statutes, constitutional provisions and decisional law.

     "Member of a candidate's/judge's family" denotes a spouse, child, grandchild, parent,
     grandparent or other relative or person with whom the candidate maintains a close familial
     relationship.

     "Member of the judge's family residing in the judge's household" denotes any relative of a judge
     by blood or mariage, or a person treated by a judge as a member of the judge's family, who
     resides in the judge's household.

     "Political organization" denotes a political party or other group, the principal purpose of which is
     to further the election or appointment of candidates to political office.

     "Public election." This term includes primary and general elections; it includes partisan
     elections, non-partisan elections and retention elections.

     "Require." The rules prescribing that a judge "require" certain conduct of others are, like all of
     the rules in this Code, rules of reason. The use of the term "require" in that context means a
     judge is to exercise reasonable direction and control over the conduct of those persons subject
     to the judge's direction and control.




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      "Third degree of relationship." The following persons are relatives within the third degree or
      relationship:great-grandparent, grandparent, parent, uncle, aunt, brother, sister, child,
      g randchild, g reat-g randchild, nephew or niece.

      Adoptsd eff. Aug. 6, 1993.



      Rule 61: Canon 1. A Judge Should Uphold the Integrity and
      Independence of the Judiciary
      A Judge Should Uphold the lntegrity and lndependence of the Judiciary

     An independent and honorable judiciary is indispensable to justice in our society. A judge
      should participate in establishing, maintaining, and enforcing, and should perconally observe,
      high standards of conduct so that the integrity and independence of the judiciary may be
     preserved. The provisions of this Code should be construed and applied to further that
     objective.
     Adopted Dec.2,'t986, eff Jan, I, 1987. Amended eff. Aug- 6, 1993; Oct 15, 1993.



     Rule 62: Canon 2. A ludge Should Avoid fmpropriety and the
     Appearance of f mpropriety in All of the Judge's Activities
     A. A judge should respect and comply with the law and should conduct himself or herself at all
     times in a manner that promotes public confidence in the integrity and impartiality of the
     judiciary.

     B. A judge should not allow the judge's family, social or other relationships to influence the
     judge's judicialconduct or judgment. A judge should not lend the prestige of judicial office to
     advance the private interests of others; nor should a judge convey or permit others to convey
     the impression that they are in a special position to influence the judge. A judge should not
     testify voluntarily as a character witness.
     Adopted Dec.2, 1986, eff. Jan. {, 1987. Amended sft Oct 15, 1993.



     Rule 63: Canon 3. A Should Perform the Duties of Judicial
     Office Impartially and Diligently
     The judicial duties of a judge take precedence over all the judge's other activities. The judge's
     judicial duties include all the duties of the judge's office prescribed by law. ln the performance of
     these duties, the following standards apply:

     A. Adjudicative Responsibilities.

      (1) A judge should be faithfulto the law and maintain professional competence in it. A judge
      should be unswayed by partisan interests, public clamor, or fear of criticism.
      (2) A judge should maintain order and decorum in proceedings before the judge.
      (3) A judge should be patient, dignified, and courteous to litigants, jurors, witnesses, lawyers,
      and others with whom the judge deals in an official capacity, and should require similar



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       conduct of lawyers, and of staff, court officials, and others subject to the judge's direction and
       control.
       (4) A judge shall accord to every person who has a legal interest in a proceeding, or that
       person's lawyer, the right to be heard according to law. A judge may make reasonable efforts,
       consistent with the law and court rules, to facilitate the ability of self-represented litigants to be
       fairly heard.
       (5) A judge shall not initiate, permit, or consider ex parte communications, or consider other
       communications made to the judge outside the presence of the parties concerning a pending
       or impending proceeding except that:
        (a) Where circumstances require, ex parte communications for scheduling, administrative
        purposes or emergencies that do not dealwith substantive matters or issues on the merits
        are authorized ; provided :
          (i) the judge reasonably believes that no party will gain a procedural or tactical advantage
          as a result of the ex parte communication, and
          (ii) the judge makes provision promptly to notiff all other parties of the substance of the ex
          parte communication and allows an opportunity to respond.
        (b) A judge may consult with court personnel whose function is to aid the judge in carrying
        out the judge's adjudicative responsibilities or with other judges. (c) A judge may, with the
        consent of the parties, confer separately with the parties and their lawyers in an effort to
        mediate or settle matters pending before the judge.
        (d) A judge may initiate or consider any ex parte communications when expressly authorized
        by law to do so.

     (6) A judge shall devote full time to his or her judicial duties; and should dispose promptly of the
      business of the court.
      (7) A judge should abstain from public comment about a pending, or impending proceeding in
     any court, and should require similar abstention on the part of court personnel subject to the
     judge's direction and control. This paragraph does not prohibit judges from making public
     statements in the course of their official duties or from explaining for public information the
     procedures of the court.
     (8) Proceedings in court should be conducted with fitting dignity, decorum, and without
     distraction. The taking of photographs in the courtroom during sessions of the court or recesses
     between proceedings, and the broadcasting or televising of court proceedings is permitted only
     to the extent authorized by order of the supreme court. This rule is not intended to prohibit local
     circuit courts from using security cameras to monitor courtrooms, provided that cameras are
     controlled by designated court personnel. For the purposes of this rule, the use of the terms
     "photographs," "broadcasting," and "televising" include the audio or video transmissions or
     recordings made by telephones, personal data assistants, laptop computers, and other wired or
     wireless data transmission and recording devices.
     (9) A judge shall perform judicial duties without bias or prejudice. A judge shall not, in the
     performance of judicial duties, by words or conduct manifest bias or prejudice, including but not
     limited to bias or prejudice based upon race, sex, religion, national origin, disability, age, sexual
     orientation or socioeconomic status, and shall not permit staff, court officials and others subject
     to the judge's direction and control to do so.



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      (10) Proceedings before a judge shall be conducted without any manifestation, by words or
      conduct, of prejudice based upon race, sex, religion, national origin, disability, age, sexual
      orientation or socioeconomic status, by parties, jurors, witnesses, counsel, or others. This
      section does not preclude legitimate advocacy when these or similar factors are issues in the
      proceedings.


       B. Administrative Responsibilities.

        (1) A judge should diligently discharge the judge's administrative responsibilities, maintain
       professional competence in judicial administration, and facilitate the performance of the
       administrative responsibilities of other judges and court officials.
       (2) A judge should require staff, court officials and others subject to the judge's direction and
       control to observe the standards of fidelity and diligence that apply to the judge.
       (3)
       (a) A judge having knowledge of a violation of these canons on the part of a judge or a
       violation of Rule 8.4 of the Rules of Professional Conduct on the part of a lawyer shall take or
       initiate appropriate disciplinary measures.
       (b) Acts of a judge in mentoring a new judge pursuant to M.R. 14618 (Administrative Order of
        February 6, 1998, as amended June 5, 2000) and in the discharge of disciplinary
        responsibilities required or permitted by canon 3 or Article Vlll of the Rules of Professional
        Conduct are part of a judge's judicial duties and shall be absolutely privileged.
        (c) Except as otherwise required by the supreme court rules, information pertaining to the new
       judge's performance which is obtained by the mentor in the course of the formal mentoring
       relationship shall be held in confidence by the mentor.
       (4) A judge should not make unnecessary appointments. A judge should exercise the power of
       appointment on the basis of merit, avoiding nepotism and favoritism. A judge should not
       approve compensation of appointees beyond the fair value of services rendered.
       (5) A judge should refrain from casting a vote for the appointment or reappointment to the
       office of associate judge, of the judge's spouse or of any person known by the judge to be
       within the third degree of relationship to the judge or the judge's spouse (or the spouse of such
       a person).
      C. Disqualification.

       (1) A judge shall disqualify himself or herself in a proceeding in which the judge's impartiality
       might reasonably be questioned, including but not limited to instances where:
         (a) the judge has a personal bias or prejudice concerning a party or a party's lawyer, or
         personal knowledge of disputed evidentiary facts concerning the proceeding;
         (b) the judge served as a lawyer in the matter In controversy, or a lawyer with whom the
        judge previously practiced law served during such association as a lawyer concerning the
        matter, or the judge has been a material witness concerning it;
        (c) the judge was, within the preceding three years, associated in the private practice of law
        with any law firm or lawyer currently representing any party in the controversy (provided that
        referral of cases when no monetary interest was retained shall not be deemed an
        association within the meaning of this subparagraph) or, for a period of seven years following
        the last date on which the judge represented any party to the controversy while the judge



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     (Here insert any economic interest or relationship which might or could create a substantial
     conflict of interest.)

     VERIFICATION

     Pursuant to Supreme Court Rule 68, I declare that this statement of economic interest, including
     any accompanying schedules and statements, as it relates to me and members of my
     immediate family, has been examined by me and to the best of my knowledge and belief is true,
     conect and complete.



     Judge's Signature



     Date

     Order adopted April I, 1986. Ordsr amended April 20 1987, eft. Augu3t t, 1987; order amended Dec. 30, 19{t3, erf. Jan.l, 1994;

     order amanded Dec.l, 1995, eftective immediately; order amended Septembsr 23, 2005, effective immedlately.




     RULE 69-70 - Reserved.

     RULE 7L - Violation of Rules.
     A judge who violates Rules 61 through 68 may be subject to discipline by the lllinois Courts
     Commission.

     Adopted Jan. 30, 1970, efr. March '15,1570; amended eff. Od-1,'1971; amended June 24,1976, eff. July 15, 1976; Dec. 2, 1986,

     eff. Jan. l, 1987.


     TOP


     Rules of Procedure of the Judicial lnquiry Board
     (Established Pursuant to Article Vl, Section 15 (d), Constitution of the State of lllinois )




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  WrrrpeDIA

  f)ue process
  Due process is the legal requirement that the state must respect all legal rights that are owed to a person. Due
  process balances the power of law of the land and protects the individual person from it. When a government
  harms a person without following t}te exact course of the law, this constitutes a due process violation, which
  offends the rule of law.

  Due process has also been frequently interpreted as limiting laws and legal proceedings (see substantive due
  process) so that judges, instead of legislators, may define and guarantee fundamental fairness, justice, and liberty.
  That interpretation has proven controversial. Analogous to the concepts of natural justice, and procedural justice
  used in various other jurisdictions, the interpretation of due process is sometimes expressed as a command that
  the govemment must not be unfair to the people or abuse them physically. The term is not used in contemporary
  English law, but tr,vo similar concepts are natural justice, which generally applies only to decisions of
 administrative agencies and some tlpes of private bodies like trade unions, and the British constitutional concept
 of the rule of law as articulated by A. V. Dicey and others.lll However, neither concept lines up perfectly with the
 American theory of due process, which, as explained below, presently contains many implied rights not found in
 either ancient or modem conepts of due process in England.tz!

 Due process developed from clause 39 of Magna Carta in England. Reference to due process first appeared in a
 statutory rendition of clause 89 in US+ thus: "No man of what state or condition he be, shall be put out of his
 Iands or tenements nor taken, nor disinherited, nor put to death, without he be brought to answer by due process
 of law."H When English and Arnerican law gradually diverged, due process was not upheld in England but became
 incorporated in the U-S Constitution.




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  Magna Carta
  In clause 39 of Magna Carta, issued in rzr5, Joh4 of E:rgland promised: "No free man shall be seized or
  imprisoned, or stripped of his rights or possessions, or outlawed or exiled, or deprived of his standing in any other
  way, nor will we proceed with force against him, or send others to do so, o(cept by the lawful judgment of his
  equals or by the law of the land."tal Magna Carta itself immediately became part of the "law of the land", and
  Clause 6r ofthat charter authorized an elected body ofes barons to deterrrine by majorityvote what redress the
  King must provide when the King offends "in any respect against oDy m3p,"l4l Thus, Magna Carta established the
  rule of law in England by not only requiring the monarchy to obey the Iaw of the land but also limiting how the
  monarchy could change the law of the land. However, in the rgth century, the provisions may have been referring
  only to the rights of landowners, and not to ordinary peasantry or villagers.tsl

  Shorter versions of Magna Carta were subsequently issued by British monarchs, and Clause 39 of Magna Carta
  was renumbered "29."[6] The phrase due process of law first appeared in a statutory rendition of Magna Carta in
  1354 during the reign of Edward III of England, as follows: "No man of what state or condition he be, shall be put
  out of his lands or tenements nor taken, nor disinherited, nor put to death, without he be brought to answer by
  due process of law."t4

  In 16o8, the English jurist Edward Coke wrote a treatise in which he discussed the meaning of Magna Carta. Coke
  explained that no man shall be deprived but by legem ten'ae, the law of the land, "tiat is, by the common law,
  statute law, or custom of England.... (that is, to speak it once and for all) by the due course, and process of law.,"t8l

  Both the clause in Magna Carta and the later statute of. BS4 were again explained in t7o4 (during the reign of
  Queen Anne) by the Queen's Bench, in the case of Regina v. Paty.lsl In that case, the British House of Commons
  had deprived John Paty and certain other citizens of the right to vote in an election and committed them to
  Newgate Prison merely for the offense of pursuing a legal action in the courts.t'ol The Queen's Bench, in an opinion
  by Justice Powys, explained the meaning of "due process of law" as follows:


         [I]t is objected, that by Mag. Chart. c. 29, no man ought to be taken or imprisoned, but by the law of
         the land. But to this I answer, that lex terrae is not confined to the common law, but takes in all the
         other laws, which are in force in this realm; as the civil and canon law.... By the z8 kl. 3, c. 3, there
         the words lex terrae, which are used in Mag. Char. are explained by the words, due process of law;
         and the meaning of the statute is, that all commitments must be by a legal authority; and the law of
         Parliament is as much a law as any, nay, if there be any superiority this is a superior law.tel


 Chief Justice Holt dissented in this case because he believed that the commitrnent had not in fact been by a legal
 authority. The House of Commons had purported to legislate unilaterally, without approval of the British House of
 lords, ostensibly to regulate the election of its members.tlll Altlough the Queen's Bench held that the House of
 Commons had not infringed or overturned due process, John Paty was ultimately freed by Queen Anne when she
 prorogued Parliament.



 English law and American law diverge




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  Throughout centuries of British history many laws and treatises asserted various requirements as being part of
  "due process" or included in the "law of the land". That view usually held in regards to what was required by
  existing law, rather than what was intrinsically required by due process itself. As the U-nited Slates Supreme Cgtrt
  has explained, a due process requirement in Britain was not "essential to the idea ofdue process oflaw in the
  prosecution and punishment of crimes, but was only mentioned as an example and illustration of due process of
  law as it actually existed in cases in which it was customarily usgd."tl2l

  Ultimately, the scattered references to "due process of law" in English law did not limit the power of the
  government; in the words of American law professor John V. Orth, "the great phrases failed to retain their
  vitality."ttsl Orth points out that this is generally attributed to the rise of the doctrine of parliamentary supremacy
  in the United Kingdom, which was accompanied by hostility towards judicial review as an undemocratic foreign
  invention.tlal

  Scholars have occasionally interpreted Lord Coke's ruling in Dr. Bonham's Case as implying the possibility of
 judicial review, but by the r87os, Lord Campbell was dismissing judicial review as "a foolish doctrine alleged to
  have been laid down extra-judicially in Dr. Bonham's Case..., a conundrum [that] ought to have been laughed
 at."[l{ l,acking the power of judicial review, English courts possessed no means by which to declare government
 statutes or actions invalid as a violation of due process. In contrast, American legislators and executive branch
 ofEcers possessed virtually no means by which to ovemrle judicial invalidation of statutes or actions as due
 process violations, with the sole exception of proposing a constitutional amendment, which are rarely successful.
 t16l
        As a consequence, English law and American law diverged. Unlike their English counterparts, American judges
 became increasingly assertive about enforcing due process of law. In turn, the legislative and executive branches
 learned how to avoid such confrontations in the first place, by tailoring statutes and executive actions to the
 constitutional requirements of due process as elaborated upon by the judiciary.

 ln rg77, an English political science professor explained the present situation in England for the benefit of
 American lawyers:


           An American constitutional lawyer might well be surprised by the elusiveness of references to the
           term 'due process of law' in the general body of English legal writing.... Today one finds no space
           devoted to due process in Halsbury's Laws of England, in Stephen's Commentaries, orAnson's laur
           and Custom of the Constittttion. The phrase rates no entry in such works as Stroud's Judicial
            Dictionary or Wharton's Law Lexicon.lll


 Two similar concepts in contemporary English law are natural justice, which generally applies only to decisions of
 administrative agencies and some types of private bodies like trade unions, and the British constitutional concept
 of the rule of law as articulated by A. V. Dicey and otlers.lll However, neither concept lines up perfectly with the
 American conception of due process, which presently contains many implied rights not found in the ancient or
 modern concepts of due process in England.t2l



 United States




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  the Fifth and Fourteenth Amendments to the United States Constitution each contain a Due Process Clause. Due
  process deals with the administration ofjustice and thus the Due Process Clause acts as a safeguard from arbitrary
  denial of life, liberty, or property by the government outside the sanction of law.tl4 lhe Supre-me Cgqrt of the
  United States interprets the clauses as providing four protections: procedural due process (in civil and criminal
  proceedings), substantive due process, a prohibition against vague laws, and as the vehicle for the incorporation of
  the Bill of Rights.



  Others
  Various countries recognize some form of due process under customary international law. Although the specifics
  are often unclear, most nations agree that they should guarantee forergn visitors a basic minimum level of justice
  and fairness. Some nations have argued that they are bound to grant no more rights to aliens than they do to their
  own citizens, the doctrine of national treatment, which also means that both would be vulnerable to the same
  deprivations by the government. With the growth of international human rights law and the frequent use of
  treaties to govern treatment of foreign nationals abroad, the distinction, in practice, between these two
  perspectives may be disappearing.



  See also
   I   Continuance                                               t   Peremptory norm
   !   Fair procedure                                            a   Subpoena ad testificandum
   I   Fundamental justice                                       a   Subpoena duces tecum
   !    Habeas corpus


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       Retrierred June 30. 2014.
  4    The Text of Magna Carla (1215) (http://www.fordham.edu/halsall/source/magnacarta.html)
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       -37.. "The question rnusr be considered an cpen one; but mr,rch might be said rn favor of ilre opinion that
       'freeman' as used in the Charter is synonynrous with 'freeholcler'.
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  o    2 lnstitutes of the Laws of England 46 (1608)
       (http://www.constitution.org l18lhlake2nd1797lcoke2nd1797               00.pdO
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 To whom it mayconcern;



 I hope this letter reaches you in great spirit and an attentive heart. This comes from the family's
 desk of Cornel Dawson, Teron Odum, Ulysses Polh Antwan Davis, Clifton Lemon and Duavon
   Spears. The six men were recently found guilty of lllinois State RICO law in Cook County. While the
   city has been known to violate crtizen rights, and unlawfully charge/convict men of coloc we would
   like to shed light on a few injustices related to this case [13CR13349) in particular. In the year
   2012, Governor Pat Quinn signed the lllinois State RICO law which claimed an enterprise or
  organization in its structure could face harsh sentences and punishment for the crimes (predicate
  activity) as a group instead of as individual members. This unlawful legislation denies civil liberties
  guaranteed to us under the U.S. Constitution, and violates the sixth amendment, ex post facto, and
  Ioosely target members of a community. As it relates to this case, tle Cook County States Attorney
  office used illegal, inadmissible wiretap evidence and failed to deliver a fair and speedy trial to say
  the least After four and a half years of incarceration, these six meri were denied their civil liberties
 of due process which prohibits against vague "blanket" laws such as the Street Gang Racketeering
  RICO act It also violated the right to an impartial jury without racial bias and a fair representation
 of the community. There was a letter sent to the fudge during deliberations, which called out many
 unjust actions, including 2 biased iurors "who wanted to make an example," 2 jurors who were
 removed for questioning the jury instructions and its attempt to render one verdict, and the
 removal of anotherwho posed a question to better understand the conspirarytheory. The judge in
 this casq Michael B McHale in several instances displayed bias behavior and on record, failed to
 handle the above issues, properly. He did not remove the two biased jurors, but did however,
 remove the other jurors who happen to be people of color. He replaced all of them with alternate
jurors, that had already been back into society and exposed to the negative media orchestrated by
the State. The term venires, is defined in the sixth amendment as jurors must represent a fair
cross-section of the community. None of the jurors, were apart of, tied to, or inherently familiar
with the East Garfield Park community and this was a clear violation of said amendment. The judge
went on record, throughout the duration of the casg proclaiming a guilty verdict, instead of
upholding the statutes of innocence until proven guilty. And as noted on November 3}lh 2Ol7
transcripts show that he excused himself from the bench to personally call in alternate iurors;
which is evidence of tampering as those conversations were not made public nor show proof of
what was mentioned during those calls, since it is common law for a clerk to make contact. The
many instances of unethical conduct need to be addressed, as well as the lack of evidence to
prosecute and convict these men. Crook County has once again, oyerstepped boundaries and
created an unlawful mess to continue their agenda of black male incarceration. We as a family
wanted to send you this letter in hopes that we could continue the conversation and educate our
community on the illegal practices of our State legislators. We must unite and work together to
repeal this law, before they use these "blanket" statutes to tear apart our families and communities.

Please feel free to contact us

P0 Box 241225, Chicago lL.60624




Shira Davis Phone: 773-BL6-3722
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           L    STATE OF ILLINOIS )

           2    couNrY oF   cooK i tt'
           3       IN THE CIRCUIT COURT OF COOK COUNTY, ILLINOIS
                                         . CRIMINAL DIVISION
                       COUNTY DEPARTI'IENT
           4
                  THE PEOPLE OF THE STATE 0F )
           5      I LLINOIS ,                            )
                                                         )
           6                          Pl ai nti   ff,    )
                                                         )
           7                    VS.                      )
                                                         )
          I      CORNEL DAWSON,
                 TERON ODUI{,
                                                         ) No. f3 CR 13349
                                                         )
          9      ANTWAN DAVIS,                          )
                 ULYSSES POLK,                          )
     10          CLIFT0N LEI'|0N, and                   )
                 DUAVON SPEARS,                         )
     1L                               Defendants.       )
     1,2                                    JURY TRIAL
                                            4.M.. PART 1
     13
                       REPORT 0F PR0CEEDINGS had             at the triat of
     L4
               the above-entitled cause, before the HON0RABLE
     15
               I.IICHAEL B. I'ICHALE, one of the judges of said Court,
     L6
               the 30th day of November, A.D., 2A17.
     L7
               APPEARANCES:
     1.8          HON. KIMBERLY FOXX,
                  Statels Attorney of Cook County, by:
     L9           MR. THOMAS DARI.IAN,
                  MS. ERICA DILLON,
     20           MS. WETTE LOIZON, and
                  I.IR. JOHN I,IAHER,
     2L           MS. RIEBANA SACHS,
                  I'1S. MARGARET FLISK,
    22           Assistant State's Attorneys,
                 appeared on behalf of the People;
    23
                 MR. GEORGE BECKER and
    24           MR. MICHAEL BONAGURO,
                 on behalf of Defendant Dawson;
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          L    APPEARANCES: (Continued)

          2                      MR. LAWRENCE W0LF LEVIN and
                                 MS. I,IICHELLE TRUESDALE,
          3                      on behalf of Defendant Odum;
          4                      I'lR. RICHARD DV0MK and
                                 HR, CHRISTOPHER TINSLEY,
          5                      on behalf of Defendant Davis;
          6                      1,1S. DAWN PROJANSKY and
                                 ilR. GEORGE BECKER,
          7                      0n behalf of Defendant PoIk;
          8                      I'lS. SABRA EBERSOLE and
                                 ],IR. JOSEPH VENDITTI ,
          9                      0n behalf of Defendant Lemon;
     10                          1'IS. AI.IY P. CAI'IPANELLI,
                                 PubIic Defender of Cook County, by:
     11                          MS. JENNIFER H0DEL and
                                 }.IS. KATHRYN LISCO,
     L2                          Assistant PubI ic Defenders,
                                 on behal f of Defendant Spears.
     13

     L4

     15

     L5

     L7

     18

     L9

     20

     2t
     22
              IVY SCHAEFER
     23       0fficial Court Reporter
              CSR: #084-004662
     24




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      t        THE COURT: About ten minutes ago, we got a

      z note, and it is 12:10 p.n. I'11 read it. ft's
      3 lengthy.
      q               Dear Judge ilcHale, after deliberations
      s held on Wednesday and morning of at 26th and
      e California, myself, No. 120; and No. 40 [sic]; and
      z others feel that there is unfairness for the following
      8 reasons I'm trying not to use names. Just a moment
      g here. She is referring to a juror by name, and I'm
     10 going to use the number instead. Juror 28. I'm going
    1-1 to note that on the I'm goi ng to put that on the
    L2 note in my handwriting, so I can keep track of th.ings.
    13 Juror No. 28 stated her father and brothers are
    L4 members of the bl ack soul s. She referred to another
    t-s couple of people. f wasn't prepared to deal with the
    L6 numbers.
    L7              Juror No. that I haven't determined what
    18 yet i s the number and I wi I I when I get a
    t9 chance stated he is only here to send a message.
    z0 Juror 143, which we are all famjliar with by now, has
    2L been racial bullying and has shown male chauvinism.
    22 Due to this conclusion, myself and Juror 40 do not
    23 foresee a f ai r verdi ct bei ng he'ld as i ndi v j dual s
    24 charged in this case. We ask that you take into

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       1 consideration the time we''ve aII spent doing our civic
       z duty for a fair verdict as we are called to do as
       : ci ti zens.
       q              With that being said, we ask that the jury
       s to be polled on jury tampering by Juror No. 28, and
       0 racial bully'ing and chauvinism and raciaJ profiling by
       z the'number I've yet to have determined, Juror
      s No. 44 that's a different person. Due to the
      9 comments of personal statements and this information
     i.0 that has come to light, we feel as though, if not
     11 addressed, there will be a hung jury, and we do not
     L2 want to continue on under these circumstances of bias.
     13              I'm just reading it as it is written. It
     L4 is signed by Juror No. 120, and also Juror No. 140.
     1s              Sp we have to work through this. This
     t6 does not say it is a hung jury. This does not say
     L7 they cannot reach a verdict. This says they need
     18 certain things to be addressed, and they will be.
     L9              So I have received previous notes from
     20 Juror 120. My thinking is Juror 120 is the foreperson,
     zt and could confirm that with her. Maybe start by
     22 questioning her about some of the more specifics. I
     23 don't know what "send a message" means, and I don't know
     24 what is being referred to as jury tampering, since

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       r they're all in the jury. I don't know if she means
      2 there's been any outside influence or not. It doesn't
      : sound like it. It sounds like Someone in there has not
      a been candid on their juror questionnaire; and then
      s that's Juror 28 if it is true that her father and
      O brothers are members of the Black Souls, then she did not
      7 truthfully answer those questions on her juror
      I questionnaire. And that would be reason for cause to
      9 remove her now and replace her with an alternate.
     i.0 As to the other allegations, I think I need more
     11 information, and I can start with her.
     Lz         llls. LISC0: Judge, there is a lot of
     13 information in that note. Can you please read that
     L4 again?
     1s         THE C0URT: Yes, I will.

     L6         MS. TRUESDALE: Also, Judge, may we have a
     L7 moment to confer w'ith our other defense counsels
     18 before we put anythi ng e1 se on the record?
     1e         THE C0URT: Sure. Let me try to find the

     20 number of the one that I have not been able to do yet.
     2L Give me a second.
     22                         (A short break was had. )
     23         THE COURT: I'm going read the note again. I

     24 think I've figured out who the additional juror they

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      1 were referring to.
      z                Dear Judge McHale, after deliberations
      : held on Wednesday and morning of at 26th and
      s Cal iforn'ia, myself , No. 120; and No. 40; and others
      s feel that there is unfairness for the following
      6 reasons: Juror No. 28 stated her father and brothers
      7 are members of the Bl ack Soul s. Juror 21 5 stated he
      e is onJy here to send a message. Juror 142 has been
      g raci al bu] 1yi ng and has shown mal e chauvi ni sm. Due to
     10 this conclusion, myself and Juror No. 40 do not see
    11 do not foresee a fair verdict being held as
    L2 individuals charged in this case. We ask that you
    r.3 take into consideration the time we've aIl spent doing
    1,4 our civic duty for fair verdict as we are called to do
    l-5 as citizens. With that being said, we ask the jury be
    t5 polled on jury tampering by Juror No. 28
    L7                Okay. I missed that. The last time, I
    t8 didn't read that right. Let me repeat that on the
    L9 I ast paragraph.
    20                With that being said, we ask the jury to
    zL be polled on jury tampering by Juror No. 2g, racial
    22 bu] I yi ng and chauvi ni sm i ni t'ial , and raci al prof i I 'ing
    23 by Jurors No. 215 and 44. Due to the comments of
    24 personal statements and this informatjon that has come

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      1 to 'l i ght , we f eel as though, i f not addressed , there
      2 will be a hung jury, and we do not want to continue on
      : under these circumstances of biassed is how it
      a ends. S'igned by Juror 120 and 140.
      s                 Interestingly, as I read this note, I was
      o handed another note signed by Juror No. 120, which at
     z this point, I'fi assuming is the foreperson. And it
     e reads as follows:
     9                 Dear Judge, the jurors would like further
    10 clarification on Paragraph 4 of the predicate activity
    11 of the instructions. Can a death that occurred in
    t2 2002 be considered as a predicate activity for
    13 racketeering?
    L4                 We can deal with that after we get past

    15 the big first one. To me, the second note indicates
    L6 that they're still making an effort. We just need to
    t7 deal with this jury that is not getting a1ong. We
    18 have six alternates, and we will deal with this issue
    19 step by step.
    20                 Anyone want to say anything for the
     21" record?
    22      MR. DVORAK: Judge, can we take a break?
    23      THE C0URT: No; we are not going to take a
    24 break. We're going to deal with this right now.
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      1       MR. DVOMK: We need to confer with each other.
     z        THE COURT: You guys want to confer? That's

     a fine. I didn't realize that is what you meant, but
     4 we're talking five minutes. Confer for five minutes
     s right here.
     6        MR. DVORAK: Judge, this is an extremely
     7 complex situation.
     g        THE C0URT: You've got five minutes, Dvorak.
     g Do it now. I'm not messing around. TaIk to your
    10 attorneys for five minutes. That is it. I'm coming
    11 back out. Don't say another word.
    L2                       (A short break was had. )
    t-3       THE COURT: Here is how I intend to proceed:

    L4 The biggest problem initlalIy is to, in my opinion,
    1s find out if Juror No. 28 indeed has been untruthful on
    tG her juror questionnaire about having relatives that
    L't are members of this gang. So my intention is to first
    18 have her out, and question her as to that 'issue, and
    L9 determine whether or not she is suitable to continue
    za on this jury.
    2L              After that, my suggestion my intent is
    22 to bring out Juror 120, confirm that she is the
    23 foreperson, and I'd like to ask her more clarification
    24 about some of the things that are said in th'is note,

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      1 si nce some of them seemed to touch on or j ust I abel
      2 certai n behavi or, and I woul d l'i ke to know more about
      3 what that is. Then ask her if she still th'inks it
      4 any adjustments are made, if she believes that she can
      5 still be fajr. The other jurors that are mentioned,
      6 143,215 and 44, and then I can also question them
      z based on what she tel I s me. And then I wi 1 I bri ng the
      e entire jury out to ask them if, based on developments,
      s they can be fair. If they still feel that they can be
     10 fair, if we were to bring in alternates, if that's
     11 what was necessary.
     L2        MS. L0IZ0N: Judge, may I?
     13        THE COURT: Yes.

     L4        t,ls. L0IZON: Judge, I believe that under these
     15 circumstances, the more appropliate course of act'ion
     t6 would be first to question the person who sent the
     L7 note so that we have clarification on what the
     18 specific jssues are without asking any questions
     Lg regard'ing the jury's ab'ility to continue to be fair.
     zo I th'ink that we run the ri sk of j nvad j ng the provi nce
     2L of the jury if we question their mind set. And'in the
     22 event that we do have to bri ng an al ternate 'in, the
     23 jury would have to be instructed that they need to
     24 start thei r del i berati ons f rom the begi nn'ing.

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       1        THE C0URT: No problem with that.
      z         l1S. LOIZ0N: So thei r mi ndset woul d be of no
      s moment.
      q         THE C0URT: Okay.
      s         MS. L0IZ0N: So it would be our positfon that
      0 the first step in this process wourd be that we bring
      t in the person who wrote the note, based on the
      e information that we received there, then the next step
      g would potentially be to bring in the person who is
     10 being accused of tainting the jury.
     11        THE COURT: 0kay.
     Lz        HS. LOIZON: And then the third step, if we get
    13 there, would be to bring in the alternate without
    t4 questioning the individual jurors about their ability
    15 to remain fair. Because r believe that we need to
    L6 have them press the reset button and have them start
    17 ove.r.
    18         THE C0URT: In response to that, I think maybe
    t9 that is a good point. we will bring out the person
    20 that seems to be the foreperson that would be the
    2L appropriate thing and to ask further clarification
    22 and confirmation of what this note says.
    23               After that though, yes, f i ntended to
    24 bring out indiv'idual jurors to ask them about what


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      r this behavior is. The State is shaking their head.
      z What's up with that? WhY not?
      3         I'tS. LOIZON: Wel I , Judge, I bel i eve that i f we
      q have information from the person who sent the note,
      s which is then
      o         THECOURT: Wel1 ,let'ssayitisconfirmedas
      z it is written.
      e         MS. LOIZON: Then I don't think we have to
      g bring out individual jurors to ask them. Because
     10 whatever has happened thus far is over, and a new
     1l- alternate would come in and they would be starting
     t2 from the beginning. And that is what they would be
     13 instructed to do.
     L4        THE COURT: What do you mean "don't do anything

     15 else" when you have an al'legation here: The foreman
     L6 comes out and says, yes, Juror 28 says she has a
     L7 father and brothers who are members of the Bl ack
     1s Souls. Why would I bring out the whole jury for that
     Ls before aski ng that person
     20         MS. LOIZON: No; you would not, Judge. You
     2L would not, correct.
     22        THE COURT: 0kay. Maybe I m'isunderstood you.

     23         MS. LOIZ0N: f'm sorrY. I think we
     24 mi sunderstood each other.

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       1       THE c0uRT: I want to bring out the foreperson

      z and ask about the contents of the note. If she
      : confirms the contents of the note, then I want the
      e bring out at least the individual juror that
      5 apparently has relatives who are Black Souls.
      O        MS. LOIZON: Yes,
      t        THE COURT: If she confirms that, she is off
      e the jury. Then with respect to the others, depending
      9 on what the foreman says, it may be appropriate to
     10 also bring out other individual jurors that she has
     11 complained of to see if there is any truth to this. r
     L2 don't know what raci al bu1 l yi ng i s, but r can't rea'l l y
     13 suggest just throw in one alternate juror and not
    L4 avoid not address these other concerns. so I think
    15 r have to bring them out these other ones out one
    16 at a time based on what she has told me. we have six
    t7 alternate jurors. rt may be that r remove a number of
    18 people right now have based on the note. r don,t know
    L9 what I'm going to do, but we will find out.
    20              But let's say, if we remove a number of
    2t people and alternate jurors come in, then we will have
    22 to ask the jury if     flo, we wil1 just do that, I
    23 guess. we won't ask the jury          r don't think we will
    24 ask the jury anything. Irlake the developments as is


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       1 requested in the notes, and then we'I1 bring in the
       z alternates, and they can start from scratch. If it is
       s not working, they can tell us.
       a              All right. What does the defense want to
       s say? One at a time. Go ahead.
       6        MR. W0LF LEVIN: Judge, on behalf of Teron
       z Qdum, we respectfu'l]y ask the Court at this time for a
       s mistrial based on the information that has been
       o brought forth on the notes in this particular matter
      t-o and the allegations that are suggested.
      lL              Second'ly, if the Court is go'ing to
      L2 question the jury, we believe it invades the province
      13 of the jury, even at this time. Despite the Court's
      L4 position that somebody may have commjtted some degree
      1s of perjury, it's an allegation. It hasn't been
      L6 proven. For the Court to come out here or a j uror
      L7 to come out here and the Court to i nterrogate that
      18 juror will be intimidating in and of its own fact, and
      Ls then we are going to go through the other jurors?
      20              We don't know which way this jury is

      2L going, nor is that important. Judge, the jury took
      22 the oath. They went back. We sat through the trial.
      23 They should be told just to continue deliberating and
      24 see where they are goi ng.

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       1         THE COURT: That is ridiculous and it's denied.

       z Thank you.
       3         HR. W0LF LEVIN: Well --
       q         THE COURT: I don't need to hear anything else.
       s                l,lr. Becker, what woul d you I i ke to say?
       6         I'lR. BECKER: Judge, the first thing I would ask
       7 yau to do is you're making the assumption that this
       a 124 is the foreperson. I'd ask you to send a note
       g back and say, "Wou1d you please tell me which juror is
      10 the foreperson?" Because if 120 is not the
     11 foreperson, these could be two individua'ls who are
     tz just upset about the way the deliberations are going,
     13 and it is not going thejr way, and they are sending
     L4 this note out to you. I think that is first and
     15 foremost.
     LG         THE COURT: Sure we can do that. I mean, that
     L7 is no problem. I'm just going to send a sheriff back
     18 to ask who the foreperson i s.
     1.e        MR. BECKER: Then, I agree with Mr. Levin that
     20 we can't just start question'ing individual jurors.
     2t And there's every much in that note that causes me
     22 concern. Yes, you have somebody saying one of these
     23 jurors is associated with family members with the
     24 Bl ack soul s, but you have somebody el se tal ki ng about

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      1 racial bulIying, which typ'ical'ly racial bullying is
      z white versus black, not the other way around. f mean,
      s that
      q         THE COURT: WeII, you are speculating now.

      s That is why I want to get to the bottom of it. So
      0 what's your suggesti on? Itli stri aI , too?
      z        llR. BECKER: Judge, f agree with Hr. Levin that
      a these people should be told: Just keep deliberating
      g at this point. Nothing more. You are going to
     10 highlight stuff and we don't even know if what is in
     11 that note is true at this point.
     t2        THE C0URT: Hr. Becker, with all due respect,
     13 that is ridiculous as well. For the reason it is,
     L4 because r have an allegation that somebody here has
     1s not been truthful about having family members who are
     L6 in this gang and this trial. rt has to be dealt with.
     L7 Right now, they are indicating to this court that they
     18 are still working on it.
     L9              They have a1 ready sent another note after
     20 this asking about blarification from one of the jury
     2L instructions. But they are telling me, if not
     22 addressed, there will be a hung jury. In other words,
     23 address it or it is going to be a hung jury. But they
     24 still seem willing to work on this'if we can resolve

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       1 some of these issues, which are valid issues. For you
       z to suggest you or any of the defense to suggest
       : that I simply send back the standard "please continue
       a to del i berate" i s utter'ly ri di cul ous and I 'm not goi ng
       s to do it.
       6                 Who i s the forePerson?

       z         MR. DARMAN: Ilay, I Judge? It i s the Peopl e's
       a position at this point that the person that wrote the
       9 note should be voir dired by the Court.
      10         THE COURT: That is what I'm going to do.

      t1         MR. DARMAN: To go in the back and start asking
      L2 who the foreman is and asking other questions, I think
      13 we run a risk.
      L4         THE COURT: The foreperson is Juror No. 120 in

      1s writing. 0kay?
      L6         t'ls. LISCO: May I?
      t7         THE COURT: If you can make it brief, Ms.

      18 Lisco, you can.
      19         HS. LISC0: Yes, Judge. We agree there should
      20 be a mistrial in this case. The jury has a'l ready been
      2L tai nted by thi s enti re scenario. There's no f i x'i ng i t
      22 at this juncture, Judge. If they believe or if it is
      23 even true that thi s j uror has ti es to the Bl ack Soul s,
      24 they've been tainted.

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       l-         THE C0URT: We don't know that yet. That's
       2 your specul ati ve vi ew. we wi] I f i nd out . Thank you.
       s         MS. LISCO: 0kay. AIso, Judge, in terms of the
       4 questions that they can continue deliberating, that
       5 remains to be seen, but that doesn't negate the fact
       0 that there is fighting within the jury. That doesn't
       7 necessarily mean that fighting is going to result in a
       e hung jury no matter what they wrote in that note.
       g Because today's moment right now
      10         THE c0uRT: so I should ignore what they wrote
     11 in the note?
     L2         MS. LISC0: What I'm saying to you, Judge, as
     13 many as the time that there is fighting in the jury
     L4 and the court is well experienced in this regard. As
     1s many as the time there is fighting in the jury, they
     t6 ultimately do come to a verdict. Just because they
     Ll are saying that at this juncture, there is time ahead
     18 of us which will bear out whether that is actually the
     L9 case.
     20         THE COURT: Sorry. I disagree with you. I
     2L know what you are asking. you,re asking the same
     22 thi ng they' re ask'ing.
     23         MS. LISC0: We are asking for this jury to
     24 conti nue to del i berate.

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        r.        THE COURT: Bring out 120. I'm not going to

        z hear anything e1se.
        3        MR. DV0RAK: Your Honor
        4        THE COURT: No. No. 120. Bring out that

        s j uror. Be qui et.
        6              I got your notes. Obviously, there is
        7 some difficulties going on. I wanted to confirm with
        I you some of the things in the note and maybe just ask
        9 a couple of follow-up questions.
     Lo          JUROR 120: Sure.

     11          THE C0URT: Just to confirm, you're Juror 120,
     L2 and you are the foreperson, right?
     i-3        JUROR 120: Yes , si r.

     L4         THE COURT: You indicated that Juror No. 28
     15 I don't want to use names
     L6         JUR0R 120: Sure.

     lj         THE C0URT: Juror No. 28 stated her father and

     18 brothers are members of the Black Souls; is that
     19 correct?
     20         JUROR 120: Yes, sir.

     2t         THE C0URT: Juror 215 stated he is only here to
     22 send a message?
     23         JUR0R 120: Mm-hmm.
     24         THE COURT: Can you expla'in that a little bit



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       1 more, what you mean by that?
       2        MS. PR0JANSKY: Objection.
       s        MR. VENDITTI: Objection, Judge.
       a        THE C0URT: 0kay.

       s        I'lS. LOIZ0N: Judge, nay I?
       G        THE C0URT: Yeah.
       z        MS. LOIZ0N: At this juncture, Judge, would you
       B consider dealing with the first fssue first before we
       9 proceed any further?
      Lo        THE C0URT: Yes, I wiII.
      11               I think maybe we wjII take this step by
     t2 step.
     13        JUR0R 120: Okay.
     L4        THE COURT: So let me have you return to the
     1s j ury. P'lease don't di scuss what we have sai d, and we
     L6 may have you back out and clarify other things.
     Li        JUR0R 120: Okay. Sure.
     18        THE C0URT: Thank you.
     te        JUR0R 120: Thank you.
     20        THE C0URT: Please bring out Juror 28.
     2L        MS. LISCO: Judge, before we do that, on behalf
     22 of Duavon Spears, we woul d ask the Court i nqui re of
     23 120, whether that information was shared with anyone
     24 besides herself regarding'the Black SouIs.

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       1        THE CoURT: No. Number 40 a'lready says it was.

       z she signed the note as well. Bring out 28. I'm not
       : dragging this out, folks, as much as you might want
       a to. I'm not going to do jt.
       s               Can you remain standing for one moment?
       e Raise your right hand.
       t                        (Juror 28 dul Y sworn ' )
       e        THE COURT: Have a seat, please. It has been

       e brought to our attention that you may have family
      10 members who are members of the Black Souls Street
      11 Gang; 'is that correct?
      1-2       JUR0R 28: No.

      13        THE C0URT: You do not have family members?

      L4        JUROR 28: NO.

      1s        THE C0URT: Your father is not a member of the

      t6 Black Soul s?
      Li        JUR0R 28: No.

      18        THE CoURT: And you don't have brothers who are

      Lg members of the Bl ack Soul s?
      20        JUR0R 28: ltlY brothers ' no.

      2L        THE COURT: 0kaY. Do You have anY

      22        JURoR 28: It's from another gang, but not the

      23 Bl ack Soul s, ro.
      24        THE CoURT: What member gang is your brother



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         t in?
        z         JUROR 28: They are Vice Lords.

        3         THE COURT: Vice Lords? Okay. So did you make

        4 any statements similar to those in front of anyone?
        s         JUROR 28: I made an examp'le.

        6         THE COURT: Can you let us know what 'it was?
        't        JUR0R 28: 0h, they was aski ng, I i ke, i f we had
        g fami'ly members wel I , we'd make an exampl e, I i ke, i f
        9 you're in a gang with a family member, if            so I was,
      10 like, for example, if my father is a Black Soul, that
      11 doesn't make me a Black Soul. We was just making
      tz exampl es.
      13         THE COURT: 0kay.

      L4         JUROR 28: Because, basically, they were trying

      l-s to ti e i n the fami'ly.
      16         THE COURT: Right. So you were on'ly making it

      Li as an example?
      18         JUROR 28: Yeah.

      1e         THE C0URT: Okay. So when we asked you on the

      20 form, Have you had any experiences I'm reading from
      2t the jury form Have you had any experience
      22 observi ng, 1 i v'i ng near or deal i ng wi th the Bl ack Soul
      23 Street Gang in Chicago? You answered
      24         JUROR 28: No; not with the Black Souls jn



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      1 Chicago.
      z           THE C0URT: AII right, ma'am. Thank you.

      3           JUROR 28: You're we'lcome.

      a           llR. BECKER: Your Honor, based on that
      s testi mony, I woul d ask for a mi stri a'l . There's
      e obvious'ly been misrepresentation by the foreperson
      z about what this individual said. The foreperson is
      8 trying to sway the jury by removing somebody who might
      g actual'ly be a 1 i ttl e bi t defense ori ented, at 'least
     10 for one defendant, and there's been a total
     1t- misrepresentation made. There's been inquiry made now
     L2 with this woman. She has said no. She has answered
     1-3 the questiOns under oath. There is no jnformation
     L4 otherwise. This jury is totally tainted now, and
     1s there needs to be a mistrial declared immediate'ly.
     L6          THE COURT: Hyperbo'le aside, Mr. Becker, what
     L7 she described was a possible misunderstanding by using
     18 an example that may have been misunderstood. She also
     L9 i nd'icated that she does have a f ami'ly member who i s a
     20 gang member, and she indicated that was a no on her
     2L juror questionnaire. However, I'm not in a position
     22 to remove her at this point. I don't think that she's
     23     'it's not required to remove her at this po'int. It
     24 sounds to me like there's been a misunderstanding. It

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       1 also sounds to me like this is a jury that just
       2 persona'l 1y doesn't I i ke each other very much.
       :                But that aside, I'm not really sure how to
       a proceed next.
       s         MR. DARMAN: Judge, do you have a copy of the
       G questjonnaire that we can take a look at for a moment?
       t         THE C0URT: Yes.

       e         MR. DARMAN: I mean, a blank one.
       s         THE COURT: I doubt I have a blank one, but I

      10 have one with a number that you know, you don't
      lL have a name on it. Here, I can give you
      L2         ltls. LOIZ0N: Judge, can I just interject for a
      13 second? Can we I know you want to keep moving, but
      L4 at this point, not only do we need to review the
      15 questionnaire, we also need to review her questioning
      L6 when she came in and was voir dired, I believe, before
      L7 we can proceed farther. Because she may have provided
      18 information I don't recall her voir dire at this
      L9 time, but I do think to be as diligent as possible and
      20 cover al I of our bases, we al1 need an opportuni ty to
      zL rev'iew her quest'ionnai re, al ong wi th the statements
      22 that she made when she was voi r di red by the Court.
      23 And I know that i s go'i ng to take a f ew mi nutes,
      24 Judge

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       1        THE COURT: That's not going to take a few

       z ninutes. That's goi ng to take a few hours. Does
       s anybody have a transcript of the voir dire?
       a        IlS. LOIZ0N: I bel i eve we were al I gi ven dai ly
       s copy of the voir dire, Judge.
       a        THE COURT: I thought we said not to. I don't

       z have'it.
       I        t'ls. LOIZON: I thi nk we do. At I east , can we
       g have the opportunity to check and see if we do?
      10        THE C0URT: Yes. But what's the p1an, then?

      11 To see what she said? I mean, do you think she said
      L2 anything different than her questionnaire? I sure
      13 don't.
      L4        MS. L0IZON: I don't know, Judge, but I think
      15 we need to check.
      L6        MR. BECKER: Judge, if we have to look and make
      t1 a Spanish inquisit'ion about what a juror now said in a
      18 questionnaire, this jury is totally tainted. Because,
      Ls rea11y, we ought to be looking at what 120 and what 40
      20 said because they apparently have misunderstood or
      21. made a complete misrepresentat'ion. They were pretty
      22 unequivocal in that note, that they said this woman
      23 said she had family who were members of the Black
      24 Souls. That's not a misunderstanding. That's not a

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       1 mischaracterization. That is what the note says in
       z writing. And she came out here and unequivocally
       s denied it.
       q           THE COURT: AI 'l ri ght      .


       s           NR. BECKER: This jury
       6           THE C0URT: That is the second time you have
       z made the argument. I hear you, Mr. Becker, and f'm
       s not going there with you. Okay? I disagree. It is
       g not clear. It could have been a misunderstanding, and
      10 I don't think it is clear as you are stating.
      11           MS. LOIZON: Judge, just for purposes of making
      L2 this point on the record, the fact that one juror came
      13 out here and said she never said it doesn't make her
      L4 the truthful one and the foreman a liar, which is
      1s exactly the conclusion that Mr. Becker is jumping to
      16 at thi s poi nt.
      Li          THE C0URT: Well, yeah

      18          l'1S. LOIZON: We need some time to review the
      1.9 questi onnai re.
      20         THE C0URT: It 's specu'l ati on. But I 've got to
      2L be honest with you, I don't think the speculation of
      22 the voi r di re i s go'ing to tel'l you anyth'ing di f f erent.
      23 What we've got here i s a person that wrote a note that
      24 somebody said their father and brothers are members of

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        r the Black Souls. The juror in question d'id come out
        z here and say, yes , I sai d somethi ng, I i ke, 'if my
        s f ather were a Bl ack Soul , That 's very, very si m'il ar.
       a And in the heat of the moment of jury deliberations,
       s there could have been a m'isunderstanding, which seems
       o the most 1ike1y scenario. I don't know that anybody
       r is living at that point.
       a          MS. LOIZON: Well, Judge
       g          THE COURT: There's no reason to think so. And

     10 I don't think for one mlnute vo1r dire questioning is
     11 going to show you jack.
     L2          MS. LOIZON: Judge, she certai n'ly 1 i ed on her
     13 questionnaire. You pointed that out, that she was
     L4. asked the question of whether or not she had any
     15 family members who were gang members, and she said no.
     76 I don't have the quest'ionnaire in front of me.
     ti          THE C0URT: I do. I can give it to you guys.

     18 What is the questioning going to show?
     1.9         l'lR. DARMAN : We don't have the questi onnai re i n
     zo front of us. I think there were some gang questions.
     2L          l.lR. MAHER: If there's a question that says:
     22 Do you have a family member who is in a street gang?
     23 If she answered oo, she lied, and she should go.
     24          THE C0URT: What did she say here?



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       1           t'lR. MAHER: She said her fami'ly memberis a
       2           HS. L0IZ0N: She said she has Vice Lords in her
       : fami I y.
       4           I'lS. PR0JANSKY: Just a brother.
       s           THE COURT: Her brother.

       o           t'lR. l,lAHER: We can ' t recal I - -
       t           THE C0URT: She said her brother was a

       e Vice Lord?
       g           HR. I'IAHER: Yeah. She
      10          THE C0URT: Hold on. Hold on. I know where
      L1 you're going. Ouestion 73: Do you, a relative
      L2 strike that. That's the wrong question. Let me find
      13 the right one. 74: Has any member of your immediate
      L4 family or very close, friend ever been involved in a
      1s gang? No.
      L6          1'1S. L0IZON: Judge, she shoul d be gone. She

      L7 'l i ed on the questi onnai re.
      18          I'lR. VENDITTI: Judge, if I may clarify? In the
      L9 questionnaire, she also confirmed that her brother was
      20 in prison. I don't recall whether or not her brother
      2L was jn prison at the time of jury vo'ir dire, but,
      22 Judge, as you know, when you're prison, sometimes you
      23 get ganged up for protect'ion. So this could be a new
      24 ci rcumstance.

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        1        lvls. LOIZ0N: It doesn't matter, Judge. The
        2 questionnaire was asked on that specific day. 0n that
        3 specific day, she was sworn in on it. It doesn't
        q matter when he became a gang member. Because between
        5 now and the trial, if he became a gang member, then
        e she shoul d have di scl osed that. So that's absol ute
       z         MR. VENDITTI: Judge, there is no jury
       e instruction given: If something new pops up, let us
       9 know. I'm sorry, Judge.
     10          THE C0URT: She' s of f . Juror No . 28 'i s
     11          MS. LISC0: Judge
     t2          THE C0URT: 0ver the defense's strenuous
     13 objection, it is ruled.
     L4         MR. WOLF LEVIN: We'd renew the motion for
     15 mi stri al , then.
     tG         THE COURT: Good. Go ahead.

     tl         MR. DVORAK: Nay I make my record?
     18         THE COURT: Sure.
     1e         MR. DVORAK: Judge, throughout these
     20 deliberations, there's been many not deliberations.
     2t When we 'ini ti a1 1y di d vol r di re, there were many
     22 jurors who answered falsely or incorrect'ly about
     23 background, about those questionnaires, and they were
     24 not immedjately struck from the jury.

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       1         THE COURT: f don't recall that.

       z         t'lR. DVORAK: That absol utel y happened.
       3         THE COURT: Sounds like there's something you

       4 can put in a motion at a later time, sir.
       s        MS. PR0JANSKY: Your Honor, f thought, when she
       6 did testify, it was very reluctant, like she said
       z she said, kind of brother. f'm not
       8        THE C0URT: She didn't say kind of brother.
       g        MS. PROJANSKY: She
      10        THE C0URT: Just wait.
      11                Can you find it?
      Lz        MS. PR0JANSKY: Can you read it back?
      13        THE COURT REPORTER: Sure; if you guys can all
      L4 stop talking, I can read it back.
      1s       THE COURT: Yes; stop talking and let her find
      15 it.
      1,7                  (Record read as requested.)
      18        THE C0URT: She is off. She is excused.
      Le        I-lS. PROJANSKY: Judge
      20       THE COURT: Over your objection. I don't want
      2t to hear any more. Put it in writing. We're moving
      22 forward, fol ks.
      23               The next thing that I'm going to do is
      24 bring out 120. I'm going ask her to clarify what she

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       1 means by Juror 215 here to send a message. Please
       z bri ng out 120.
       :         MR. DV0RAK: 0bjection, for the record, to any
       4 questioni ng.
       s         THE COURT: Okay.

       6         MS. L0IZ0N: Before that juror comes out, can
       7 we just address one point?
       e         THE COURT: Yeah. Let's hold him off for one
       g second.
      10         MS. LOIZON: I think that with this particular
      11 line of questioning, it's very important that the
      t2 question asked is extreme'ly precise so that we are not
      13 evading the province of the jury. I think that the
      14 j uror can be asked what exact words were used that I ed
      1s her to believe the conclusion that she drew in that
      L6 letter, but I don't think she should be permitted to
      L't have a djscussion about her interpretation or anyth'ing
      18 el se
      ts        THE C0URT: What exact words he used?

      20        lt,ls. L0IZON: Pl ease.
      2L        THE C0URT: Al 'l ri ght         .



      22        [1R. BECKER: Judge, one thing before you bring
      23 the juror out. I would ask that they be told right
      24 now, if you are removing the one juror, to stop

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       r de1 i berati ng because you have to bri ng the 12th j uror
       z here.
       s         THE C0URT: Okay.

       a         l'lR. BECKER: To start
       s         llS. LOIZ0N: Judge, we woul d agree.
       6         THE COURT: Okay. Let me send that message
       z right now.
       I                Let the record reflect that I'm writing
       g the following note: Juror No. 28 has been excused.
      10 PIease stop deliberating until we can sort through the
      11 rest of thi s si tuati on. Thank you, Judge ltlcHal e.
      1.2               That i s bei ng del i vered now. It i s 12:55        .


      13                After that has been delivered and they
      L4 have read i t, coul d we have p'lease bri ng out No. 120?
      1s         THE SHERIFF: Yes, Judge.

      L6         THE COURT: Ma'am, can you raise your right

      L7 hand.
      18                  (Juror 120 duly sworn.)
      Le        THE C0URT: Please be seated.

      20              We are doi ng thi s step by step. The next
      2L thi ng of your note, yoU wri te the f ol'lowi ng: Juror
      22 No.215 stated he is only here to send a message.
      23             What I would like you to do is just tell
      24 me if you can remember the exact words that he used

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       1 when you are referring to this. Do you recall what
       2 exact words he used?
       :        JUROR 120: Well, we were just discussing

       a         HS. LOIZON: No objection, Judge.
       s        THE COURT: Yeah. Can you recall the exact

       o words that he used?
       t         JUROR 120: Just that he was going to send a

       I message.
       s         THE COURT: Did he say anything of a      strike
      10 that.
      11              Okay. Those are the on'ly exact words that
      Lz you can recall that he said?
      r-3       JUROR 120: That I 'm al I owed to say, I guess.

      L4        THE C0URT: AII right. 0kay. Yeah, we don't

      1s want you to interpret it, necessarily. We just want
      16 to know the exact words. 0kay. Thank you. We will
      Ll let you know if we need you again. We may. Thank
      18 you.
      Le        JUROR 120: Sure.

      20        THE C0URT: Well, I suggest that we bring him

      2L out.
      22        MS. LOIZ0N: We woul d obj ect. I thi nk, at th'is
      23 point, we have another alternate coming in. You are
      24 going to have to re-swear the jury. You are going to

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           L   have to reinstruct them. You can read to them from
           2   1.01 at that time, and I believe that that would be
           3   the proper course at this time.
           4                           (Whereupon, the following further
           5                            proceedings were transcribed by
           6                            0fficial Court Reporter EIlen
           7                            Dusza. )
           I
           9

      10

      1L

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           1 STATE 0F TLLIN0IS. )
           2 couNTY 0F c00K.    ) SS.
                                )

           3

       4          I, Ivy Schaefer, an 0fffcial Court Reporter
       s within and for the Circuit Court of Cook County,
       0 Criminal Division, do hereby certify that I have
       7 reported in shorthand in the report of proceedings had
       s at the trial of the above-entitled cause; that I
       9 thereafter caused the foregoing to be transcribed into
      10 typewriting electronically, which I hereby certify is
      11 a true and accurate transcription of my stenographic
      L2 notes and contains all the matters of the proceedings
      13 so taken as aforesaid before the Honorable
      L4 I'IICHAEL B. MCHALE, Judge of sajd court.
      15

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      L7
                                              -E.l-/ Sc/"^-t /A-L
     18
     te                                  Circuit Court of Cook County
                                         County Department - Criminai
     zo                                  Di vi si on
                                         Certification No. 084-004662
     2L

     22

     23
               Dated this 1st day of
     24
               December, 2017.


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           1    STATE OF ILLINOIS )

           2                            ) SS:
           3    couNry0Fc00K )
          4

          5         IiI THE CIRCUIT COURT OF COOK COUNry, ILLINOIS
          6            COUNTY DEPARTI'IENT      - CRIMINAL DIVISION
          7

          I    THE PEOPLE OFTHE                 )

          I    STATE OF ILLINOIS,               )

      10                  Plaintiff,            )

      11                  vs.                   )

      12       CORNEL DAWSON,                ) No. 13 CR 13349-01
               TERON ODUI'I,                 ) No, 13 CR 13349-02
      13       ANTWAN DAVIS,                   No. 13 CR 13349-03
               ULYSSES POLK,                   No. '13 CR 13349-04
      14       CLIFTON LEI'ION, SR.,           No. 13 CR 13349-05
               DUAVON SPEARS,                ) No. 13 CR 13349-07
      15                  Defendants. )
      16
                                       JURY TRIAL
      17                               A.T,I. PART 2
      18                  REP0RT 0F PR0CEEDINGS had before the

      19       HONORABLE I'IICHAEL   B. tlcHALE, on the 30th day of November,
     20        2017, in Chicago, IItinois.
     21

     22

     23
               ELLEN DUSZA, CSR No. 84-3386
     24        Official Court Reporter
               773-674-6065
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           1   APPEAMNCES:
                          HON. KII'IBERLY I,I. FOXX,
           2              State's Attorney of Cook County, by:
                         I'IR. THOMAS DAR}IAN,
          3              llIS. WETTE LOIZON,
                         I,IS. ERICA DILLON,
          4              I,IS, I,IARGARET FLISK,
                         ]'IS. RIEBANA SACHS,
          5              MS. NINA KELLY,
                         Assistant State's Attorneys,
          6              on behalf of the People;
          7              f'IR. GEORGE BECKER
                         on behalf of Defendant Cornel Dawson;
          I
                         l,lR. LAWRENCE W0LF LEVIN and
          9              llls. I'IICHELLE TRUESDALE,
                         on behalf of Defendant Teron 0dum;
      10
                         I,IR. RICHARD DVORAK,
      11                 on behalf of Defendant Antwan Davjs;
      12                 llR. GE0RGE BECKER and
                         I,IS. DAWN PROJANSKT,
      13                 on behalf of Defendant Ulysses PoIk;
      14                 t'ls. SABRA EBERSOLE and
                         l'IR. JOSEPH VENDITTI,
      15                 on behalf of Defendant Clifton Lemon, Sr. ;
      16                 I'IRS. Ai,IY P. CAI-IPANELLI ,
                         Public Defender of Cook County, by:
      17                 NS. JENNIFER HODEL and
                         MS. KATHRYN LISCO,
      18                 Assistant Public Defenders,
                         on behalf of Defendant Duavon Spears.
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           1            THE COURT:   I have other allegations of racial
           2    bul'lying I should ask 120 about and male chauvinist from
           3    143.

          4            l'lR. DARI.IAN: I guess the point to the request is
          5     Instruction 1.01 covers those issues. 0nce the jury is
          6     re-impaneled and re-sworn, they can be read 1.01 and
          7    hopefully that will take care of any issues. To go into
          I    tit any further --
          I         THE COURT: I see your point. Further questioning

      10       really runs the risk of tainting the jury. This just
      11       could be a situation where tempers are flaring because
      12       it's no fun to be a juror stuck in a hotel with no
      13       tel evi si on .
      14               I'lR. BECKER: Judge, if   I could --
      15               THE C0URT: 1.01 does cover that.

      16               I'lR. BECKER: Itly probl em, agai n , i s the note used
      17       racial profiling. The comment from the juror was nothing
      18       along that line. Just I'ike the first juror, the comment
      19       was my brother and father are members of the Black Souls.
      20       That didn't come out, nothjng of that kind.
     21                THE C0URT: No, something of that kind did come out.

     22                MR. BECKER: No, not Black Souls.
     23                THE C0URT: She did say     it.   She said, "I said if     my

     24        father were a Black Soul doesn't make me a Black Soul. "
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           1   Those words were very similar to what was written in the

           2   I etter.

           3               The bottom I i ne 'is I don't have to deal wi th
           4   that anymore, ltlr. Becker, because she lied on her juror
           5   questionnaire. That's why she's gone.
        6            HR. BECKER: l'ly point is the foreperson is bending
       7       and choosing with the Ianguage. There was nothing in the
       8       comments that she made was anywhere close to racial
       o       profiling, yet the note said
      10             THE C0URT: That has nothing to do with it.

      11             MR. BECKER: Because racial profiling dea'ls with

      12       these men. I have never heard of anybody racially
      13       profi f ing agai nst a wh1te person.
      14            THE COURT: You are going off the chart Mr. Becker.

      15       You are. We're talking about one thing and you're

      16       talking about something complete'ly different. The first
      17       person No. 28 di dn't even deal w'ith racial profi 1i ng, so
      18       I don't know why you're going down that road,
      19            MR. BECKER: Because the note deals with the three

      20       di fferent thi ngs.
      21            THE C0URT: You are speculating now that the

      22       foreperson j s maki ng stuff up.
      23            MR. BECKER: f'm not speculating, it's      in the note.
      24            THE COURT: No, you are speculating.
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           1         l,lR. DVORAK: rlay I make a record, your Honor. It     is
           2   a legal argument, your Honor.
           3         THE COURT: Briefly.

           4         MR. DVORAK: This year the U.S. Supreme Court has

        5      decided for the first time ever that juror bias is the
        6      one and only time that you can impeach the verdict. So
        7      what we are dealing w'ith here is a situation where on the
        I      one hand we are sort of compelled to fjnd out about the
       9       racial bias. 0kay? 0n the other hand, that is going to
      10       involve this Court making credibility determinations
      11       about whi ch j uror i s tel 'l i ng the truth .
      12                 It js irrevocable that you are going to be able
      13       to resolve this. However, my alternative argument is
      14       because I think this should just stop right now, but

      15       obv'iousIy, your Honor di sagrees.
      16                   My alternative argument is I think aIl these

      17       jurors should be -- I didn't believe 28 should be struck,
      18       but to the extent you are striking jurors, you are
      19       essentially choosing which ones to believe. I think the
      20       juror foreperson who wrote the note should be struck
      21       because we now know that she didn't -- well, according to
      22       the other jurors, she didn't tell the truth about what
      23       happened.

      24            THE COURT:     I disagree.
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           1         l'lR. DVORAK: The person who is alleged to have
          2    racial bias in this case should be stricken. All the
          3    people mentioned in that note should be stricken.
          4    Alternatively to my initial argument is that this is a
          5    mess that cannot be resolved.

          6                  Thank you.

          7         THE C0URT: 0kay.

          8         l'ls. LISCO: Judge, and if I nay, on behalf of
       I       llr. Spears   .


      10                     As far as Juror No. 215, I think if the Court
      11       has struck 28, to be consistent, we must strike 215.
      12       215 has indicated to this foreperson, if you believe her,
      13       that he is just here to send a message. I think those
      14       were her exact words as she was describing his exact
      15       words or her exact words.
      16                     215 wanting to send a message has no bearing on
      17       evaluating the evidence that was heard in this courtroom
      18       and is improper. It is improper to consider sending a
      19       message when you are deliberating on evidence, real

      20       evidence, and there were 800 exh'ibits and
     21        100-and-some-odd w'itnesses, when those things are the
     22        things you are supposed to be considering. Irrelevant is
     23        to send a message. You need to evaluate ev'idence. He
     24        can't be fair or she, and we are asking that he be
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                stri cken.
           2         THE C0URT: We don't know     that. We don't know
           3   whether or not, yet, he can be fair.
           4         MS. LOIZ0N: Judge, can we just make it      clear for
           5   the record one more time, horuever, that Juror 28 was
           6   struck because she told a lie that was substantiated in
           7   her own handwriting on a juror questionnaire that she
        I      swore before this Court she would tell the truth on.
        I      That's a far cry from someone making an offhand comment
      10       during jury deliberations, and it'is not comparab'le.
      11             THE COURT:    I agree.
      12             HS. LISC0: And, Judge, had we been allowed to make
      13       this record earlier, we would have said we don't know
      14       what she said in her testimony when she was actually
      15       being questioned on vo'ir dire by al'l counsels.
      16            THE COURT: Doesn't matter.

      17            HS. LISCO: She may have clarified that issue,
      18            THE COURT: No, she said "No. "

      19            HR. VENDITTI : Judge , duri ng voi r d'i re several
      20       people --
      21            THE C0URT: Find     'it and show it to me, then, because
      22       I don't think so.
      23            MR. BECKER: Judge, when you have a witness that

      24       says that they can be fair and impartial during


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               questioning and now they're saying they just want to send
           2   a message, that have lied on the jury form, too, and they
           3   lied in the questioning.
           4         THE COURT: We're done. I've ruled.       I don't want
           5   to hear anyth'ing else about 28. You want to talk about
           6   it, put it in writing. I have ruled. We are moving on.
           7                         I cl arify?
                    l-1R. DVORAK: Could

           8        THE COURT: No. Put it'in writ'ing.

       9            MR. DVOMK: I can't

      10            THE COURT: Yes, you can.

      11            HR. DVORAK: -- it  will be way too 'late.
      12            THE COURT: No. I've ruled. I'm not hearing any

      13       more argument about it. I've ruled.
      14                 I will be back.
      15                       (WHEREUPON,   a recess was had.)
      16            THE COURT: Please bring out Juror No. 215.

      17                 I'm going to ask him exactly what he said. f'm
      18       not really looking for input at this point, folks.
      19                 Sir, could you have a seat right there. If you
      20       can remain stand'ing for one moment, just raise your right
      21       hand for me.
     22                       (Juror duly sworn.)
     23             THE C0URT: Please be seated.

     24                  Obviously, th'is is a diffjcult situation. I


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           1    want to ask you a few questions. f'm looking for short
           2    answers. I'm trying to protect the integrity of the
           3    whole process. If I want to ask a fol1ow-up, I will, so
          4     if you can try to give me short answers.
          5                    Do you recall saying anything about sending a
          6    message during the deliberations?

          7            JUROR    215: Yes.
          8            THE COURT: Given that statement, can you        still
          I    apply the evidence in this case to the law and in that
      10       way decide the case and be fair to both sides?
      11               JUROR    215: Yes.
      12               THE C0URT: Thank      you. That's all I have.
      13                       AII right. I need Juror 12O again, please.
      14                       lla'am have a seat .
      15                       I'm just reminding you you are stjll    under
      16       oath.
      17                    lloving through the note, /oU have also
      18       indicated that Juror 143 has been racjal bullying and has
      19       shouvn male chauvinism, correct?

      2A               JUROR 143: Yes, sir.
     21                THE C0URT: In the same manner start'ing with racial

     22        bu11ying, could you teI1 me exact words. Don't expand.
     23        Just tell me exact words that you recall.
     24                JUROR   143: I can't recall exact words. I'm sorry.
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           1    It has been over the course of yesterday and this
          2     morning. We kind of wanted to see how this morning went,
          3     and it has not gotten better.
          4            THE COURT: The male chauvjnism,    is there anything
          5    that you can recall exactly as to what he said regarding
          o    that?
          7            JUROR   143: Like exact words?
       I               THE C0URT: Yes.

       I               JUR0R 143: f'm sorry.

      10               THE C0URT:    If you can't, you can't.
      11                  It seemed to me the answer you gave was
      12       someth'ing -- you said you wanted to see if it had gotten
      13       better and it hasn't. Do you mean that specifically with
      14       regards to him?
      15             JUROR     143: Yes. Especially with the racial
      16       profi 1 i ng.
      17             THE C0URT: So he has consistently been making

      18       racial comments throughout the --
      19             JUROR     143: Yes.
     20              THE C0URT: And has he also been making consistently

     21        chauvi ni sti c-type comments?
     22              JUR0R 143: Not as much, but the racial profiling.

     23              THE C0URT: l,lore so?

     24              JUR0R 143: Yes, sir.



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          1           THE COURT: Would you say that was directed at other

          2   jurors or the defendants or both?
          3           JUR0R 143: Both.

          4           THE COURT: Okay. Thank you, ma'am. That's       all I
          5   have.

          6               Juror Nb. 143 will be excused. f'm not taking
          7   any chances. I believe her test'imony was truthful. Her
       I      demeanor indicated she was truthful.

       I                  The second notation in this note regarding 215
      10      was true about sending a message. I did not excuse him
      11      because he still   indicated he could be fair.     I don't
      12      think at this point given the history we have had with
      13      Juror 143, he has been a terribly high-maintenance juror,
      14      it's very clear he doesn't want to be here. f'm not
      15      go'ing to -- I would expect just mere denials from hjm and
      16      I'm not going to believe him at this point based on what
      17      I've just heard from this foreman, and he's excused.
      18                Let's have 120 out one last time, please.
      19                I'm sorry. While she is here, please have 143
     20       removed and p'laced in the room in there after she is out.

     21                 Sorry. It's a process. Have a seat.
     22                   The only other person that you mentioned 'in the
     23       note is toward the end of the note, That is Juror 44.
     24       I'm not sure if you know who f'm referring to. It would


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           1    be the only other person. Do you want to see the note?
          2     I just don't want to say the name in court.
          3          JUROR 120: I understand.

          4         THE COURT: With respect to this person, do you

          5    remember any exact words that he used?

          6         JUR0R 120: No, not exact'ly. I'm sorry.

          7         THE COURT: Was  it on the same level as the last
          I    person you told me about or less? Like d1d he do it as
          9    often or did he do it less?
      10            JUROR   120: The last person?
      11            THE C0URT: 143, you said consistently he was mak'ing

      12       racial comments and chauvinistic comments yesterday and
      13       today. We were talking about 143 last time. Do you
      14       recall? It was the last time you were here.
      15            JUROR   120: f'm sorry.
      16            THE C0URT: f 'm go'ing to show the foreman her note

      17       so we can clarify this and protect the integrity of the
      18       names of the jurors.

      19                 So we have clarified that the only other person
     20        on the note is Juror 44, and having shown you the note,
     21        you know who I'm talking about, right?
     22             JUROR   120: Yes.
     23             THE COURT: Can you indicate regarding 44 what your

     24        concerns were there? Very short answer. What d'id that


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           1   person do that gives you concern?
           2          JUR0R 120: Basical'ly insinuating the same goal in

           3   trying to send a message, not
           4        THE COURT: Very good. Not rac'ial         .


           5          JUROR   120: Correct. Not rac'ial   .


           6          THE C0URT: That      is what I needed. Okay. Thank
           7   you.

       I              JUROR   120: Thank you.
       I              THE C0URT:   I think wjsh done with you.
      10              JUROR   120: Okay.
      11              THE COURT:   I know it has been hard.
      12              JUR0R 120: Okay. Thanks.

      13              THE COURT: Now  I need 44.
      14                   Good afternoon, si r. Step ri ght 'in there.

      15       Remain standing and raise your right hand for me.

      16                         (Juror duly sworn. )
      17              THE COURT: Please be seated.

      18                I understand th'is is a very difficult
      19       situation. I'm just trying to get through it along with
      20       you and a1 1 the others.
      21                  I'm going to ask you some questions. I'm
      22       looking for very short answers because I'm trying to
      23       protect the integrity of the whole process. If I want to
      24       ask a fo11ow-up, I will.      Keep your answers very short,



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           1       if you could.
          2                   Do you recall saying anything during

          3        deliberations about sending a message?
          4              JUR0R 44: I did not.
          5              THE C0URT: Sir, can you apply the evjdence in this

          6        case to the law and in that way decide the case and be
          7        fair to both sides?
       I                JUROR 44: Yes.

       I                 THE C0URT: 0kay. Thank you very much, sir.

      10                      I will call the next two alternates. Those are
      11           Nos. 226 and 230. TeII them that we need to get here
      12           right away.
      13                 l'lR. W0LF LEVIN: l,lay we make a record as to the last
      14           j uror?

      15                THE C0URT: Yes.

      16                t'lR. W0LD LEVIN: The fact that you now have a
      17       conflict between the foreman and one of the jurors
      18       because one of them obviously can't be telling the truth.
      19                 So my request of the Court i s based on i f the
     20        Court believes the veracity of the foreman in this
     21        matter, that this person be excused
     22        .        THE COURT: Denied.

     23                 l'ls. LISCO: Judge, one more thing on behalf of
     24        Hr. Spears.


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           1              There can be no fairness in this jury at this
          2     juncture. This woman has now demonstrated to the jury
          3     back there that she has the ultimate power of getting rid
          4     of them if they don't vote her way.
          5          THE COURT: That's not true. Two people stayed and
          6    two people left. Not true at all. I'm off the bench.
          7    I'm going to call the alternates. We need to move
          I    forward.
       9                       (WHEREUP0N, a recess was had.)

      10            THE C0URT: We are on the record.      All the
      11       defendants and attorneys present? Looks like they are.
      12                 I have called the two alternate jurors, and
      13       they are in route.
      14                  Did the State want to say something?
      15            t'ls. LOIZ0N: Yes .   We j ust wanted to address some

      16       procedural matters with the Court.
      17            THE COURT: Yes.

      18            lls. L0IZ0N: At this juncture, because the jury is
      19       going to have to be re-sworn and start all over again, we
     20        would request that the jury instructions and the
     21        transcripts that were sent back to this part'icular jury
     22        be removed from the jury room.
     23             THE C0URT:   I believe that has already been done. I
     24        will confirm.

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           I          l'ls. LOIZ0N: If it hasn't, can we confirm that and
          2    just put it on the record.
          3          THE C0URT: Yes.

          4          l'ls. LOIZON :   Al so, so the record i s cI ear   , the
          5    individuals who were excused, that their notes and
          6    binders were also removed from the jury room.
          7          THE C0URT: 0kay.

       I             l'1S. LOIZON :   Then j ust I ook'i ng ahead , when the
       I       alternates who are now going to become part of the jury
      10       are brought in, we would ask that they are voir dired
      11       about whether or not they have had any exposure to
      12       anything that they should not be seeing as regular
      13       j urors.

      14             THE C0URT: Ultimateiy,       if they read an article or
      15       saw an article, the ultimate question would be, despite
      16       that, can you still be fair to both sides.
      17            MS. L0IZON: Correct. We just want to make sure
      18       that they are voir djred. When the jury is re-sworn, we
      19       would request that all the instructions be reread to that
     20        jury and that one set of jury instructions be sent back
     21        unless 'if they ask for additional ones, as they
     22        previously have done.
     23             THE COURT: Why? Why would you want one back there?

     24             t'ls. LOIZON : It ' s a newl y consti tuted j ury. Judge,


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          1   we didn't send ind'ividual jury instructions back unt'iI
          2   they requested them. I do believe that they a1l -- the
          3   jury instructions should orally be reread to the jury
          4   since it   is a newly constituted jury.
          5         THE C0URT: No, I'm not going to do      that. I read
          6   all of them while the alternates were sitting here, A1'l
          7   of the alternates heard the jury instructions. I'm not
       8      going to do that again. I th'ink there is no problem with
       I      them having 12 sets of jury instructions. It makes
      10      sense. It was asked for by the majority of the jury, and
      11      they should have 12 sets of instructions, just ljke this
      12      jury initially asked for. That last request is denied.
      13           MS. LOIZON: That would be all we have.
      14           HR. BECKER: 0n behalf of Mr. Dawson --
      15           THE COURT: l'lr. Becker, can   I ask you? Do you
      16      remember what your last argument was before we broke?        If
      17      you don't, i t's okay, but I - -
      18           MR. BECKER: I made several today, so I'm not

      19      exactly sure.
     20            THE COURT: Go ahead.

     21            t'lR. BECKER: If   I go backwards, the one thing I
     22       would ask is if you are going to leave 12 sets of jury
     23       instructions back there, there be at least two clean
     24       copies given, because there is two jurors who may or may


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          1   not have written on theirs that you have let go.
          2         THE COURT: Let me just say I     did ask the jurors to
          3   mark their jury instructions wlth the number on the top,
          4   I believe. Didn't I?
          5         MR. IIAHER: Yes.

       6            THE COURT: We will make an effort to remove those

       7      and get clean sets.
       8           t'lR. NAHER: Can I address that?
       9                 What we're seeking 'is a1I of them come back and

      10      all of the notes, because those were notes taken during
      11      this deliberation --
      12           THE COURT: All of the jurors' notes come back?

      13           I'lR. MAHER: Yes, Judge, from the deliberation. And
      14      the copies they have of the jury 'instruct'ions because --
      15      hear me out please. Those notes would reflect portions
      16      or their notes from the deliberations from the previous
      17      jury, and so we want to remove those, give them new
      18      instructions as the Court said, and then any notes they
      19      take down will be part of the deliberations of this fresh
     20       reconstituted jury.
     21            MS. HODEL: We would concur, Judge, as to Spears.

     22            THE COURT: I want to make sure I understand what

     23       you are saying.
     24                 The notes they had during tria'l, they can keep?


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           1           MR. MAHER: Yes.

           2           THE COURT: And somehow, any notes that were taken

           3   during deliberations will have to be -- how would you
           4   suggest that happens? Ask each individual juror which is
           5   whi ch?

           6           ll1R. MAHER: Well, the instructions they have with

       7       their numbers on it
       8               THE C0URT: The instructions are fine.

       I               l'lR. NAHER: All of the jurors give a1l of their
      10       notes. They go. Because those are notes from
      11       deliberations with members who are no longer part of the
      12       jury.     They are going to have to start over in the
      13       deliberations, so they should start with fresh notepads,
      14       fresh instructions, and start over.
      15            THE COURT: U,lere they given fresh notepads for

      16       deliberations? No, they were not. I think many of them
      17       are using the same books they had for the two-and-a-half
      18       months of trial . So 'if you're suggesting by ripping out

      19       the pages - - there i s no way to do that. That's not
      20       practica'l. The jury instructions, yeah, sure,
      21            MR. MAHER: That ' s what we' re tal ki ng about .

     22             MS. LOIZON: We're talking about the jury
     23        instructions that they were jndividually given and any
     24        notes that they wrote on those particular jury


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           1        i nstructi ons .

           2                    So we made copies of -- every juror got their

           3    own set of jury instructions. We are asking you to have

           4    al I of those returned back to the Court.

       5                  THE COURT: What is the theory there? I mean they

       o       certainly -- some of them have made progress at least in
       7       terms of their understanding of the jury instructions.
       I                  MS. LOIZ0N: Judge, they have to start over. They

       I       have to start over. It  is a newly constituted jury.
      10            THE C0URT: They will start over.

      11            l4R. BECKER: Judge, I haven't agreed with the State
      12       a lot in this, but thinking it through, I agree with
      13       them.

      14                 THE COURT: Fine. Fine. Hake 12 more sets of jury

      15       'i   nstructi ons . Just do that .     We' l   l do i t si nce both
      16       sides agree.
      17                 MS. LOIZON: Thank you, Judge.
      18                 MR. BECKER: Judge, as we stand here at this

      19       juncture, several things. If, in fact, these two new
      20       jurors -- or alternates are going to be brought in, I
      21       don't think you can simply just say would you be
     22        prejudiced if you have read something? If they 'indicate
     23        they've read or heard something, they have to be excused.
     24                  THE COURT: Can we just take it          as 'it comes, please?


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          1         I'lR. BECKER: The reason I'm going to tel'l you why on
          2   that is as we sit here, this jury has been sequestered,
          3   I'm already concerned the sequestering of the jury has
          4   been broken by being brought out here and questioned.
       5      Just like I am concerned, and I know it was touched on by
       o      co-counsel toward the end. One of two things is going to
       7      happen wfth this woman who is the foreperson. She is

       I      either totally empowered now or she is going to have zero
       I      power, because either she is -- they are going to have to
      10      reelect a new foreperson, but they know that she wrote a
      11      note that got at least two jurors removed.
      12           THE COURT: It    wasn't just her, by the way, it was
      13      another juror. And she said -- the note says, "Myse1f,
      14      Juror No. 40, and others," was what the note said,
      15           l'lR. BECKER: I understand that. But it shows the
      16      power that she has to those people back there.
      17           THE C0URT: It may or may not, l'1r. Becker.

      18           f'lR. BECKER: Based on that, Judge, I just don't
     19       believe at this juncture we can go forward. I think the
     20       jury is totaliy tainted. There needs to be a mistrial
     21       declared. I don't think it can be resolved at this point
     22       by bringing 'in two fresh jurors.
     23            THE C0URT: I do, so we will.

     24            MS, LOIZ0N: Can I clarify one point?



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          1         THE C0URT: Yes.

          2         MS. LOIZON: With respect to what we're requesting

          3   that the jury send back out of the jury room, we would
          4   also ask that the transcripts that were provided them for
          5   Lawrence HaIe and Learies Brown also be sent back out,

        6     because this js a newly constituted jury.    If they want
        7     to request transcri pts, they shoul d do that fresh as
       I      opposed to taking what was left over from what the other

       I      j ury requested.

      10           THE COURT; Okay. If    you're being consistent and
      11      you're aI1 agreeing that a'|1 the jury 'instructions come
      12      out and be repiaced, then I guess that's what we'll do.
      't3     If they want to ask for them again, 'it's a simple
      14      question of sending a note and we'll send them back.
      15           MS. LOIZON: Correct.
      16                 Judge, one other thing that we want to be clear
      17      ofl, because aga'in, this is a newly constituted jury, we
      18      would expect that they would be instructed to choose a
      19      foreman.

      20           THE COURT: Yes. Sounds like both sides agree to

     21       that, right? Okay.
     22                  I will explain to them when the two jurors
     23       arri ve to bri ng them out. I 'l I expl ai n to them that
     24       under the circumstances, the law requ'ires that they now


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           1   beg'in their del'iberations again and that they should
           2   select a foreperson in the same manner that they did
           3   before by electing one and begin their deliberations
           4   anew.

           5               AII right. That's what we'll do.
       6               MR. DVORAK: Judge, now that we are making records,

       7       since before I was not allowed to.
       I               THE C0URT: Yes, f know, You are now.
       I            l'lR. DVORAK: I 'm not sure i f i t was cl ear before   ,


      10       but I want to make the record clear that I was initially
      11       asking for a mistrial. Alternatively, I think before the
      12       questioning of those two jurors who both sa'id that
      13       they -- one den'ied say'ing he was going to send a message
      14       and the other one admitted it.  I think both of them
      15       should have been stricken from the jury. I think your
      16       Honor credited the foreperson when she said that the one
      17       person was racist without even asking that person whether
      18       he was racist. I don't have a problem with getting rid
      19       of h'im, obviously, but then when the other person denied
      20       that he said those things, we are not crediting what she
      21       said.
      22                   Either way, saying, "I'm here to send a
      23       message" would be improper if      a prosecutor said it in
      24       clos'ing argument, yet we are going to allow two jurors to


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           I   be -- we're okay with two jurors saying we want to send a
           2   message?

        3                    Your Honor asked him, "Can you be fair?" Your
        4      Honor didn't ask that about Juror 28.
        5              THE COURT:I didn't have to. She lied on her jury
        o      questionnaire. Stop it. We already dealt with 28. f'm
        7      not going there again. I made it very clear. I don't
        8      want another attorney to say a word about Juror 28. Tt
        9      you want to say something, you put it in writing. f'm
      10       done with that.
      11               MR. DVOMK: I'm not allowed to make a record on

      12       that?
      13               THE C0URT: No, you're      not. You're done.
      14               l'lR. DVORAK: Thank you.
      15               1'lS. L0IZ0N: Hay we respond to counsel 's argument?
      't6              THE COURT: Yes.

      17               l4S. LOIZON :
                                   In thi s part'icul ar case, I f i nd i t
      18       absolutely astounding that this argument is coming from
      19       l'lr. Dvorak in light of the fact that he stood in front of
      20       this jury and argued for nullification in violation of
      21       your court order.
      22               NR. W0LF LEVIN: Objection.
      23            THE C0URT: 0verruled. Just         let her finish making
     24        the argument.


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           1        MR. WOLF LEVIN: Not as to the characterization,

           2   Judge.

           3        THE C0URT: You can respond        later, Mr. Levin, if you
           4   want to.
           5              Go.

        6           MS. LOIZ0N: Comments like "I'm trying to send a
        7      message" or anything related to that are opin'ions that

        8      jurors are allowed to have during deliberations.
        I      Frankly, Judge, it   is not a stretch to note that that can
      10       be commentary resulting from the arguments that were made
      11       by the Defense attorneys themselves about sending a
      12       message to the Chicago Police Department and the State's

      13       Attorney's Office about our alleged conspiracy.
      14                  So to the extent that we're going to make an
      15       assumption that that's sending a message to the
      16       defendant, I think there's no basis for that. In fact, I
      17       would argue that you can make that assumption on the
      18       other side based on the flagrant and 'inflammatory
      19       arguments that were made before this jury.
      20                  And I think that's something that absolutely
      21       needs to be pointed out for the record.
      22            THE COURT: Very well.

      23            HR, DVORAK: Am I allowed to respond to that?
      24           THE COURT: Anythi ng e'l se    , Ms . Loi zon?

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           1        1'lS. LOIZON: No, Judge. That 's pl enty.

           2        THE C0URT; Sure, Mr. Dvorak. Go ahead.

       3            l'lR. DV0RAK: The 'idea that I asked for a jury
       4       null'ificatjon on a case where I pointed out the vast
       5       insufficiency of the evidence as it applies to the law is
       6       just preposterous.
       7            THE COURT: Okay. The record      w'ill bear out whatever
       I       you said.
       I            I'lR. DVORAK: Second of all, with regard to that same
      10       juror, Juror No. 28, during voir dire --
      11            THE COURT: We are not going down     28. We are done
      12       with 28.
      13            tlR. DV0MK: ilay I please make a record on that?
      14            THE COURT:   No. No. We have already gone over
      15       this. We are done with 28. That ruling stands. Put in
      16       a motion to reconsider or something. We're done.
      17            l'lR. DVORAK: Thank you, your Honor.
      18            THE COURT:   I will go make sure that a'll of the
      19       th'ings we agreed on were taken care of. I'.l1 make sure
      2A       that aII of the evidence has been removed, all of the
      21       notes have been removed, that all of the jury
      22       instructions have been removed, and that the two that
      23       were excused, that they be set aside so that there is no
      24       risk they go back.

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          I         I'lS. LISCO: Your Honor, the easel should be wiped
          2   clean so that they can continue to start fresh
          3         THE C0URT: 0kay. Okay.

       4            |llR. BECKER: I just want to know one thing for
       5      clarification. The jurors have been told right now --
       6      are instructed not def iberate?
       7           THE COURT: Yes,  f sent them a note. Mr. Becker, at
       8      the point that you said it, a note was written right
       I      away -- I believe I put that on the record -- and then we

      10      sent it back.
      11           MR. BECKER: I 'm sorry , my b'lood pressure was up    .



      12           THE COURT: That's okay. I'm sure all of our blood

      13      pressure is up today.
      14                       (WHEREUPON,    a recess was had.)
      15           THE COURT: There have been more developments in

      16      this rather unusua'l jury trial      .



      17                Juror No. 34 is being taken by ambulance to the
      18      hospital She lost consciousness. Her eyes rolled back
      19      in her head. She appears to be having a very d'ifficult
     20       time breathing. I have excused her. The other
     21       alternate, 263 has been called, and he is en route.
     22            MR. DV0MK: I make a motion for a mistrial       .



     23            THE C0URT: Sure. Denied.

     24                 That i s not 'i t .   We have another note. Just a



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                    second.
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                               The note reads as follows -- we got this at
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I           3       2:45, it's about 3:00 now.
            4                  "Hello, Judge llcHale. Juror No. 40 would Iike
            5       to know your response on her request of being removed
            6       from the jury. Thank you, Juror 120 and Juror 40."
            7                  There has been no request for her to be removed
            I       from the jury. No such request has been made, and that's
            I       what I intend to respond. I don't know what that's going
          10        to bring next, but there has not been a request for her
          11        to be removed.
          12             1'lS. LISCO: Judge, I would object to that and would

          13        ask --
          14             THE C0URT: Louder.

          15             NS. LISCO: I object to that and would ask the Court
          16        not respond to that question in that there has been no --
          17        as the Court pointed out, there has been no indlcat'ion
          18        that anybody wants to remove 40. I don't thjnk that that
          19        answer needs to be given.
         20              THE COURT: What do you think is going to happen

         2',|       when she gets no response from the Court?

         22              MR. WOLF LEVIN: If you don't respond, Judge, you're

         23         going to get another note and they'11 want to know why.
         24         Subsequently, on behalf of I'lr. Odom, f would indicate to


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           1   the Court that we would just ask a response be given'in
           2   whatever manner and form.
           3          THE COURT: That's my concern.       I think a
           4   nonresponse is a slap in the face. She's asking a
           5   question, she deserves an answer, even though there has
           6   been no request. I think not to respond would be

           7   'inappropri ate.

       8                   My proposed response is the Court is -- there

       I       has been no request.
      10              t'lR. DVORAK: I woul d agree wi th that .
      11              MR. ['IAHER: How about is unaware of any such

      12       request, in case they -- I don't know.
      13              MR. WOLF LEVIN: If    I may, Judge, I think the
      14       suggestion would be that there has been no such request,
      15       That's sufficient on its face.
      16              THE C0URT: There has been no such request. That's

      17       what I'm going to say.
      18              MR. DARHAN: There's going to be another note.

      19              THE C0URT: There's going to be another note e'ither

      20       way.

      21              MR. BECKER: Although this may be a bad time to ask

      22       you, is it possible to get daiiy copy of today's
      23       transcri pt?
      24              THE COURT: No. What     is it going to jead to? No.

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          1         tlR. BECXER: AI1 right.
       2                       (IIHEREUPOH, a recess was had.)

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          1            f'ls. LISC0: Can we request, please, that you reread
          2   that note, because it doesn't make so much sense --
          3            THE C0URT: The note already went back. I already
          4   wrote the response I indicated on the record, and it is
          5   a'l ready i n the back. I don't have it.

          b          l1S. LISCO: Can we have the court reporter read it
          7   back.

       I               THE COURT: At this time,     no. We've already talked
       I      about 'it.     No one disagreed with the response. The

      10      response got sent back.
      11              I'lS. LISCO: It's just that it doesn't make sense.
      12              THE COURT: Well,     it's a little late to be say'ing
      13      that , ltls. Li sco. We've al ready made our dec'is'ion. We've
     14       done what we've done.

     15                     f want the State to go grab your 12 copies of
     16       'instructions and make sure they are in order because the
     17       clean copies you gave me are not in order. They are on
     18       the chair. Go grab them. The verdict forms are not jn
     19       order.
     20                               just the verdict forms?
                      I'lR. DARI,IAN: Was it
     21            THE C0URT: 0n my copies, 'it's just the verdict

     22       forms.
     23            HR. DARIIAN: Okay.
     24            THE COURT: I'm correcting them putting them 'in



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           1   order.
           2                 Here i s the note we al J expected . Th'is i s
           3   really 'interesting. Reminding everybody that the long
           4   note earlier from today was from Juror 120 and Juror 140.
           5   So now this says: "HeIlo, Judge McHale. Juror 40 [sic]
           6   and 120 would like to be removed due to a letter received
           7   earl1er today . "I thi nk they mean the'i r I etter recei ved  .


        I      Sent? I'm not sure. "With the instruct'ions given to us
        o      in part of completing our civ'ic duty, we persona'lly feel
       10      the instructions are structured in a style to come to one
       11      verdict, and we can't complete our civ'ic duty due to
       12      that. "
       13                    Let me just hightight the words that I thjnk
       14      are important here. "The instructions, " jury
       15      instructions, "are structured in a style to come to one
      16       verdi ct , and we can't comp'lete our ci vi c duty. "
      17                 I think it's obvious to this Court that what
      18       they are saying is we cannot follow the law. And they're
      19       off. You can make any objections you want. 120, 140 are
      20       off. I'll call the other alternates, and we're going
      21       from there.
      22            MS. LISC0: Judge, wo're asking that they be voir
      23       dired at least.
      24            THE C0URT: No.



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           I        MR. DVORAK: Can we make a record?

           2        THE C0URT: Later.

           3                   (WHEREUP0N, a recess was had.)

           4        THE COURT:   I broke to call the next two alternate
        5      jurors. I assume somebody wants to make a record.
        6      Anybody?

        7           MS. LISCO: Judge --

        8           l4S. LOIZON : Judge - -
        I           THE COURT: Let's start with the State and then

      10       we'll go with the defense.
      11            MS. LOIZON: Judge, with respect to the two jurors

      12       who sent the most recent note, 'it would be the People's
      13       position that excusing them without further questioning
      14       is imprudent and I would call this Court's attention to
      15       two cases. Peop'le versus Runkey (phonetic), which is
      16       234 T11.2d 68, and People versus Nelson, which is
      17       235 I11.2d 386. I think both of those cases --
      't8           THE C0URT: Hold on.

      19                       (WHEREUP0N, there was a short

      20                      i nterruption. )
      21            THE COURT: Excuse me for leaving the bench. That

      22       was an alternate juror, and I had to make arrangements.
      23       I also may have to leave the bench as they are coming
      24       back to the courthouse. I know everyone wants to make a


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          1   record. We'll eventually get to all of you.
          2             If you can give me minute to go through these
          3   jury instructions, I was just co11at'ing them, and then I
          4   will 1et everybody make a record.
          5             State I be'lieve you were mid argument when I
          6   had to leave to take the phone call from the alternate
          7   juror. Do you wish to continue?
          8        MS. L0IZON: Judge, to recap, I think at this
       I      juncture, excusing jurors based on commentary in a note
      10      would be imprudent. I think the case law regarding
      11      impane'l1ing aiternate jurors does suggest that some
      12      questioning is certainly warranted. Based on the
      13      circumstances of that note and, you know, what has
      14      frankly gone on this whole day, I would urge you to ask
      15      some questions before you dismiss those jurors,

      16                  Actual1y, one question, nameiy whether advising
      17      them that the jury instructions are the law that they are
      18      requ'ired to follow and whether or not they can do it.
     19            THE COURT:    I appreciate your comments, and your
     20       request is denied.
     21                   Does any other Defense want to make any

     22       comments?

     23            l'lR. DV0RAK: I would agree w'ith the State.
     24            MS. LISCO: We agree with the State,



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          1            THE C0URT: So noted.

        2              l,lR. DVORAK: I also want to make a motion for
        3     m'i   stri al and obj ect
        4              THE C0URT: 0f course you      do. Denied.
        5                   We'lJ see you when the alternate jurors get
        6     here. I believe all the arrangements have been made.
        7                Did you check the jury instructions, State?
        I         1'1R. DARMAN: We will     .



        I              THE C0URT: Let me know when you've got them. I

      10      have the originals here.
      11                          (WHEREUP0N, a recess was had.)

      12                          (Whereupon, the reporter was relieved and

      13                          the following proceedings were reported by
      14                          Court Reporter Kristen ParrilIi.)
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           1    STATE OF ILLINOIS )

           2                           ) SS:
          3     couNTY0Fc00K )
          4          IN THE CIRCUIT COURT OF COOK COUNTY, ILLINOIS
          5             COUNry DEPARTMENT      - CRII,IINAL DIVISION
          6

          7         f, Ellen Dusza, Official Court Reporter of the
          8    Circuit Court of Cook County, County Department, Crjminal
          I    Divis'ion, do hereby certify that I reported in shorthand
      10       the proceed'ings had on the hearing in the aforementioned
      11       cause; that I thereafter caused the foregoing to be
      12       transcribed into typewriting, which I hereby certify to
      13       be a true and accurate transcri pt of the Report of
      14       Proceedings had before the HONOMBLE I'IICHAEL B. HcHALE,
      15       Judge of said court.
      16

      17

     18                               Official Court Reporter
     19                               Ellen Dusza, CSR 84-3386
     20                               Circuit Court of Cook County
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     24        Date: December 1, 2017

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    Irfustice Watch | (https:/Twww.injusticewatch.org/news/zor8/defense-attorneys-contend-cook-county-judge-
    seeking-retention-michael-mchale-showed-bias/)


    News

    Defense attorneys contend Cook County
    iudge seeking retention showed bias
    By leanne Kuang, Caroline Riordan ond Duohao Xu I September 20, ZOIB

   Cook County Circuit Court Judge Michael McHale, a candidate to retain his seat in November, had improper contacts
   with prosecutors during a murder trial last year, four defense attorneys allege in filings.

   Ttre misconduct allegations involve the way McHale handled the murder trial involving the October zorz shooting of a
   South Shore man, 74-year-old William Thomas.

   The case was among several controversial actions by MeHale, identified as part of an /ryustice Watch review of the
   record of all 6o judges who will be on the ballot in November for new six-year terms.




            johnsmith@example.com
                                                          Sign me up




   McHale, a former veteran prosecutor, has enjoyed a good reputation. In zoo5, he was inducted into the Chicago LGBT
   Hall of Fame for his "political activism, neighborhood organizing, and professional achievement" as an openly gay
   assistant state's attorney.

   Hejoined the bench in eoo6 and has received favorable evaluations from the bar
   associations; in zorz, the Chicago Council of Lawyers reported he was considered "fair
   and honest" and was "considered to have an outstanding temperament, remarkable
  patience and an excellent work ethic."

  But the Iryustrbe Wafcft review of McHale's most recent six years on the bench revealed a
  contrasting picture.

  The review identified rz times in the past six years in which McHale's decisions were
  overturned by a higher court, including repeated instances ofconvictions reversed                             c@kcNntiudgerqg
                                                                                                 Cook Countg Circuit Court Juilge
  because McHale improperly prevented the defense from challenging the police version of
                                                                                                 Michael McHole
  arrests. He sentenced one defendant to prison for more than a decade for stealing less
  than $5o in loose change from a vending machine. He convicted another defendant on
  drug charges based on drugs that were found in a house, but it was never proven that it was the defendant's house.

  And in a landmark gang conspiracy trial now on appeal, defense attorneys contend that McHale was wrong in his
  handling of allegations of racial bias during deliberations

  "This man is unfit to sit in the criminal division," said defense attorney Ronald Draper.

  McHale failed to respond to repeated messates. His office referred questions to a spokeswoman for the Committee for
  Retention of Judges in Cook County, who also did not respond to a request for comment.




https://www.injusticewatch.org/news/2018/defense-attomeys-contend-cook-county-judge-... l0l4/2018
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  ,..rcrcllsg arlorneys conteno LooK UountyJudge seekmg retentlon showed bias lnjustice
                                                                             I                                  ... Page 2 of 4

     Draper represented Malcolm Terry, one offour defendants charged in the death ofThomas. Terry was accused of
     providing the murder weapon and serving as a lookout; he went on trial in eorT along with the accused gunman, Akeem
    Simmons. The other two defendants had their trials delayed, and were called as witnesses against Terry and Simmons;
    both were promised limited immunity that ensured what they truthfully testified in court could not be used against
    them.

    When the two refused to testifu even under limited immunity, McHale held the two in contempt of court and ordered
    them held in solitary confinement at the Cook Countyjail.

    Terr5/s aunt, [cah Thigpen, would later submit an affidavit stating that she had overheard McHale discuss the case
    during jury selection with Cook County Assistant State's Attorney C. Thor Martin without Terry or his attorney present.

     Ttrigpen stated she heard McHale referring in a loud voice to "this code ofsilence bullshit I'm sick of," and also heard the
    judge saflng, 'this wont matter at sentencing." Thigpen also wrote in her statement that the prosecutor          judge
                                                                                                            and
    discussed Terry's failure to come to court over an incident that occurred between Terry and a guard. The prosecutor told
    the judge, according to Thigpen's affidavit, that he did not believe the defendant, and McHale responded, "I don't believe
    him either."

    Martin, who prosecuted all four defendants' cases, declined to comment on the case through the State's Attorney's office.

   I*gal ethics experts interviewed by Injustice Watcft said the discussion, as described by Thigpen, appeared improper.
   'There should be no pre-formed opinion ofthe case, ofthe outcome ofthe case, ofthe sentenee, before trial has even
   begun," said Rebecca Roiphe ofthe New york Law School.

   After the two refused to testify, McHale granted the prosecutors a delay in the trial to introduce new evidence. That
   Friday, Martin filed a motion to introduce notes that Terry was said to have received in jail, which Martin contended
   showed Terry influencing co-defendants and potential witnesses.

   Then on Saturday, Martin sent an email that included another motion, seeking to introduce evidence offour recordings
   of conversations Terry had while in jail. The email also included audio files of the recordings.

   McHale responded by email that Sunday stating that he listened to the calls and found the prosecutors'descriptions
   accurate, but could not find an additional recording that Martin cited in his motion. The email exchange included Terry,s
   attorney, Draper, but not the attorneys for the other defendants.

   Richard Painter, an expert on legal ethics at the University of Minnesota Law School, called the prosecutors, direct email
   communications with McHale, rather than through filings with the clerk, "unusual."

   The communications were included among defense attorneys'complaints about the trial.

   In his May response to a motion for a new trial, prosecutor Martin denied all ofTerry's "many boilerplate allegations and
   some more specific allegations of error" without addressing the communications specifically.

   Draper said in an interview McHale prevented him from putting on a proper defense.

                                                                        Following their convictions, Terry was sentenced to
                                                                        So years in prison for murder, and Simmons to 65.
                                                                        Their convictions are being appealed.

                                                                        This February, as co-defendants Aramis McKinzie
                                                                        and Garlin Minor faced their own trials, both filed
                                                                        motions asking that McHale be removed from the
                                                                        case, contending that the judge's alleged comments
                                                                        about defendants who do not testify showed, as the
                                                                        assistant Cook County public defender Caroline
                                                                        Glennon wrote, "actual bias."




https://www.injusticewatch.org/news/2018/defense-attorneys-contend-cook-county-judge-... l0l4/201g
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                                                                        The state offered McKinzie and Minor a deal before
                                                                        the motion was ever heard. The motions were
                                                                        withdrawn two days after they were filed. McKinzie
                                                                        and Minor both pleaded guilty to the reduced charge
                                                                        of conspiracyto commit murder, and were sentenced
                                                                        to ro years each in prison.

                                                                        Record of reversal..

                                                                        McHale's decisions have been overturned in part or
                                                                        fully reversed t2 times in the last six years. In three
                                                                        cases, the appellate courts reversed convictions
                                                                        because McHale improperly restricted the defense's
                                                                        ability to contest the police aceount ofevents.

                                                                       In two of them, the court ruled, McHale was wrong
                                                                       to barthe defense in drug prosecutions from learning
                                                                       the precise location ofthe officer who obsewed the
                                                                       alleged transactions. In a gun case, McHale erred in
                                                                       permitting the state to introduce an affidavit from an
   Cook County   CiminalCourthouse                                     officer stating the defendant did not have the gun
                                                                       registered, rather than calling a witness who could be
   questioned by the defense.

   In zo16, an Illinois panel overturned the sentence of Henry Busse, whom McHale sentenced to rz years in prison for
   burglary from a school, after he was found with $44 in quarters taken from a vending machine in a University of Illinois
   building.

   Hoping to deter a "career thief," McHale told Busse that since "nothing up to this point has made an impression upon
   you, maybe my twelve-year sentence will make an impression on you."

   By a e-r vote an Illinois appellate court panel called the decision "anomalous and absurd" and "grossly disproportionate"
   to the crime, noting that Busse's crimes were neither violent nor serious.

   'A paltry crime for a paltry sum does not warrant the unpaltry sentence of re years," wrote Justice Michael B. Hyman,
  finding McHale had abused his judicial discretion. The appellate panel reduced the sentence to 6 years, the minimum
  sentence.

  A contentiousjury

  Last year McHale presided over a ten-week high-profile trial. Six men were tried under the state's new anti-racketeering
  law, accused of running a violent criminal enterprise on Chicago's West Side as leaders of the Black Souls gang.

  The jurors were anonymous, their names kept from the attorneys to avoid any possible pressure. They were sequestered
  - ordered to stay together, and away from outsiders - as they were sent to deliberate.
  Tensions in the jury room quickly became apparent. The jury forewoman and a second juror sent a note complaining of
  racist and sexist comments.

  McHale questioned jurors and dismissed two members but permitted two others to remain.

  The jurors went back to deliberating, but then came
  another note: the forewoman and the second juror
  believed the jury instructions were "structured in a
  style to come to one verdict, and we can't complete
  our civic duty due to that."




https://www.injusticewatch.org/news/2018/defense-attorneys-contend-cook-county-judge-... l0l4l20l8
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       Without questioning them, McHale ordered the two
       dismissed: "I think it's obvious to this Court that
       what they are saying is we cannot follow the law.,,

       The judge refused to grant a mistrial. And after the
       jury had convicted the defeudants on racketeering
       conspiracy and drug conspirary charges, McHale
       refused to allow defense attorneys to send
       investigators to interview the dismissed jurors, who
       remained anonymous, defense attorneys said...I had
       never seen a case where thejudge was so
       disinterested in finding out the truth about what
       occurred in his jury," Dvorak said.

      Not all defense counsel agree. One, Lawrence Levin,
      said the case was complicated, and that McHale had
      done "a good job with a very very difficult situation.,'

      The dismissed juror, Zerlina Smith, who joined the
      forewoman in her concerns, was not done. Smith, a
      West Side activist, spoke to the sister ofDvorak's                                                          h.nDaK*ns/tniwoewrkh
      client, Antwan Davis. Davis's sister prepared an     Zerlina Smith, pictured in her West Side neighborhood, speaks with reporters
                                                                                 o/rocism m     iury room in a mttrder triat before Judse
      affidavit, detailing racist comments that Smith said                                      the
                                                           ;l#r:;';l;:Yns
      had taken place in the jury room.

      McHale again refused to let attorneys speak to Smith, who later showed up for a hearing prepared
                                                                                                       to detail her concerns
      in court. McHale again did not allow herto speak.

      In May he sentenced all six men to life in prison. The case is being appealed.

   In a recent interview with Injustice Wotch, Smith described a chaotic jury deliberation in which,
                                                                                                        she said, jurors threw
   chairs and used racist slurs in an effort to persuade her to vote to convict. "It was
                                                                                         a one-sided paper, it was a setup for
   guilty," Smith said.

   she added of McHale: "The judge already had his mind made up from day one."




r-1




https://www.injusticewatch.org/news/2018/defense-attorneys-contend-cook-county-judge-...
                                                                                                                             l0l4/201g
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        Petition to LJ.S. Supreme Court for
                           Writ of Mand.amus
                                   IN THE
                    SUPBEIVIE COUET OF THE UNITED STATES


                               Case yo.       12-6561



                  In re DR. LINDA LOBINCZ SHELTON, Petitioner

                            DR. LINDA LORINCZ SHELTON,
                                 Delendant - Petitioner,

                                               v.

                   UNITED STATES STIPR.F:ME COT]RT CLERK.
                          ILLINOIS SUPREME COURT,
                 ILLINOIS APPELLATE COURT FIRST DISTRICT,
                      CIBCUIT COURT OT'C,OOK COIINTY
                        AND JUDGE MIC}IAEL MCIIALE,
                              Plaintiff - ResPondent.


     MOTION FOR LEAVE TO PROCEED IN FOR*IAPAUPERIS


         'the Petitjoner has previouely been Hranted leave to proceed in forma pauperis in the
follorving court rcgarding this case: Tte Circuit Courf of Cook County

       PetitioneCe affi.cl.avit or declaration in support of thia motion is attached hereto.


                                                     J,l
                                                     Nr,'.,r-drr-                #*et*^^-_
                                                    Dr. Linda lorincz Shelton
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        Petition to IJ.S. Supreme Court for
                 Writ of Mandamus
                              IN THE
                 SUPNEME COURT OF THE UNITED STATES


                          Case No.


                In. re DR. LINDA LORINCZ SHELTON, Petitiannr


                       DR. LINDA LORINCZ SHELTON,
                            Defendant' - Petitinner,

                                      v:

                 UNITED STATES SUPREME COURT CLERIq
                        ILLINOIS SUPREME COUB,T,
               ILLINOIS APPELLATE COURT FIRST DISTRICT,
                    CIRCUIT COUBT OF COOK COUNTY
                      AND JUDGE MICHAEL MCHALE,
                            Plaintiff - Respond,ent.


                     Petition for lVrit of Mandamus

                                           LINDA LORINCZ SHELTON
                                           9905 S. Kilbourn Ave
                                           Oak Lawn, IL 60468-8589
                                           (?08) 422-sO4O

                                           Pel'itioner,.ho ,Sc




                                      0
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                         QUESTTONS PRESENTED FOR REVTEW

       t. May the United Statcs Suprerne Court Clerk refusc a habeas petitioner the right
          to file a Pctition for Certiorari to rcvierv a dcnial by the Cook County Circuit
          Coutt of a Petltion for Writ of haboas Corpus, allegodly for failuru to uxhaust
          state remedies, despite the fact that the lllinois Supreme Court illcgalty barrcd
          her from filing any documenk (thus waivinq the State of Illinois' rieht to insist
          oq exhsuFlion of Ftqte remediae), that thc Illinois Appollate Court dierniased
          direct appeal duc to failut'e to pay fees, after denying petition for in forma
          paupcris status of indigent dcfcndant without cxplanation in defiance of Illinois
          Supreme Court lindigencyl Bulc 298 and previous Unitcd Statcs Supreme Court
          holdings in Snr,i|h. u. Bennett, and, Marsh.all u. Bennett, 366 U"S. ?08, 8l S.Cr. 898
          (196f), and that this refusal is in violation of thc Unitccl St:rtes' Supreme Court
          holdings and dicta in thc follorving line of cases, rvhich stated that, in lllinois
          due to there beins no qlethod to apocal a d-enial of a Pctition lbr \l'rit of llabeas
          Corpus by a local County Court [appeal to Illinois Supreme Court is not
          availablel that the onlv possible direct upoeal lies rvith the United States
          Suurume Cotrt: Young u. Rugen, S37 U.S. 23rd,69 S.CL. 1073 (1949), Pwple u.
          Loftu.s,400 Ill. 432, 8l N.E.zd 495 (1948), in responsc to order of Court in Loftus
          u. People ol State ol lllinoi.s,334 U.S. 804, 68 S.Ct t2lz (r9a8); Woods u.
          Nierahaimar, l)28 U.S. 211, 66 S,C,t. 99Q (19aG); Wite u. Ragen and Luts u. Scrre,
          324 u.s. ?60, 65 S.Ct. 9ZS (1945)?

           IVIay the Illinois Suprcmc Court bar an ind,igent, disabled, crirninal defendant
           from filing in their court any Petition or Motion (including complaint for
           supervisory order, habeas petition, or mandamus) because she did not pay three
           previous fees in petitions for supervisory orders, for which she aprrlied for in
           forrna pauperis status as an indigont, disabled, pcrson, on government approved
           SSI, and rvas denied in forma pauperis status rvithout explanation in each caec
           and the Illinois Appellatc Court dismissed direct appeal due to failurc to pay
           fees, after denying petition for ln forma pauporis $tutr,ls of irrtligurrt defenrlurrL
           without explanation, in violation of Srnillt u. Bennetl and Marshall u. llenrtett,
           865 U.S. 708, 81 S.Ct, 895 (196f) and Illinois Supreme Court [indigency] Bule
           298, as wcll as thc due ploccos clnuoc under thc Fourteonth Amendment?


           I\{ay the Illinois Appcllate Court dismiss a criminal appeal because the indigent,
           disabled, defendant, on governmant SSI, did noi pay fiUng fees, after the lllinois
           Appellate Cour[ dcnied application for in forma pauperis status, without
           explanation, in is this a violation of. Smith u. Bennett and Marsholl u. &nnell,
           365 U.S. 708, 81 S.Ct. 895 (196f) and lllinois Supreme l-'ourt [indrgency] Rule
           298 ae well as the due process clause of the Fotrrtaonth Amcndment?


      4.   Does the fact that there is no statute or rule in lllinois allorving direct appeal of
           denial of a petition for rvrit of habeas corlpus from county court require that thc
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                only appeal available goes directly to the U.S. Suprcme Court as per previous
                U.S. Suprcmc Court holdings in line of cases Niersheimer, Regun, and Lofhtst?

           b_   Ivlay the Circuit Court of Cook County frnd a person irr eriminal contempt of
                court becarrse they filed a next-fnend habeas petition aE a non-attorney or is this
                a violation of the suspension clause, Illinois Habcas Statutcs, 735 ILCS Articla
                X, and United States Supreme Court holdings and dicta in Boumerliene u. Bush.,
                553 U.g. 723, l?89.CrL929 (2009) and U.S. ex rel.'lbl,lt. u. Quarles,;160 U.S. I l,
                76 S.Ct 1 (1955), as rvell ae the due process clause under ihc fourteenth
                Amendment?

           6.   IVlay the Circuit Cour[ of Cook County find a person in criminal contempt of
                court because the l)efendant vigorousl-v vcrbally defcnded her filing of a next-
                friarrd habeas patition by stating that the judge's decision that such filing is
                illegal is an aet of treason pcr LI.S. u. Will,449 U.S. 200 (Lg$0) rvhich affirmed
                the statement of Chief Justice Marshall in Cohens u. Virginia,6lVheat. 264, 5
                L.Ed 25? (I821) that it is "treason on the constitu[ion" when a judge "usurps [thc
                jurisdictionl that which is not given" - referring to acting ouLside the law or
                violating the law ineluding stntutes and higher court holdings; and that iL is a
                "war on the constitution" when a judgc violatcs his oath of oftice to support it,
                [including supporting stfltutca of a statc.duc proccoal, Cooper e . Aaron,358 U.S.
                 f , 78 S.Ct. 140I(1958) or is this vigorous defense allowed ttndcr thc Court's
                holding in Soeher u United.$rares,343 U.S.r (1952)?

           ?.    May the Circuit Court of Cook County summarilv sentence a defendant to 16
                months in jail as s result ofconsecutive sentences on threc scparatc "sAses"
                [dcfcndant allcges "counts"] of crimina.l. contcmpt, brought during one extcndcd
                hearing, rvith one sentence being imposed on a day other than thc day of allesed
                contempt, summarily rvitltout notice, representation by counsel, or any
                opportunity for a trial with fuIl due process rights in violation of Unitcd Statcs
                Supreme Court lroldings Blaom u.Illinois, Sgf U.S. 194 (1968) and in violation of
                Illinois sentencing statutes requiring concurrent scntences for the same conduci
                or acts occurring during the same state of mind, ?20 ILCS 5/8-3, as wcII as itr
                uiolation of the Fourtecnth Amendtnent Due Pmcess Cluusc?

           8.   May the Circuit Court of Cook County at aummary sentcncing order denial of
                st*tutory good time iail eredit*, 73o ILCS l,. o, on a finding of criminal 6ntempt.
                *'hen this statutc givcs [he Cook County JaiI Administrators authority to rcmove
                good time jail credits in a due proccss evidenri.ary hearing and not the judge or is
                this a violation of Illinois case larv, Kaed.ing u. Collirts,23l Ill.App.Sd 9fg (1996)
                and clue process under the lrour[ccnth Amendment?



t
    You,tg v. Rdgen,337 U.S, 235, 59 S.Ct. 1073 (19491; Peopte v. Laltus,400lll. 412, 81 N.E.2d 495 (1948), ln
response to order of Court ln Loltusv. People ofstote of tltinois,334 U.S.804, 68 S,Ct 1212 (19 Bh Woods v.
Ntethetmer. 328 U.S. 2r1,66 S.Ct. 996 (19aG); Whity v. Ragen and a.utz u. son?g 324 U.3. 7G0,05 S.Ct. 978 (1145)

                                                            lt
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      9. May a judge who is embroiled in con*oversy with litigant refuse to recuse
         himself to be replaccd by another judge in a contempt case or is this a violation
         holding in Mo,yberry u. Pennsyluania, 400 U.S. dSE (19?1) and of due process
         under the Fourteenth Amendment?


      10. Is it constitutional to sentence an alleged contemnor for more than one count of
         eontcmpt rcprcgqnting snme mof.ivc or *l,atc of mind drrring one trinl or case, or
         is thie a violation of holding in People u Brown,235 IIl.App.Sd 9,15 (1092), a due
         proccss violation undcr thc Irourtconth Amcndment?


      11. Is it conetitutional to make a finding of criminal contempt on one day and
          summarily sentence the contemnor on another day rvithortt a due process trial or
         is this u violatiun of Illilois Suprcrrre Cuur[ decisiun In, ru Murriagu ul futts,2OO
         Ill. App. 3d 26 (1990) and thercfore a violation ofduc process rights under the
         Fourteenth Amendment?


      12. Are a judge's order void ab dnitio and eubaequently when hc violates State
         statutes regarding substitution ofjudge as a right, 736 ILCS 5/2-1001(a)(2), as
         u'ell as Jiffy Lube Internationol, Inc., V. Agarual,27l lll.App.Sd 722,214 lll.Dec.
         609, 661 N.D.Zd 468 (1996), making this also a violation of thc due process clause
         of the Fourteenth Amendment?


      13" Are a judge's orders void rvhcn the orders are made without juriediction ss per
         holding in United Srctcs u. Unitcd Mine Worhera ol Amoico, 330 U.8. 958 (1947),
         as well ss a due process violation under the Fourteenth Amendment?




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                                          PABI'IES

     tXl All parties do not appcar in the caption of the case on the cover page A list of
     all pariiea to the proceeding in thc court rvhose judgrnent ie the subject of the
     petition, not appearing on cover ic as follows:

     The Honorable Judges of the Illinois Suprome Court
     Supreme Court Building
     200 E. Capitol Avenue
     Springficld, lL 62701
      Rcapondcnt

     Tlte l{onorable Judges of the First Dietrict Illinois Appellatc Court
     f60 N. La$alle, 146 Floor
     Chicago, IL 60601
     - Resoondent
     Honorable Judge Michael McHale, Acting Presiding Criminal Court Judge Circuit
     Court of Cook County
     2600 S. California Ave., Courlroom 101
     Chicago, IL 60608
     - Resnondent

     Ilonorable Judge Timothy Evrns, Acting ae CEO of the Circuit Court of Cook
     County
     50 W. \4tashington, Rm 2600
     Chicago, II,60602
     -fiesoondent


     Illinoie Attorney Generel Lisa Madigan, State of Illinois
     100 W. Bandolph
     Chicago, IL 6060l- Counsel for llespondents




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                                                                        84

     Vwt. Kal,llat'at.ul. u. Joltnsott, t7 lll. 109   (18?0)            1.1


     White u. Ragen and. Lul.z u. Sqme,324 U.S. 760, 65        S.Ct. i, t6, xi, xiii, 2, 92, Bg
     97E (19dS)

     Winning Movec,Inc., u. Hi! fuW,Inc.238IIl.App.8d 83a               15
     (1ee8)

     Woods u. Niersluimer,g2S U.S. 2ll,6Eq.Ci 9gG (1946) i, ii, x, xi, xiii, 2, 32,
                                                                        3S

     Young u, Rogen,83? U.S. 285, 69 S.Ct. 1078             (1949)      i, ii, x, xi, xiii, 2, SZ




                                                      vIt
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                                     PRIOR OPINIONS

 The decisions of the Clerk of the United Statee Suprcmc Court refusing to file the Petition

 for Writ of Certiorari are SCA2 AAA1-2. 'lhc ordcrs of thc lllinois Suprernc Court banning

 filing of any rlocuments are SUA elMl-:J. The order of the llhnors Appellate eourt dcnying

 leave to appeal in forma paupcris and banning fiIing any papers until fces arc paid is SCA

 LL. The order of the United States Seve nth Circuit Court of Appcals banning any filing in
 forma parrperis is SCA 'I"1. 'lhe order and opinion of the Federal District Court diomissing

 Petition for lYrit of Habcas Corpus is SCA S$. The orders fi.nding Shelton in conternpt of

 court and sentencing orders ftom Judge lvtcHalc are SCA B, D, F, G, and DI). Revierv of ell

 ofthese decisions, orders and opinions is sought. the orders denying first and second

 petition for writ of habeas corpus by Judges           and lvlcHale rcspcctively are SCA A and
                                                I:r*"
 SCA DD (Transcript is SCA CC?-9). None bf these opiniont are publiahed to thc bcst of

 Shelton's knowledge and belief.




'SCA - 5upreme Court Appendix

                                                tx
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                                        JURISDICTION
         Pu[iLiurer ceokE this Court's review as supervisor of all courts in the Iand untler the

  United States Constitution Article lI (regarding federal rights for due process under the

  Fifth and Fourteen0h Amendments) and undcr zs U.S.C. $ 1651(a) of ordere:

         1) by the Clerk of thc U.S. Supreme Court, erroncously entered on August l? &

  October 8, 2010, rurder U.S. Supreme Court Bule I.I(SCA AAA) refusing to file her pciition

  for Wnt of Cortiorari twicc in violation of the U.$. Suprerne Court holdings in

  Niersheimer, Regan, and Loftus (supra in eu,estinn l),

         2) by the Illirrois Appellate Court, encerecl on rlanuary 2A,2}Lldcnyi6g Petition for

 Inctigeney in criminal appeal thus impairing appeol ond in violation of this Honorable

 Court's orders, regarding waiving fees,{ue to indigcncy in crirninal appeals, in

  Smith u. Bennett and Marsh.all u. hnnetl,965 U.S. ?08, 81 S.Ct. Bgi (1961) and Illinois

 Supreme Court [indigencyl Rulc 298 (SCA LL),

        3) executed by the Clerk of the Illinois Supreme Court on April I5, 2010
                                                                                   - based on
 staudirtg unlcrs of the illinois Supreme Court efltered on May 93, lggl d.enying Sheltons

 right to fi.le for leave to appcal again in violation of this Honorable Court's orders in

 Smith u. Bennett and Marsh.all u. Bennett,366 U.S. ?08, 8I S.Ct. SgE (196l) and Illinois

 Supreme Court's orvn [indigencyl Rule Zg8 (SCA MM),

        4) by the Circuit Court of Cook County cntered on May l l, 2010 and June 10, 2010,

 modificd on October l, Z0l0 fi.nding Petit^ioner ('Shelton") in criminal contompt of court

 three times (three ocases") dtrring one continued court heariirg on next.friend habeaa

 petition which the court hae trvo years later still refused to hear, and thcn summarily
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  sentencing Shelton to 16 months in jail, irr violation of numerous U.S. Suprome

  court holdings descrlbed in this pleadiug (scA B, E, F, G, scA cc?.g ancl DD ) ,
          5) by the Fedcral DiuLricl, Cuurt for the Northern llistrict of lllinois entered on

  Scptember 28,2AlO (SCA SS) rcfusingto hear a petition for writ of habeas corpus

  [actually one handwritten filing that Shelton wrotc from jail to cov€r all cases
  civil and criminal and habeas due to thc fact that Shelton was denied acccss to
  {l.ny morc lraPer, pen' mailing supplies - i.e. flccess to the courtf because Shclton did

  not exhaust state remedies (a thlse statemcnt in violation of facts and. A'lcns/r. eimer, Rego.n,

  ard Lofius (supra)) per 28 U.S.C. S ZZ4L and lBBt

          6i by the Unitcd Statee Seventh Circuit Court of Appeals

                n) entered on Auguet g, 200G [by a.three judge pancr without any duc

         process evidentiary hearing in vjolation of the Fifth Amendrnent based ou

         hearsay and defamatlon of Shelton's character, as wcll as false statements

         about Shclton's pleadings] frning Shelton S2400 as an indigent petson and

         barring her from filing any plcadings in forma pauperis despite her indigent status

        on SSI (SCA TT), und

                b) NIarch 31, 2010 and April8, 2010 illegal purported "Executive Committee"

        orders (actuallv ex oarte orders solelv bv Judce Holderman without snv due

        process n,*afinE in viotatto. o

        Executive Committee or 7rb Circuit Council whatsoever)

                       i) barring Shelton from communicating rvith the Clcrk of the court by

               phone or in rvriting (SCA T15, last paragraph),




                                                 xr
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                              ii) barrinB Shelton foom the Dirksen federal building or rrsing the

                     library or AIr[1'servicee in thc building except for thc 27th floor 7th Circlit

                     CourD (SCA TT3-6),

                              iii) barring Shelton frorn frling any federal suits, eomplaints or
                     petitions (SCA'I"f3-6), and

                              iv) making the ITALSE snd DEFAMATORII statements rhai abovc

                     orders are warranted ae Shelton is disruptive (false) and a "litigant who rvas

                     convicted and served time in prison tbr thc felony of aggravated battery of a

                     correctional officct'' (SCA TT B, ?, 8, 10, 12, 1?) [although this is truc,

                     shelton's wrongful and malicious conviction is lcgally void ab initio

                     rlue to a fatally flawed indictment and porjury by the orrly stato

                     witness, that has not yet bee4 qcknowledgcd by any court due to judicial

                     misconduct and for which a Petition for lYrit of Mandamus is being preparcd

                     to be presented to this Hon. Court$, as well as a felony conviction is not a

                    legal basis for barring someone from frling in federal court or using

                    services in a federal building such as q law llbrary, and

                             v) making the FAIfiE and DEFAIVLATORY statements that Shelton

                    "rvas diagnosed, as reported by her personal psychiatrist, es having a

                    'psychiatric condition'resulting in an'altcred mcrrtal statc'and in her

                    'rnisconception of ongoing even[s,"'aB the basis for barring her from frling in

                    federal court or using services in thc federal building such as the law library.

                    Shelton's "mcntal illnces" consists of non-violetrt flashbacks due to post-

                    traumatic-stress-disorder due to Shelton being bcatcn by police and illegally
r
    See Appendix YY for dctrils


                                                      xI
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                      drugged causing her to go into a respiratofy arrcst, thcn beaten again rvhere

                      the officer, Sgt. Salemi then falsificd his records, eommitted perjury ernd

                      [ruruby cf,used the above mentioned wrongful conviction for "aggravatecl

                     battery of an officet''for allegedly "bumping" an officcr rvith Shelton's

                     wheelchair, causing abrasions nnd resulting in a Lwo year sentence in

                     violation of the U.S. Supreme Cour[ holdings in Cu.nninghom u. California,

                     127 S. C[. 856 (200?). (see letter by Dr. Galatzm-l*vy SCA UU, [purportedly

                     quoted by Judge Holderman in his orders, SCA'mI rvho trcated Shelton for

                     PTSD which affrrms Shelton's above statemen0 and cvisccra0es Judgc

                     Holdcrman's falsc and defamatory statements which he used to rnake the



            This petition is timely fi.led because thg original Patirion for llrrit of

  Ccrtiorari (SCA BBB) rvas timely fi"led rvith thc U.S. Supreme Court Clerk as it rvas

  fi.led within 90 days of ordcrs of Judgcs Porrcr and McHale on June g, 2010 and

  October l, 2010 respectivcly, but was illcgally rejeeted in violation of this Hon.

  Cuurt's lruklings in Mersheimer, Regon and. Loftust by the U.S. Suprome Court

  Clerk twice on August 17 and October 8, 2010. Therefore, a mandamus petition is

 appropriate to corrcct this Hon. Court Clerk's error, as rvell as to uphold the

 Conetitution and the Unitcd Statcs'rules of law by this Hon. Court reviewing the

 above.




 n
     Young v. Ragen,337 u.s. 235,69 S.Ct. 1073 (19a9); People v. toftus,{oo t11.432,8f N.E.zd 495 (1948}. in
 response to order of Court in Loftus v. People ol Stote ol llllnois,334 U.S- 804, 68 S.Ct 1212 ($aB); Woodsv.
 Niersheimer,32S U.S. 211,66 S.Ct.996 (1946): White v. ffooen and Lutzv.Some,324 U.S. 7@,55 S.Ct. 978 (1!)45)
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            ln addition this petition is timcly becausc void ordcrs (including thc U.S.

    Supremc Cout't Clcrk's "ordcrs" illegally rcfusing to fi"lc thc Pctition for Writ

    of Certiorari, the unconstitutional Illinois Appellatc and Supreme Courts'

    decisions to refuse to allow direct criminal appeal until fees are paid by an

    indigent person, and the erroneous Federal Dis[rict Court f)ecision that

 State remedies have not been exhausted, as well as the lawlees Tttr Cilcuit

    Court decisions done in acts of false statements, defamatiou of character, and

 dcnial of due procces), csn be appcaled at any timo in any court dircctly or

 collatcrally 5 as this is rvcll-scttled larv. (ln Re Estate of Steinfield,630 N.E.2d 801,

 ccrtiorari dcnied, See also tirei4feld v. l'Iot{dick;513 U.S. 809 (lll. lW)4), Longv,

 Shorebank Development Corp.,l82 F.3d 548 (C.A. 7ltl. 1999), 12 iVloorc's Federal

 Practice $ 60.4a[c]; and, Peopleu. S'ale.c,55l N.E.2d 1359 (lll.App.2 Dist. 1990),

 People v. Rolland, SSl N.E.2d 907 (lll.App. 4 Dist. 1991), ln re Adoption of 4i.L.,731

 N.E.zd 846, (lll. App. I Diut. 2000)).

           Also, plcnary powcr of this Honorable Court allows it to extend the

 time to hear Petitions regarding void orders due to actual innoccncc

regarding thcse three (3) criminal contcmpt convictions, claimcd by Shelton and



5
    Courts have been exccedingly lenient in deflning the terrn "reasonabte time," with regard to voidness chaltenges.
In fact, it has been oft-stated that, for all lntent$ and purposes, a motion to vacate a default judgment as void "may
be made at any time." 12 Moore's Federal Practice $ 60.44[c]; Mcleorn v, bwea & Co.,660F.2d845,848 (2d
Cir.1981); Crosby v. The Brodstreet b,312 F.Zd 483, 485 (Zd Cir.1963) (iudgment vacated as void thirty years after
entry).




                                                          xtv
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  due to e+trao.rdlnarv cfusumstgnces and imposeibilitl, of oltaining rellef in

  any other court in this land as described in detail in thie plcading (U.S. Supreme

  Court Bules 20(a)(a) re: $t65t and $Z2Ar).

                Therefore, this Petition for Writ of Mandamus is appropriate.

        Juriedictional besia in regards to appeal:

         1) for Illinois Appellate Court is lllinois guprenre Court Rule 002.609 (rLiruut uppeul
            procedurQ aud illinois Constitution Articlc VI, Section 6,

        2) for the lllinois Supreme Court ie Illinoig Suprcme Court Etrle 3lS, and Illinois
            Constitution, Article VI, Section 4,

        3) for the Seventh Circuit is 28 U.$.C. g t65t(a) snd Fed. R. App. p. 2I(a), and
        4) for the District Court is 28 U.S.C; g 2241 and, lititl.
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                                   Statute, Code, or Rule                             Page

      ?20ILCS $/r.B                                                                   30
         8ec. l-0. Applicebility of common larv. No conduct, constitutce arr
      offense unlees it is deecribed as an offense in this Code or in anothcr
      Btatutc of this Stato. Horvcver, this provision does not affect the porver of
      a court to puni*h for contcmpt or to employ any sarrction authorized by
      Iarv for the enforcement of an order or civil judgment.

      720ILCS rrl$-3                                                                  26
        Sec. 3-3. Multiple proseetrtions for same act. [cmphasis addedf
         (a) lYhcn the same conduct of a defendant may establish the
      commisaion of more than one offense, the defendant may bc pro*ecuted
      for cuuh such offcnse.
         (b) If the several offenses are knorvn to the propor prosccuting offi.ccr
      at the time of commencing thc proeecution and are within the jurisdiction
      of a aingle court, they muet be prosecuted in a eingle prosecution, except
      as provided in $ubsection (c), if thcy arc bascd on the samc act.
         (c) \l'hen 2 or more offenses are chargcd aa required by Subscc[ion (b),
      the cout in the interest of justice may order that one or. lnore of such
      charges shall be tried separately.

      720ILCS 5lL4-2
      Scc. 14-2. Itrlerncnts ofl thc oflcnse; atfirmative detbnse.
      (a) A person c'ommits eavesdropping when he:
      (t) Knowingly and intentionally usee an eavesdropping
      devicu fur Lhe p(upusu uf hearing ur rccr.rnlirrg ull ur any pnrt of any
      conversation or interuepts, rctaine, or transcribes clectronic
      communication unless he does so (A) witlr the consent of all of tha parties
      to euoh convereation or olectronic @mmunioation or (B) in accordance
      with Article 108r\ or Arbicle 1088 of thc "Code of Crinrinal Procedure of
      1963', approved August 14, 1963, as amended; or

      (3) Uees or divulgas, exccpt as anthorized by thi.s
      Article or by Article I08A or l08B of the "Codc of Criminal Procedure of
      196S', approved r\ugust 14, 1963, as amended, any information rvhich ho
      knorvs or rcasonably should knorv rvas obtained through the use ofan
      eavesdroppin g derrice.

      720ILCS btl{-s
     Sec. l4-3. Exemptions. The following activities shall bc excmpt from the
     provisions of this Article:

     (i) Rccording of n conversa[ion made by or at the request of a pcrson, not
     a law enforrcement offtcer or agent of a larv enforccmcnt ofhcer, rvho is a
     prrty to thc r:onvnrratinrr, under reasonable suspicion thst another party

                                                 xvr
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     to the conrrersation is committing, is about to commii, or hae committcd n
     criminal offense againet the person or a member of his or her immediate
     houeehold, and there is reason to believc that cvidence of the criminal
     qrffqnec may he ohiained hy lhe recording;

     725ILCS 6tr04-]o
       Sec. 104-10. Prasumpcion of Fitness; !'itncss Standard.) A defendant ie
     presumed to be fit to stand trial or to plead, and be scntcnced. A
     defendant is unfit if, becauee of his mental or physical condition, he is
     unablc to understand the naturc and purposc ofthe proceedings against
     him or to assist in his defense.

     725ILCS 6n04.tl
        Scc. 104 1I. Raiaing leeue; Burden; f itness lHotions.) (a) The iesue of
     the defendan['s fitness for trial, to plcad, or to be sentenced may be
     raised by the defenee, the State or the Court at any appropriate time
     before a plea is cntcrcd or before, during. or af0er trial. Wtren a bonafide
     doubt of the defendanfs frtncss is raised, the court shall order a
     determination of the iesue before proeccding further.
        (b) Upon request of the dcfendant that a qualified expcrt be appointcd
     to examinc him or her &o determine pribr to trial if a bonafide doubt as to
     his or her fitness to stand trial may be raised, thc court, in its discrction,
     may order an appropriate examinatiop: However, no order cntered
     pursuant to this subscction shall prercnt fur[hr:r pruueedirrgs iu the case.
     An expert so appointed shall examine the defendant and makc a report
     as provided in Section 104-15. Upon the filing rvi[h the court of a vcrified
     staucmcnt of scrviccs rcndcrcd, iho court thall enter an order on the
     county board to pay such expert a reasonable fee stated in the order.
       (c) lVhen a bonafide doubt of the defendant's fitness has been raiscd,
     the hurden of proving that the defendant is fi.t by a prepottderanco of thc
     evidence and the burden of going forward with the evidence are on [he
     State. Horvcvcr, thc court may call its own rvitnesses and conduct its own
     inquiry.
        (d) Following a finding of unfitness, the court may heat and rrtlc on
     any pretrial motiorr or motions if the dcfendant's pnesence is not cs.sential
     Co a fair determination of thc issues. A motion rnay be reheard upon a
     showing 0hat evrdence rs available rvhich rtas not availsrblc, due to the
     defendant's unfituess, rvhen the motion rvas fust dccided.

     72fiILCS tilLo4-12
        Sec. 104-12. Right to Jury. The issue of thc defendant's fitness may be
     dctcrmined in the first instance by the csurt or by a jury, The defense or
     the State may demand a iury or the r:nurt on its own motion mqv ord.er a
     jury. Horvever, when the issue is raised after trial has bcgun or after
     conviction but before sentencing, ot'when the issuo is to bc redetermined
     under Section tO4-2O or 104'2?, the issuc shall be determined by the

                                               xvii
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     GOUrt,


     ?2S ILCS 5/104-rB                                                              tq
        Sec. I04- lij. Fitness Exam ination.
        (a) When the issue of fitness involves the defendant's mental condition,
     the court shall order an examination of the defendant by onc or more
     Iicensed physicians, clinical psychologists, or psychiatristrs chosen by thc
     court. r\o physician, clinical psychologist or psychiatrist employed by tha
     Dcpartmcnt of Human Services shall be ordered to perforrn, in his official
     eapacity, an exarnination under this Section.
        (b) If the issue of litness irrvolves the defendanl's physiual cunditiuu,
     the court shall appoint one or more physiciana and in addition, sueh
     other experts as it may deem appropriate to examine the defendant and
     to reporf to the eourt regarding the clefcndant'e conctition.
        (c) An cxamination ordered under this Section shall be given at the
     place designated by the pcrson who rvill conduct the cxamination, exccpt
     thilt if the defendant is being held in custody, the examination shall take
     place at such location as thc court dirccts. No cxaminations undcr this
     Section ehall be ordered to take place at mental health or developrnental
     disabilities facilities operated by the Department of Human Services. If
     the delbndant thils to keep appointments without reasonable cause or if
     the person conducting thc cxaminatiorr rcporLs to the murt that diagrrosis
     requires hospitalization or extended observation, tlre court nray order the
     defendant admiltctl to an apprupliate facility fur au uxaruination, uther
     than a screening cxamination, for not more than ? days. The court may,
     upon a showing of good sauBe, grent an additional ? days to complctc thc
     exumination.
        (d) Releasc on bail or on rccogni:zan* shall not be rcvokcd and an
     application therefor shall not be denied on the grounds that an
     examirration has been ordered.
        (e) Upon request by the defense and if the defendant is indigent, tlre
     court may appoint, in addition to the expert or experts chosen pursuant
     to subsection (a) ofthis Scction, a qualifredcxpcrC scleetcd by the
     defendant to examine him and to make a report as provided in Section
     104- 15. Upon the filing rvith the court of a verified statement of serviccs
     rend.ered, the cowt shall enter an order on the county boarcl to pay such
     axpert a rcasonable fee stated in tho order.

     ?25II,CS 5ILO4.L4
        Scc. 104 14. Uoc of Statcmcnts Madc During Examinntion or
     Treatment.) (a) Statements made try the defcndant and information
     gathered in the course of any examination or treatment. ordered under
     Sectiorr 104-lB, 104-17 or 104-20 shall not be admi*sible againat the
     defendant unless hc raiscs thc deferrse of insanity or l;hc deferrse of
     drugged or in0oxicated condition, in which case they shall be admissible
     only on thc issuc of whether he was insane, druggcd, or intoxicatcd. Thc
      Case: 1:18-cv-07172 Document #: 1 Filed: 10/25/18 Page 182 of 186 PageID #:182
                                 Title:     Coof Coraty Stde's Atlo(ry



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                      Qf you have more than three def€ndants, th€n &ll additimal ddendffi                           M be hd
                      according to the above format on a seprate she€t of paper.)




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                                                                                                                                   Pago 3
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              m."List ALL lawsui(s you (and your co.ptrNintiffs, if eny) heve filed in any state or federal
                     court in the United Statee:

                      A.        Name of case anddocketnumber:



                      B.        Approximate date of filing lawsuit:

                      C.        List all plaintiffs (if you had co,plaintiffs), including any aliases:




                     D.         List all defendaots:




                     E.         Court in which the lawsuit was filed (if ffieral cort name the distric! if state court
                                name the     cormtY):                                   N/A



                     F.         Name ofjudge to whm case was                    assigned:                    rvA




                     G.         Basic claim made:




                     H.         Disposition of this case (for example: Was the case dismissad? I[/es it appealed?
                                Is it still pending?):




https://mail-attachment.googleusercontent.comlattachm€ntftll/fuiew*-att&th:166a812c2...                                       10/24/2018
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                                            Approximate date of disposition:



                  IF YOU HAVE FILED MORE THAN OI\IE LAWSUTT, TIIEN YOU MUST DESCRIBE THE
                  ADDITIONAL LAWSUITS ONANOTHER PIECE OFPAPE& USING THIS SAME
                  FORIVIAT. REGARDLESS OF HOW MAI\TY CASES YOU IIAVE PREVIOUSLY FILED,
                  YOU WILL NOT BE EXCUSED FROM FILLING OUT TIIIS SECTION COMPLETELY,
                  A}ID FAILI'RE TO DO SO MAY RESULT IN DIS]VIISSAL OF YOI]R CASE. CG.
                  PLAINTIFFS MUST ALSO LIST ALL CASES THEY HAVE FILf,D.




                                                                                                    t                                   Revis€d 9/2007




                                  [f you need addilional sprc for ANY wtio4   plw    atah m additional sbet ad referqe that stion.]




                                                                                                                                             Page 4
                                  [f you rred additional spre fu ANY wtioq plw attadr a additional dr@t ed refsrc that sstion.]




                  fV. Statement of Claim:

                               State here as briefly as possible the facts ofyour case. Describe how each defendant is
                               involved, including names, dates, and places. I)o not give any legal arguments or cite any
                               cases or statutes. If you intend to allege a mrmber of related claims, number and set forth
                               each claim in a separate paragraph. ([Jse as much space as you need. Attach extra sheets
                               if necessary.)

                 Now mmc Plaintiffs Comel Daw,        T@n Odm, Clifton Imoq Ulyss Pollq Antuu Davis" Duavon Spars, Gmdolyn


                  Lmor1 Delore LomrL Jmice Lmon, Patricia Lemor" Shmn Lmon, Comesha flawrcq Cmym Dawsn, Shaonda


                 Odm, Shmla Aaorq Tr€qw Odu, Nya Lwis, Ulisha Polq Kalisha Polk, Ivory Griffin, Nyea Pollq Unylah Pollq Antlu



                  Davis JI, NatoslE B€nbow, Ammi Johnm-Spwq Anim Sp€{s, Duvon Spears Jr. Indivdually, hueby file this claim



                 .g,inst the above m€d defadats ed itr spport thqof states c follow: Duing a criminal onviction w,         the trmed




                  defadals ech played a viable role in violation of mnstiirtional rights, judicial mi$onducl, failwe to eknowledge ed



                  address rrcial bias, impatial jwrg wtrich led to malicious prowutiq by C@k Couty Circuit coM. As stated by Chief




                  Justi€ John Robeds, cited in Washington post, "Judges rc supposed to b€ imp{tial-o boring o mpira.* Howvs, in



                 Illinois w   NO. 13 CR 13349, Judgc Michre[ B Mc]Iale mntinuously inwted his perwal biroo md failed to uphotd the




https://mail-attachment.googleusercontent.con/attachment/u/l/?view:att&tLrt66a812c2... 10/2412018
                                                                                 Page 5 of7
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                integrity md indepodoe ofjudiciuy (Ethics ofjudicial ondrct). Bsed q tffiipts         dated Novmbq 30, 2017; Judge




                McHale w8 qrctod @ xvual reim           inlejrcting olmots like ' I think it's obvioB to this csrt thd wtat they rc


                Bying is rc @'t follow the law. And theyte off' (CSR No. 84-3386)- Rd@itrg to two minority jmr       who quesioned



                mfair jury imtructiom. Judge McHale failed to allow eith6 jwr to cl{iry their @ms od moved thm in prot€st. In



              addition to the moyal of blrck jmr for being dishoned on the jrcr   que*imirc; Mctlale allowed 2 male juom not of olor


                to lmaitr 8ffs one mfs€d     to "waaling to wd a messge.' As dcmmted by U.S Supme Cout w               Pffi-


                Rodriguz v. Colcado in wtich the 'no impechmmt rule' mu$ gire my whq it is alleged that a jw        made erelicit std6




             m@ls indicsting ethnic or mial aimw rc a motivaling f&to. to @nvict ( P@Rodrigu 2Ol 7). In this w,             jw   No.2 I 5




                wtp later borne the fore4nrcn od jrcr No. 44 w@ not stickfi for mkirg such omats            uodu od; udmining




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             tbe rights of impartiality. While Mcllale disagrerd with the above findings, the U-S Sl4ltwe Cout ed Appeude   @uts ruling



              st Pr@€dqt for ffi    had in lom ourts, thu he hc violded the Judicial ode of on<fuct ad $ould be reprimmded


               simila to his improper hudling of the otha 12 rc   cmtly bcing overirmed. One of the jrcn that w        rcspomible for



               alotiag the judge of all th€ rci* &d bi6 @mts beiag made by jrm duing delib€rations, me fomd to &sdry at



              a hwing afto trial, md   qs thq "dmed inqedible by lhe @wts.' Anotha poitrt of in@sisr@cy ad mntradiction by tho


              Couts' b€@* prwiow widgrc shows thal ihi" sare jrcr brcught forth mm              that @oved othc tric   jms.                          Judse



              McHale allowed juon to spew ruial slu ud thrcw chairc at blrck jwon; but failed to bring forth qiminal ssult or hate



            uime dnrge.        On the date in qw$iotr, Jw I1,20t2 Fomtr GovmPahick Quim signed the lirs Illircis starue bill HBI9O7



               (Iuinois StIfft Geg Radrct@ Intruaced Compl Orgeiations Law) wtich holds Pat Quim rcsponsible fq the regaive



               dowl'N sch monstitutioal law qeded- Fom6 C@k Couty Staie's Attomey Anita Alvm failed to sign md rEqu€st


               anthoriatim to obtain rmdings thd w        used in a qiminal onvictim   of six of the med plaintiff$, ahhough simila




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                lwdings re       dc€trrcd imdrisiblc by lbc Sosnd District Aspdldc Cor[t Six oflhe *ovc nmod plaintift     rc victim


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               Illinois RI@ law. All rmed d€f.oa$ts rc beirg nancd in lhis mptaint for their dirqt o firm         participdio in tlE



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              v.            Relief:

                            State briefly exactly what you want the court to do for you. Make no legal rggmen*. Cite
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